        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 1 of 232




              24-961
                               IN THE


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                  FOR THE SECOND CIRCUIT
                              9 4 9

                   UNITED STATES OF AMERICA,
                                                                   Appellate,
                               - v . _



ZIXIAO GARY WANG, CAROLINE ELL1SON, NISHAD SINGH, RYAN SALAME,
                                                                Defendants,
          FTX TRADING LTD., WEST REALM SHIRES INC,
       ALAMEDA RESEARCH LLC, ALAMEDA RESEARCH LTD.,
                                                                Interveners,
       SAMUEL BANDSMAN-FRIED, AKA SEALED DEFENDANT 1,
                                                        Defendant-Appellant.


           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK



          APPENDIX FOR DEFENDANT-APPELLANT
                    VOLUME V OF V
                 (Pages A-1086 to A-1312)


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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 2 of 232




                           TABLE OF CONTENTS
                                                                        PAGE

District Court Docket Entries in United States v. Bandsman-Fried,
    No. 22-cr-673 (LAK) (S.D.N.Y.) ................................... A-1

Excerpts of Arraignment Transcript, dated January 3, 2023 .............. A-86

Memorandum and Order Modifying Release Conditions,
   dated February 1, 2023 (Dkt. 58) .................................. A-88

Order Modifying Release Conditions, dated February 14, 2023
    (Dkt. 68) ......................................................... A-95
Excerpts of Transcript of February 16, 2023 Pre-Trial Conference ....... A-96

Third Superseding Indictment, dated February 23, 2023 (Dkt. 80) ..... A-103

Fifth Superseding Indictment, dated March 28, 2023 (Dkt. 115) ....... A-142

Exhibits to Declaration of Christian R. Everdell in Support of Motion
    for Additional Discovery
    Exhibit 9 - Excerpts of Bankruptcy Hearing Transcript,
    dated February 6, 2023 (Dkt. 137-9) ............................. A-185
    Exhibit 10 - Emails dated February 16, 2023,
    and January 13, 2023 (Dkt. 137-10).............................. A-205
    Exhibit 11 - Email dated December 16, 2022 (Dkt. 137-11) ....... A-211

Exhibit To Bandsman-Fried's Motion to Compel Discovery
    Exhibit 1 - Subpoena to Fenwick & West LLP (Dkt. 151-1) ....... A-213

Excerpts of Transcript of June 15, 2023 Pre-Trial Conference ......... A-361
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 3 of 232




                                     ii
                                                                       PAGE
Letter from Government to Hon. Lewis A. Kaplan Re Pretrial Filings,
    dated June 29, 2023 (Dkt. 171) .................................. A-374

Excerpts of Transcript of July 26, 2023 Pre-Trial Conference.......... A-377

Excerpts of Transcript of August 11, 2023 Pre-Trial Conference ....... A-379

Sixth Superseding (Operative) Indictment, dated August 14, 2023
    (Dkt. 202) ...................................................... A-381
Excerpts of Transcript of August 30, 2023 Pre-Trial Conference ....... A-399

Letter from Government to Hon. Lewis A. Kaplan Re Advice-Of-
    Counsel Defense Notice, dated August 18, 2023 (Dkt. 211) ....... A-401

Government's Requests to Charge, dated August 21, 2023 (Dkt. 214) .. A-404

Bandsman-Fried's Requests to Charge, dated August 21, 2023
    (Dkt. 215)...................................................... A-504
Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Re Advice-Of-
     Counsel Defense Notice, dated August 23, 2023 (Dkt. 222) ....... A-554

Letter from Government to Hon. Lewis A. Kaplan Re Advice-Of-
    Counsel Defense Notice, dated August 29, 2023 (Dkt. 239) ....... A-557

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan In Response To
     Dkt. 239, dated August 30, 2023 (Dkt. 240) ...................... A-565

Order On Motions To Exclude Proposed Expert Testimony,
    dated September 21, 2023 (Dkt. 287) ............................ A-572

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Seeking
     Clarification And Reconsideration Of Rulings,
     dated October 2, 2023 (Dkt. 306) ................................ A-577
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 4 of 232




                                     iii
                                                                       PAGE
Letter from Government to Hon. Lewis A. Kaplan Moving to
    Preclude Evidence Of Current Value Of Investments,
    dated October 8, 2023 (Dkt. 315) ................................ A-582

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Seeking
     Permission To Cross Examine Gary Wang On Involvement of
     Counsel In Loan Structuring, dated October 9, 2023 (Dkt. 316) ... A-585

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan In Response To
     Dkt. 315, dated October 10, 2023 (Dkt. 317) ..................... A-588

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Seeking
     Permission To Cross Examine Caroline Ellison On Involvement
     of Counsel In Creating Auto-Deletion Policies,
     dated October 10, 2023 (Dkt. 318) ............................... A-590

Letter from Government to Hon. Lewis A. Kaplan Re Additional
    Requests To Charge, dated October 19, 2023 (Dkt. 326) .......... A-592

Bandsman-Fried's Amended Requests to Charge,
   dated October 19, 2023 (Dkt. 327) ............................... A-598

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Re Objections
     to Government's Proposed Jury Instructions,
     dated October 24, 2023 (Dkt. 329) ............................... A-658

Letter from Bandsman-Fried to Hon. Lewis A. Kaplan Providing
     Notice of Certain Direct Examination Testimony Regarding
     Involvement of Counsel, dated October 25, 2023 (Dkt. 338)....... A-664

Excerpts of Trial Transcript ......................................... A-670

Government's Exhibits
    GX-532 FTX Investor Deck, dated March 2021 ................. A-1220
    GX-558 FTX Terms Of Service, dated May 13, 2022 ............ A-1231
    GX-866 @SBF_FTX Twitter Post, dated November 7, 2022.           A-1293
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 5 of 232




                                     iv
                                                                        PAGE
    GX-1005 Alameda Balance on FTX in 2022 Chart ............... A-1295
    GX-1014 Alameda Borrowing From Third Party Lenders Chart ,, A-1296

Defense Exhibits
    DX-1617 Alameda LOC Principal Chart ........................ A-1297
    DX-1618 FTX User Accounts Balance Chart .................... A-1298
    DX-1619 FTX User Accounts All Coins Balance Chart .......... A-1299
    DX-964 (excluded) FTX Blogpost, dated October 28, 2020           A-1300

Exhibit to Bandsman-Fried's Sentencing Submission
    Excerpts of Exhibit E - November 15, 2022 Letter From James
    M. McDonald To Prosecutors (Dkt. 407-34) ..................... A-1304

Excerpts of Sentencing Transcript, dated March 28, 2024 ............ A-1308

Notice of Appeal, filed April 11, 2024 (Dkt. 428) .................... A-1311
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 6 of 232
                                    A-1086
     NB1 l8AN2                        Summation - Mr. Roos              2950

 1               (Jury present)

 2               THE COURT     Okay      The defendant and the jurors all

3    are present

 4               You may continue, Mr. Roos

 5               MR. ROOS     Thank you, your Honor

 6               So the defendant directed that these systems be put in

 7   place that allowed him to take FTX customer money, and then

 8   once the systems were in place, there were points in time,

 9   points along the road, where the defendant was presented with a

10   choice    come clean or double down          And every time he chose to

II   double down, to take more criminal steps to dig the hole in

12   customer deposits deeper

13               And so what we're going to do now is I'm going to talk

14   about six moments in time.          And here are the first three   But

15   six moments in time in 2021 and 2022 where the defendant was

16   presented with a choice about coming clean or doubling down and

17   digging the hole deeper           And each time, he indisputably knew

18   the financial situation at FTX and Alameda, and he knew that he

19   would be spending customer money, and each of these times, he

20   took the path of doing the wrong thing, he took the criminal

21   path, and so that's what we're going to talk about

22               And No. 1, the first reason is the defendant's

23   purchase, his buying back of stock from Binance using customer

24   money in 2021

25               So starting in the middle of 2019, back when ETX was

                        SOUTHERN DISTRICT REPORTERS, P C
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            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 7 of 232
                                  A-1087
     NB1 l8AN2                    Summation - Mr. Roos                    2964

 1   dug the hole even deeper, is the discussion the defendant had

 2   with his co-conspirators-his friends, the people who were his

 3   roommates in June 2022-about Alameda having a $10 billion

 4   negative balance and then how he told Ellison to repay

 5   Alameda| S lenders, spending billions of dollars more in the

 6   process     And this was another critical moment in the

 7   defendant's scheme      He knows the financial situation         He

 8   knows they're deeply in the red         And he decides to use more

 9   customer money, knowing what he's doing           So let's walk through

10   that

II               To set the scene at this point in time, it's May or

12   June and cryptocurrency prices have dropped, and Caroline

13   Ellison is looking at Alameda's balances and she sees they may

14   be insolvent, out of money, and the defendant is looking at

15   Alameda| s balances at this time too         And you heard from

16   several witnesses that the defendant would sit at his computer

17   and would constantly have it open on six monitors, a page

18   showing Alameda's balances        And even when the defendant was

19   questioned about this, he ultimately admitted that, yeah, he

20   had a balances page on his computer, but it was just an auto

21   open   But he also told you that Ellison would routinely send

22   him Alameda's balance sheets and that he was reviewing them.

23   So he knew the financial situation at the time.            He sees

24   Alameda| s balances are not good        And he gets more bad news

25   Alameda| s lenders now want their money back, because the market

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            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 8 of 232
                                  A-1088
     NB1 l8AN2                    Summation - Mr. Roos                2966

 1   options     Option one is what you heard some other

 2   crypto currency companies did.       Zac Prince told you about it.

3    The market got bad and they closed up shop; they couldn't repay

 4   their loans

5                (Continued on next page)

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             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 9 of 232
                                   A-1089
     N8lM8AN3                      Summation - Mr. Roos                  2976

 1   him?    He claimed that the people he supervised told him to stop

 2   asking questions       He claimed that even though he had been

3    concerned, he was worried that Alameda was insolvent              He was

 4   asking them to check the balances           There is this bug in the

5    system.    He claimed that the people who reported to him were

 6   like, stop asking questions

 7              And then, even though he had cancelled his trip to

 8   D.C. and he was worried that maybe Alameda was insolvent, he

 9   just didn't follow up, and he doesn't now remember what ended

10   up happening      I think his answer was, I can't recall

II              There were four witnesses in this trial that said they

12   talked to the defendant about Alameda's massive negative fiat@

13   balance in June 2022        Yedidia, Wang, Ellison, and Singh        When

14   the defendant testified that he didn't learn and couldn't

15   remember, that was a lie.        And the reason he's lying about that

16   is because this is a moment in time where he clearly knows that

17   Alameda is using FTX customer money, and he lied on the stand

18   because he knows it's wrongful and totally inconsistent with

19   everything he said publicly

20              Let me make one last point about what happened in June

21   and why it proves the defendant knew what he was doing was

22   wrong

23              Here is what the defendant does in May and June of

24   2022

25              May 13    FTX publishes terms of service that say

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 10 of 232
                                  A-1090
     N8lM8AN3                     Summation - Mr. Roos                      2977

 1   None of the digital assets in your account are the property of

 2   or shall or may be loaned to FTX Trading           Promise to FTX

 3   customers

 4              June 13    Genesis and other lenders asked the

 5   defendant for loan repayments

 6              June 14.   The defendant has the spreadsheet pro ject,

 7   and they look at all of it, and they see the negative balances

 8   He sees they are in the hole        He makes the decision to repay

 9   the money anyways

10              June 16    Repayment happens to places like BlockFi and

II   Genesis using customer money

12              Then here is the revealing par t        June 23       The

13   defendant's congressional testimony that we have already looked

14   at where he says      Whoever is in control of customer assets

15   cannot be mis allocating or misusing those assets

16              Then June 27 he tweets       Backstopping customer assets

17   should always be primary

18              What this sequence tells you is that the defendant

19   went out in public, promised them, we are not using your money,

20   it's safe     Then in June he needs money, SO he's taking his

21   customers' assets      And then if that wasn't enough, he has the

22   audacity within a week to go before Congress under oath and go

23   on Twitter and tell his customers, his victims, that he| S not

24   using their money, that money, protecting their money is his

25   top priority, and when the defendant is doing that, when he is

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             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 11 of 232
                                    A-1091
     N8lM8AN3                       Summation - Mr. Roos                     2978

 1   taking their money secretly and then within a week is out there
 2   publicly lying about it, that tells you he knows what he's
 3   doing is wrong
 4               The next moment in time is June 2022, when the
 5   defendant works with Caroline Ellison to send a f ake balance
 6   sheet to Alameda's lenders          This is another moment where the
 7   defendant made a deliberate decision to double down on this
 8   fraud      So what happened?     We have been talking about June
 9               And after Alameda repays its lenders and spends
10   billions more in customer money, the defendant wants to take
II   out new loans, because he hasn't had enough of spending money
12   already, so he goes to Genesis and BlockFi and others, but
13   there has been changes in the crypto currency market and prices
14   have f allen and some of these companies have gone out of
15   business, so as third-par ty lenders they asked for new balance
16   sheets, and now he is presented with a situation that he has to
17   make a decision in.
18              No lender who actually knew the state of Alameda| s
19   balances were ever going to lend them money, right                 It was 10
20   billion plus in the hole, and that was before they repaid their
21   loans, and then he spent a few billion dollars more repaying
22   the loans, so they are deeply in the red, totally under water
23   This was very clear to the defendant
24              Caroline comes to him and says           I think it looks bad
25   I don't think we can send this to Genesis, talking about their

                        SOUTHERN DISTRICT REPORTERS, P C
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             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 12 of 232
                                      A-1092
     N8lM8AN3                         Summation - Mr. Roos                     2979

 1   balance sheet       Do you agree°      And he says      Yeah, that sounds
 2   right
 3               Here is Alameda| s real balance sheet in June 2022,
 4   Government Exhibit 44, the main tab            What's the reason they
 5   can't send this to Genesis and other lenders° Ellison told you
 6   it showed that Alameda was in a very risky position, borrowing
 7   around 10 billion from FTX and with about 5 billion of its
 8   loans to FTX| s executives          Where does it show that?       Here
 9   Exchange borrows        9, 900     That means, according to Ellison,
10   Alameda had borrowed 9.9 billion from FTX customers
II               Here, related-party loans         That was 4.5 billion in
12   loans to the defendant, Wang, and Singh              According to Ellison,
13   it might make it look like Alameda was effectively giving or
14   funneling money to FTX executives
15               So at this point the defendant knows Alameda is deeply
16   in debt ,    He knows they borrowed customer money, he knows that
17   it's in the billions, and he knows they have made billions in
18   loans to FTX executives
19               So the defendant had to make a choice, and this is
20   another critical point, and he decides to lie yet again.                  He

21   told Ellison that she should prepare some alternative ways of
22   presenting this information and setting this thing up, ways to
23   conceal things in their balance sheet
24               So Ellison creates seven alternative balance sheets,
25   and here is that       This is Government Exhibit 44           It's another

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 13 of 232
                                  A-1093
     N8lM8AN3                     Summation - Mr. Roos                      2999

 1   Orchestrating what?     He doesn't say       That's not right         He
 2   doesn't say      Anyone else is to blame        He says     I think
 3   that's probably correct
 4              Keep in kind this context        The context is, this is a
 5   Signal message, one of the messages that they have been sending
 6   all along to auto delete, and this is one of his closest
 7   confidants     It is not a public tweet        It is not an interview
 8   This is a private space between him and his coconspirator over
 9   an encrypted messaging platform with auto delete set so he can
10   t e l l , Nis fad, I think that's probably correct
II              I told you the questions we were going to answer
12   They were      What happened? Where did the money go?            Who was
13   responsible?     We have now answered those questions together,
14   what happened      The defendant was motivated by greed and
15   ambition, and he wanted more money for Alameda, so he set up
16   systems to take the money        We have talked about what he did
17   We talked about where the money went          It went to investments,
18   to purchases, to expenses, to donations           It was siphoned off
19   And the defendant is responsible
20               Your Honor, do you want me to keep going')           I'm about
21   to switch sections
22               THE COURT   I thought you were        I think we will break
23   for lunch      Ten minutes past 2 we will resume
24               (Jury not present)
25               THE COURT   Time .

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 14 of 232
                                  A-1094
     NBl l8AN4                    Summation - Mr. Roos                 3003

 1   learn or memorize this now        But the key is that there was- ~in

 2   connection with the sale of commodities or swaps, the defendant

 3   knowingly and willfully par ticipated in a scheme that involved

 4   an artifice of fraud or manipulative device

5                Now these fraud crimes are what we spent most of the

 6   morning talking about, right?       We spent the entire morning

 7   talking about the false statements the defendant made            We

 8   talked about the f also pretenses he set up by displaying

 9   customer balances while simultaneously not actually having that

10   money behind the scenes       We talked about the relationship of

II   trust he established, how his policy documents indicated he and

12   his company were a trustee of his customers, how they were in a

13   custodial relationship, and how, simultaneously, he was lying

14   about that, how he embezzled and stole that money

15               And we've talked about how the defendant orchestrated

16   the scheme by convincing customers that they could trust him,

17   about how he made lies, about how he directed people, how he

18   made statements and representations, how he moved the money,

19   how he stole and how he misappropriated           And we've also talked

20   at length about the overwhelming proof that he knew what he was

21   doing was wrong, that he knew what was happening with customer

22   money, that he had a fraudulent intent, and that he agreed with

23   his co-conspirators      So we've already gone through all the

24   evidence that establishes that he's guilty of these frauds on

25   customers

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 15 of 232
                                  A-1095
     NBl l8AN4                    Summation - Mr. Roos                3004

 1               And on this last element that we talked about, about

 2   the wires, you saw the tweets, you saw the financial

 3   transactions, so that's met too

 4               Now on the conspiracy charge, conspiracy to commit

 5   commodities fraud, for that charge only, there is an additional

 6   element, which is that the crypto involved fit the definition

 7   of a commodity      And the defendant even admitted that before

 8   Congress in 2021

 9               There it is right there.     He's admitting that Bit coin

10   and Ethereum are two tokens covered as commodities under the

II   CFTC definition      You also heard evidence from Adam Yedidia

12   where he explained that the futures that were sold on FTX were

13   the exchange of risk which resembled what Judge Kaplan will

14   describe to you as a swap

15               And the other requirement is that some of the

16   conduct-and this is, again, just for the commodities

17   conspiracy-either occurred in or affected the United States

18   And Judge Kaplan will give detailed instructions on that, and

19   follow his instructions       And what I'll tell you now is that

20   there's plenty of evidence that in connection with the

21   commodities fraud charge, Alameda was in the United States

22   That's where its bank accounts were; it itself was incorporated

23   there; North Dimension, through which the defendant sold

24   customer fiat deposits, that was set up in the United States

25   and had a bank account in California; the defendant made f also

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 16 of 232
                                  A-1096
     NBl l8AN4                    Summation - Mr. Roos                       3009

 1   they had known that the defendant was lying to them, that he
 2   was backdating transactions, that he was coming up with phony
 3   documents
 4               There were some other points you heard about the
 5   investors      The defendant fraudulently concealed the f act that
 6   they were shifting some of the losses to Alameda. He concealed
 7   the f act that the FTX insurance fund wasn't so big              You heard
 8   testimony early in the case from Gary Wang about how in f act
 9   that FTX insurance fund number was a made-up number              They

10   literally just had this random number generator that they used
II   to come up with a f ake number for the insurance fund so they
12   could project that out       And that was the same information they
13   were giving to their investors, when they're saying this is a
14   safe system. So the lies to the investors are pervasive, they
15   mattered to them, they invested, and they lost all their money,
16   and it's very straightforward, and the evidence is
17   overwhelming
18               One last point on this      You remember he moved ETX
19   investor money from FTX to Alameda          And we saw one of the
20   things they spent that money on; that was on real estate                 And
21   so this is Government Exhibit 1023, and it shows you all the
22   investors who had their money moved over from FTX, which they
23   thought they were investing in, to the Alameda slush fund. And
24   SO he duped investors by lying about this too            And that's
25   another reason to find him guilty of investor fraud

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             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 17 of 232
                                    A-1097
     NBl l8AN4                      Summation - Mr. Roos                3011

 1   to look at all his tracing, his analysis of the balances,

 2   that's the range to ask for, 1001-1051.            They all show that the

 3   defendant stole money and moved money, and engaged in money

 4   laundering to conceal the source of the funds

5                There's one last requirement which here is called

 6   venue       And that just means that acts in furtherance of the

 7   crimes need to have taken place in the Southern District of New

 8   York, which includes Manhattan.          And there was plenty of that

 9   in this case      FTX processed wires through Signature Bank,

10   which was located in Manhattan           So is ED&F Man, where those

II   Robinhood shares were purchased           Tareq Monad, who was one of

12   the customers who testified in this case, he told you that the

13   wire to fund the accounts was processed through a Wells Fargo

14   bank in New York       BlockF;L and Genesis, which are both lenders

15   in the case of BlockFi, which is also a customer, are in New

16   York     Zac Prince, the CEO of BlockF;L, said he got those

17   balance sheets while he was in Manhattan             And customers and

18   investors like Third Point and Sculptor are based in Manhattan

19   And finally, you know from Richard Busick, who was the FBI

20   Agent who did the cellular tower analysis, he told you that the

21   defendant was all over Manhattan doing meetings with investors,

22   acts in furtherance of his crimes           And that analysis is

23   Government Exhibit 1080         So venue has been met

24               Those are the crimes the defendant is charged with,

25   and the evidence is overwhelming

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           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 18 of 232
                                    A-1098
     NBl l8AN4                      Summation - Mr. Roos                3012

 1               And SO in our final minutes together, what I want to
 2   talk about are some of the defenses you've heard in this case
 3   And like I said, the defense didn't need to make any arguments
 4   We have the burden, and we embrace that           But when they do make
 5   arguments, you should scrutinize them.          And I want to focus on
 6   just three arguments that have come up in this case
 7               Here they are: the argument that the defendant acted
 8   in good f with; the argument that he thought it would all work
 9   out in the end; and lastly, this argument that this was somehow
10   margin lending
II               And SO starting with the first argument, I expect
12   Judge Kaplan will tell you that good f aith is when someone
13   honestly believes in the truth of what they're saying or
14   honestly believes the victims were not being deprived of
15   proper ty     And that's not what happened here         We spent this
16   morning talking about all the reasons you know the defendant
17   knew what he was doing was wrong, and those are all reasons why
18   the defendant wasn't acting in good f with
19               H e r e ' s another reason   We've seen this chart before
20   This is Government Exhibit 1083           The defendant used Signal
21   Now of course there's nothing wrong with texting and nothing
22   wrong with encrypted apps          But what the defendant insisted on
23   was auto-delete        He insisted that their Signal chats be
24   deleted.     And I expect Judge Kaplan will tell you that if you
25   find that the defendant deleted communications, you can infer

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 19 of 232
                                  A-1099
     NBl l8AN4                    Summation - Mr. Roos                   3013

 1   that he believed he was guilty, that he didn't have good f with

 2   And so how do you know that was his purpose here°            Well, Adam

3    Yedidia testified that when the defendant began insisting that

 4   people use Signal and delete messages, he said it was "all

 5   downside for the messages to be kept around              And if regulators

 6   somehow found out, found something they didn't like in those

 7   messages, that could be bad for the company •       II
                                                               And the result

 8   was that when FTX collapsed and people were asking questions,

 9   there were no Signal messages before November, and that made it

10   a lot easier for the defendant to claim that he had no idea

II   what happened      And SO this is important        It'S in some ways a

12   small point, but in other ways it's very significant             He knew

13   what he was doing was wrong        He envisioned a day like today

14   He knew that some day the regulators would see something they

15   didn't like.    What he means is they would see something that

16   was incriminating      And so he had in mind a courthouse, a

17   courtroom like today, and he d;Ldn't want it to be like that SO

18   he demanded that the messages be set to auto-delete              And of

19   course he couldn't delete everything, but that was the aim

20   here, and that tells you about his intent and that it wasn't

21   good f with

22               And you also heard about coded language he used

23   Ellison told you the defendant would get upset when they used

24   explicit words, SO she said things like "FTX borrows H or "the

25   thing, H instead of saying things like FTX customer funds

                      SOUTHERN DISTRICT REPORTERS, P C
                               (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 20 of 232
                                      A-1100
     NBl l8AN4                        Summation - Mr. Roos                    3014

 1                 And finally, on this topic of good f aith, I want to
 2   talk about one conversation the defendant had with Can Sun, who
 3   was one of FTX's lawyers, as FTX was collapsing
 4                In FTX's final days, after one potential investor
 5   asked the defendant for H a legal justification as to why the
 6   funds were missing, and were at Alameda, H the defendant asked
 7   Can Sun to come up with legal justifications               And this
 8   testimony by Can Sun all begins around page 1959 of the
 9   transcript           Now importantly, at this point the defendant
10   didn't point to any legal justifications for taking the money
II   He had none           When Sun asked whether the defendant
12   identified-when Sun was asked whether the defendant had
13   identified any justifications that he was aware of, the answer
14   was HO        And that shows you-this is an important point              The
15   answer    Iv No Iv
                          is important because it shows you the defendant was
16   not acting in good faith           He didn't have a justification at
17   the time for why he honestly thought this was okay.                 He posed
18   the question to Sun           He didn't say, I think I'm allowed to use
19   this customer money, can you please confirm this for me; he
20   said quite the opposite. He didn't provide any justification
21   And so then what happens next°
22                Can Sun takes a look at the terms of service and does
23   some other research around the company, and then goes on a walk
24   with the defendant, and during that walk, here s| what Can Sun
25   tells the defendant           He says there was no justification for

                            SOUTHERN DISTRICT REPORTERS, P C
                                      (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 21 of 232
                                    A-1101
     NBl l8AN4                      Summation - Mr. Roos                   3015

 1   the funds being missing and taken by Alameda              He says there

 2   were theoretical arguments, but none of them were supported by

3    the facts       And what's important about this conversation is

 4   what happened next        It's the defendant's reaction is what

 5   particularly matters here          And so he tells-Sun tells the

 6   defendant that while there are some other crypto exchanges that

 7   do not make it clear what is the relationship between a user

 8   when they deposit funds on the exchange and the exchange,

 9   that's not feasible for us because of our terms of service

10   They make it very clear that when a user deposits assets onto

II   the exchange, those assets continue to belong to the user                So

12   in other words, Sun is telling him Alameda cannot use customer

13   money       And then, like I said, what's important is how the

14   defendant responds, because it tells you everything about his

15   good f with or lack of good faith here today             The defendant

16   doesn't fight him.       He agrees with Can Sun        He says--and

17   here's the testimony-"he acknowledged •         II
                                                          He "basically said

18   something like, got it. H       He "wasn't surprised at all. H      If the

19   defendant actually believed that he was allowed to use customer

20   money, as he claimed when he took the witness stand, why dion't

21   he say that back in 2022?        In this private conversation back in

22   2022, why d;Ldn't he say what he said up on that witness stand?

23   He didn't direct Can Sun to some part of the terms of service

24   He just acknowledged Sun's conclusion and didn't seem

25   surprised.      And that tells you he wasn't acting in an honest

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 22 of 232
                                     A-1102
     NBl l8AN4                       Summation - Mr. Roos                   3016

 1   belief or in a good f with

 2               There's another part of this conversation that matters

 3   and tells you something about the defendant not acting in good

 4   f aith      And that's that Can Sun told the defendant that he

5    considered, as one of the theoretical justifications, whether,

 6   under Section 16 of the terms of service, which concerned

 7   margin trading, whether ETX could have theoretically argued

 8   that it could take the customer funds             So that was another

 9   theoretical justification that Can Sun raised with the

10   defendant       And Sun told the defendant that he asked Nis had and

II   Ramnik Aroma, another employee, to pull some numbers, and those

12   showed that this theoretical justification was not supported by

13   the facts       And how did the defendant respond?           Again, this is

14   the key part for knowing about his intent               He acknowledged.

15   "He said, yup, YUP         No pushback. H    By the way, do you notice

16   how Can Sun's answer resembled exactly the way the defendant

17   answered )     "He said, yup, YUP       No pushback •   II
                                                                  This tells you

18   that the same time the defendant didn't think this was par t of

19   the terms, at this time the defendant did not think this par t

20   of the terms of service allowed him to use customer money                And

21   that's important, not just for his good f with or lack thereof,

22   but ;Lt's important because of what happens next

23               After ETX declared bankruptcy, the defendant did

24   interviews       You heard about that during his testimony            And

25   one of them was on Good Morning America with George

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 23 of 232
                                     A-1103
     NBl l8AN4                       Summation - Mr. Roos                   3017

 1   Stephanopoulos       And during the interview the defendant is

 2   confronted with the exact same terms of service that he spoke

 3   to Can Sun about in that private meeting            And Stephanopoulos

 4   presses him.     He says, "If Alameda is borrowing the money that

5    belongs to FTX depositors, that's a bright red line, isn't it')               Iv




 6   And Stephanopoulos is gesturing to the terms of service                It

 7   says that "digital assets may not be loaned out to FTX                They

 8   can't be loaned out •     II
                                    So Stephanopoulos confronts him with

 9   this

10               And the defendant takes a long pause          And then he

II   gives a f also excuse          He says, "There existed a borrow lending

12   f facility on FTX, and I think that's probably covered in the

13   terms of service •   II
                               So the defendant gives Stephanopoulos, on

14   television, the very justification he had discussed with Sun as

15   not being a theoretical justification that worked                 And this is

16   a f also excuse      And I expect Judge Kaplan will tell you

17   tomorrow that if a defendant gives a f else excuse or a f else

18   exculpatory in order to diver t-in order to diver t suspicion

19   from himself, you may consider that as evidence that he

20   believed he was guilty          So this is another reason you know

21   that the defendant was not acting in good f aith, because he

22   thought he was guilty, and that's why he lied and gave a

23   justification he knew wasn't true on television before he was

24   charged with a crime

25               There| s another defense I want to touch on just very

                       SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 24 of 232
                                  A-1104
     NBl l8AN4                    Summation - Mr. Roos                  3018

 1   briefly, and this is the defense that the defendant has brought

 2   up again and again, that he just got unlucky            When he took the

 3   witness stand, he blamed everyone and everything             He claimed

 4   the problem wasn't from-that they didn't hedge right, that

 5   they had bad luck, that PTT prices dropped, that the

 6   investments happened to be illiquid, and the defendant claimed

 7   that with just a little more time, everything could have worked

 8   out, and they could have processed some more withdrawals            And

 9   I expect Judge Kaplan is going to tell you that a belief by a

10   defendant, even an honest belief, that ultimately everything

II   would work out fine or that victims wouldn't ultimately lose

12   money, does not mean the defendant acted in good f aith            The

13   crime here was when the defendant took the money, when he made

14   f also statements to get that money         What ended up happening

15   later on doesn't make him not guilty of the crime

16               The last argument I want to talk about today is this

17   idea that it was all margin lending          And with every hour the

18   defendant spent on the witness stand, we saw this argument get

19   more and more absurd      Suddenly, any withdrawal off the

20   exchange, to repay any sort of third-party debt or expense, or

21   to buy muffins, this was a margin trade, according to the

22   defendant     And according to the defense opening, the theory, I

23   guess, is that Alameda was also doing these margin loans and

24   that somehow, under the terms of service, they could just rip

25   all the customers| money because everyone was doing margin

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 25 of 232
                                  A-1105
     NBl l8AN4                    Summation - Mr. Cohen                    3023

 1   even agreed to this when they joined FTX

 2               Here's my last thought on this margin defense

3                When the defendant was asked directly yesterday under

 4   cross-examination whether he was saying the big hole in

 5   customer funds in November was the result of a clawback, he

 6   sort of fumbled for a second        And then he said he woulds't

 7   describe it that way      He conceded that's not actually what

 8   happened      This is a distraction      It's something manufactured

 9   after the f act     It's something that he came up with after

10   everything came crashing down        He came up with it for a day

II   like today, in a courthouse, and you should re ject :Lt .

12               You've all paid close, careful attention             Let me

13   leave you with this thought        This was a fraud that occurred on

14   a massive scale      Thousands of people lost billions of dollars

15   Everyday people lost savings, companies went bankrupt, all

16   because of this defendant's fraud, because he wanted more money

17   to do whatever he wanted with        So when you go back to the jury

18   room, follow the truth       Let the evidence prevail over his

19   storytelling      The defendant, he lied and he stole from his

20   customers; he lied and he stole from his lenders; he lied and

21   he stole from his investors        He's guilty of wire fraud; he| s

22   guilty of securities fraud; he's guilty of commodities fraud;

23   and he's guilty of money laundering          Do justice      Reach the

24   only verdict consistent with the evidence, with the law, and

25   with the truth, that the defendant is overwhelmingly, beyond

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 26 of 232
                                     A-1106
     N8lM8AN7                                                               3112

 1   the jury, so I'll speak last for Sam, for my client                 Consider

 2   the evidence in light of your real-world experience                 We submit

 3   you will find that Sam acted in good f with throughout, that he

 4   made the best business decisions he could at every stage                 He

 5   didn't want to hurt anyone, f at from it.            He didn't want to

 6   defraud anyone and he didn't.          He didn't intend to defraud

 7   anyone

 8               So, with respect, the greatest of respect, we ask that

 9   when you deliberate, you find him not guilty on all counts

10               Thank you

II               THE COURT      Thank you

12               Ladies and gentlemen, thank you for staying             We will

13   tomorrow morning hear any rebuttal argument by the government,

14   and I will charge you and you will get the case

15               I should add, in full disclosure, I am informed during

16   the day        and, again, I'm not commenting on how long this

17   should take or how quickly you should be done one way or the

18   other       if we do stay late enough to get something to eat,

19   it'S pizza       It didn't used to be that way          I'm sorry, but

20   that's what it is.

21               (Adjourned to November 2, 2023, at 9:30 a.m.)

22

23

24

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                        SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 27 of 232
                                  A-1107
     N82 l8ANl                    Rebuttal - Ms. Sassoon                 3117

 1   begin charging you on the law when that break is over              I won't

 2   do it all in one fell swoop        Sadly to say, it's going to take

3    some time.     So we will break for lunch at some convenient point

 4   in the course of my reading the charge           You know that your

 5   lunches have been ordered, and it will be a 30-minute lunch

 6   break in order to finish up and get the case to you              After

 7   lunch, I'll finish charging you         And I will not keep you later

 8   than 8:15, if you get that far         I'm not suggesting anything,

 9   of course, about whether you should or shouldn't or will need

10   that much time or more or less         If you stay as late as 8:15,

II   there will be transportation for those who need it, and we will

12   order that up somewhere along the line           And as you may have

13   learned from Andy already, Andy, who is a magician around here,

14   has managed to accomplish the feat that if you do wind up

15   having supper here, you have a choice of more than pizza                 And

16   you can thank Andy for that

17               Okay    with that, Ms. Sassoon, we'll hear your

18   rebuttal argument

19               MS. SASSOON:   Thank you, your Honor

20               Telling your customers to trust you with their money,

21   telling your customers that their assets are safe, segregated,

22   safeguarded, held in custody, and then taking that money and

23   spending it on yourself, on your business, on the same business

24   that you've told your customers is separate, walled off,

25   treated no differently from any other account, that is not a

                        SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 28 of 232
                                     A-1108
     N82 l8ANl                       Rebuttal - Ms. Sassoon               3125

 1   they admitted to serious federal crimes, and they described how

 2   they did it and who they did it with

3                On the other hand, the defense wants you to believe

 4   that none of these cooperators helped the defendant commit

 5   crimes and that they all pleaded guilty even though none of

 6   them actually thought they were doing anything wrong at the

 7   time .   Now think about that         And let's take Gary Wang as an

 8   example      By this argument, Gary Wang leaves the Bahamas days

 9   after FTX declares bankruptcy, less than a week later comes to

10   meet with the government, no one at that point has been charged

II   with any crimes, and he confesses to all sorts of things that

12   he didn't do       In that very first meeting, he pleads guilty to

13   a host of crimes he didn't commit, he exposes himself to

14   penalties for things he never did, and then he comes up here

15   and he lies to you         That makes no sense

16               And you know that this is not a case of crimes in

17   hindsight       And let's just take Caroline Ellison as one

18   example      The defense said if she really thought something was

19   wrong, wouldn't she have resigned, cashed out, blown the

20   whistle?     Well, she didn't do those things, and that's why

21   she's guilty of par ticipating in a conspiracy              And she told

22   you that during the conspiracy, she did think she was doing

23   something wrong and she expressed it to the defendant               She

24   went to him as f at back as 2020 and said, What about these

25   auditors?      Are they going to see that we're taking customer

                        SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 29 of 232
                                     A-1109
     N82 l8ANl                       Rebuttal - Ms. Sassoon                     3126
 1   money'      That would be bad.      And he said, Don 't worry.       The

 2   auditors won't see i t .       When he wanted to buy out Binance, she
 3   said, Well, we can't do that without taking customer money.
 4   And he said, Well, do it anyway. And in 2022, when he told her
 5   to lie to the lenders, she told you the effect that that had on
 6   her      She spent a year in dread and fear, waiting for her
 7   crimes to be exposed. She cried on that stand and she told you
 8   about the worst months of her life, when she knew she was
 9   committing crimes and was waiting to get caught, waiting for
10   customers to realize that their money was gone
II                And let's talk about Nis had        The defense made a big
12   deal out of the f act that he learned of the conspiracy and
13   joined it a little later          I expect Judge Kaplan is going to
14   instruct you that different people can play different roles in
15   a conspiracy        You can play a minor role, you can play a major
16   role, you can join at a different time. You're still part of
17   the conspiracy        And SO it's no surprise that Nis had, who
18   didn't work at Alameda, didn't have visibility into all the
19   spending and all the use of customer money, but when he did,
20   when it sunk in, he didn't say, oh, nothing wrong going on
21   here      He confronted the defendant on that balcony               He was
22   shocked, he was blindsided, and eventually he was suicidal .
23   That is not somebody who dion 't think he was doing anything
24   wrong
25               But you don't need to take the cooperators | words for

                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
               Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 30 of 232
                                      A-1110
     N82 l8ANl                        Rebuttal - Ms. Sassoon                    3130

 1   just goes about his business
 2                This story not only makes no sense, it' s inconsistent
 3   with the testimony of every witness in this case, and you know
 4   that it' s a made-up story           You should re ject it.
 5                The defense threw around these terms, "liquidity, H
 6   Iv
          solvency, H and Mr. Cohen told you that the defendant acted in
 7   good f with because "he always thought Alameda had sufficient
 8   assets on the exchange and off the exchange to cover its
 9   liabilities II That's not good faith
                     •                                 First of all, you saw
10   the balance sheets, and these were the same balance sheets that
II   were sent to the defendant in June, in September, in October
12   There isn't $40 billion of NAV; there isn't even $10 billion of
13   NAV       And you saw the liquid assets, the same liquid assets the
14   defendant was looking at at the time              Alameda had about
15   $500 million in its bank account and owed ETX $13 billion                      And
16   the other liquid assets, they were coins like PTT and Serum and
17   Solana       And the government's not claiming, like Mr. Cohen
18   said, that PTT is a f ake coin            What you learned in this trial
19   is that :Lt was an illiquid coin, which the defendant and
20   everybody else knew meant that you couldn't sell all those
21   coins and recover the full value on the balance sheet
22                So the defendant saw these balance sheets and he knew
23   that Alameda did not have the assets to cover this giant debt
24   to FTX customers         But let me be clear about t h i s           Whether
25   Alameda was liquid, solvent, had $40 billion of coins or gold

                          SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 31 of 232
                                  A-1111
     NB2 lBANl                    Rebuttal - Ms. Sassoon                   3131

 1   bars, or just a worthless pile of junk, it doesn't matter

 2   It'S a distraction      Because even if the defendant thought that

3    Alameda could sell all its assets and investments that were not

 4   on the FTX exchange to repay a $14 billion debt-which it

 5   couldn't and it didn't-that wouldn't be good f with                And I'll

 6   tell you why    Because when the defendant told his customers

 7   that their assets were safe, that a customer had to deposit

 8   collateral on to FTX to trade or borrow, that negative accounts

 9   would be liquidated and that Alameda's account was just like

10   everybody else, he lied       Unlike every other customer, Alameda

II   did not post collateral, it couldn't be liquidated, and they

12   were not being evaluated by the supposedly automatic computer

13   risk engine    He lied to gain customers' trust, to get their

14   money, and then he decided the rules d;Ldn't apply to him and

15   his business    Whether or not he made good investment decisions

16   after that or it was a good business judgment to pay

17   $300 million to meet celebrities doesn't matter, because he

18   embezzled that money in the first place after his customers

19   trusted him with it.     The customers did not sign up for that

20   They told you that      And they would not have put their money on

21   the exchange if they knew what was going on            So whether or not

22   the defendant thought he could get away with it by selling

23   assets or raising money from other investors, he thought he

24   could one day put that money back, doesn't matter                He still

25   took his customers' property based on f also misrepresentations,

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 32 of 232
                                    A-1112
     N82 l8ANl                      Rebuttal - Ms. Sassoon                    3133

 1   risk officer      And the defendant didrl't need a chief risk

 2   officer to tell him that stealing customer money was wrong

3    You can't go into a jewelry store, steal a diamond necklace,

 4   walk out, and then say, there was no security guard                The

 5   defendant knew what he was doing was wrong, and that's why he

 6   never hired a risk officer

 7               Before I conclude, I want to make something else very

 8   clear, and leave you with this thought            Even if you accept

 9   everything the defendant said on the stand, which you

10   shouldn't, he is still guilty of fraud             The defense doesn't

II   dispute that by September or October, the defendant knows about

12   Alameda's massive liability to FTX customers; he knows that

13   they've spent customer fiat funds; he knows they have borrowed

14   billions of dollars from customers, outside the normal rules of

15   the exchange; he knows the state of Alameda|s balance sheet,

16   he|S been reviewing it ; he knows that they have barely any

17   money in bank accounts and a bunch of illiquid tokens and

18   investments that are not on the FTX exchange              And so you know

19   that he directed this fraud, that he was the hub               But even if

20   you accept what he is saying, he wash't a member of the

21   conspiracy before then, he became a member of the conspiracy at

22   that point in time.       The defense wants you to think that the

23   government has to prove that this was a giant fraud from day

24   one and that this was the defendant's plan all along               We

25   don't     Now the evidence shows that-the evidence shows that

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 33 of 232
                                  A-1113
     N82 l8ANl                    Rebuttal - Ms. Sassoon                3136

 1   helped Caroline, for example, write a misleading tweet-that's

 2   Government Exhibit 875-saying that Alameda's balance sheet was

 3   secure because they had repaid all their loans            Repaid all

 4   their loans?     They owed ETX $10 billion

5                And then he tweeted himself       This is not the

 6   government's f favorite piece of evidence         I don't know if that

 7   joke was meant to distract, but this is a significant piece of

 8   evidence, and you should take it seriously, because when the

 9   defendant said ETX had enough to cover all client holdings,

10   that was a lie.     And the defendant himself admitted that that

II   statement, he was taking into account Alameda's balance sheet,

12   the company he told the public was walled off and separate, and

13   he was taking into account assets that were illiquid and that

14   were not on the FTX exchange        FTX did not have enough to cover

15   all client holdings

16               And just look at Government Exhibit 21, where at the

17   same time in private he's saying, We have one third of the

18   money to cover what client assets should be        •




19               So that tweet alone shows that he joined the

20   conspiracy, he took an act in fur therance of it, to prevent

21   customer withdrawals, and he lied over and over again

22               The defense said that the f act that he deleted this

23   tweet somehow shows that he had good faith             Give me a break

24   On November 7 he thought he could still fool the world             He

25   thought that if he lied to customers, maybe they wouldn't

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 34 of 232
                                  A-1114
     NB2 lBANl                    Rebuttal - Ms. Sassoon               3137

 1   withdraw their money      And when he deletes the tweet, it's
 2   because the curtain has been pulled back           The world at that
 3   point knows the money| s not there        He's destroying evidence
 4   He's deleting evidence of his lies
 5               And then the defendant went and made f else statements
 6   to the press, and that's when he thought he would never be
 7   caught, that his messages had been deleted, that his
 8   fingerprints were not on the code, and that his deniability was
 9   airtight
10               (Continued on next page)
II
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                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 35 of 232
                                  A-1115
     N8ZM8AN2                     Rebuttal - Ms. Sassoon                 3138

 1              MS. SASSOON:   He went on Good Morning America for the

 2   same reason he sent a confident tweet thread, because he

3    thought he could fool his customers, reporters, the public, and

 4   now you     Don't f all for it.    You know better

5               When the defendant sent that f else tweet, when he lied

 6   to the public, he didn't bargain for the metadata or Caroline's

 7   journals or the complicated tracing of crypto and dollar money

 8   movements that show when and how he took the money and where he

 9   spent it.    He didn't bargain for his three loyal deputies

10   taking that stand and telling you the truth, that he was the

II   one with the plan, the motive, and the greed to raid FTX

12   customer deposits, billions and billions of dollars to give

13   himself money, power, influence         He thought the rules did not

14   apply to him.    He thought that he could get away with it.          But

15   his crimes caught up to him.       His crimes have been exposed

16              It's time to deliberate without fear, f aver, sympathy,

17   or pre judice     You sat through this trial        You know what

18   happened     Find him guilty

19              THE COURT    Thank you, counsel.       We will take 15

20   minutes

21               (Recess)

22               (Pages 3139-3141 SEALED)

23

24

25

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 36 of 232
                                  A-1116
     N82M8AN2                     Charge                                3142

 1              THE DEPUTY CLERK     An announcement to the spectators

 2   The Court is about to charge the jury          All spectators must

 3   either remain seated throughout the duration of the charge or

 4   leave at this time

5               Marshal, please lock the door

 6              (Jury present)

 7              THE COURT     The defendant and the jurors all are

 8   present

 9              Members of the jury, you are about to perform your

10   final function as jurors       My instructions to you are going to

II   be in four parts       I will start by describing the law to be

12   applied to the f acts as you find the f acts to have been

13   established by the proof       I will then instruct you about the

14   trial process, give you instructions concerning your evaluation

15   of the evidence, and, finally, talk to you about the conduct of

16   your deliberations

17              Now, you are free to take notes, but I want you to

18   understand that the charge will be given to each of you in

19   writing when you retire to deliberate, SO that you will have it

20   for reference during your deliberations, and the law simply

21   requires that I deliver it orally as well.

22              The defendant, as you now know, is Samuel

23   Bandsman-Fried.    He has been formally charged in a document

24   called an indictment        The indictment is, as I told you at the

25   beginning of the trial, simply an accusation            It's not


                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 37 of 232
                                  A-1117
     N82M8AN2                     Charge                                   3143

 1   evidence     It's not proof of the defendant's guilt             It doesn't
 2   create any presumption or permit any inference that the
 3   defendant is guilty of any of the charges
 4              You will have a copy of the relevant par is of the
 5   indictment in the jury room for your reference
 6              Each part of the indictment or, to be more precise,
 7   each count of the indictment charges a different crime               You
 8   must consider each count separately and return a separate
 9   verdict of guilty or not guilty for each of the counts               Except
10   in one respect that I'll explain to you a little bit later on
II   when I discuss Count Seven, your verdict on one count should
12   not control your decision as to any other count
13              I am now going to describe the counts in the
14   indictment
15              Count One charges the defendant with committing wire
16   fraud on customers of ETX by misappropriating customer
17   deposits
18              Count Two charges the defendant with conspiring to
19   commit wire fraud on customers of FTX by misappropriating
20   customer deposits
21              Count Three charges the defendant with committing wire
22   fraud on lenders to Alameda Research by providing f else and
23   misleading information to those lenders. For convenience, I am
24   going to refer to Alameda Research from time to time simply as
25   Alameda, but you should understand that when I say Alameda or

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 38 of 232
                                  A-1118
     N82M8AN2                     Charge                                3144

 1   Alameda Research, I am talking about the same thing, and they

 2   are the entity or entities as to which you heard evidence             I

3    guess it's one entity, I want to be clear            that was owned 90

 4   percent by the defendant

5               Count Four charges the defendant with conspiring to

 6   commit wire fraud on lenders to Alameda by providing f else and

 7   misleading information to those lenders

 8              Count Five charges the defendant with conspiring to

 9   commit securities fraud by providing f also and misleading

10   information to FTX's investors

II              Count Six charges the defendant with conspiring to

12   commit fraud on customers of ETX in connection with the

13   purchase and sale of crypto currency and cryptocurrency swaps by

14   misappropriating those customers| deposits

15              Count Seven charges the defendant with conspiring to

16   commit money laundering in order to conceal and disguise the

17   nature, location, source, ownership, and control of proceeds of

18   the alleged fraud on FTX's customers

19              Now, the defendant has pleaded not guilty to all the

20   charges in the indictment        The burden is on the prosecution to

21   prove guilt beyond a reasonable doubt          That burden never

22   shifts to the defendant       He is presumed innocent of the

23   charges against him, and I therefore instruct you that he is

24   presumed innocent throughout your deliberations unless and

25   until such time, if such a time ever occurs, that you as a jury

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 39 of 232
                                  A-1119
     N82M8AN2                     Charge                               3145

 1   are satisfied that the government has proved him guilty beyond

 2   a reasonable doubt      If the government fails to sustain its

 3   burden of proof on one or more counts, you must find the

 4   defendant not guilty on that count or counts

5               I have said that the government must prove guilt

 6   beyond a reasonable doubt       What's a reasonable doubt°       It's a

 7   doubt based on reason and common sense           It's a doubt that a

 8   reasonable person has after carefully weighing all of the

 9   evidence or lack of evidence          It is a doubt that would cause a

10   reasonable person to hesitate to act in a matter of importance

II   in his or her personal life        Proof beyond a reasonable doubt,

12   therefore, is proof of such a convincing character that a

13   reasonable person would not hesitate to rely and act upon it in

14   the most important of his or her own affairs

15              If, after a fair and impartial consideration of all of

16   the evidence, you have a reasonable doubt about the defendant's

17   guilt with respect to a charge in the indictment, it is your

18   duty to find him not guilty on that charge           On the other hand,

19   if after f air and impartial consideration of all the evidence

20   or lack of evidence, you are satisfied of the defendant's guilt

21   on a par ticular charge beyond a reasonable doubt, you should

22   vote to convict on that charge

23              Let me talk in a little bit more detail about the

24   indictment     As I have told you, Counts Two, Four, Five, Six,

25   and Seven each charge the defendant with a different crime of

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 40 of 232
                                    A-1120
     N82M8AN2                       Charge                                  3146

 1   conspiracy      The other two counts, Counts One and Three, charge

 2   what we call substantive crimes           I talked about that a little

3    bit before we finished jury selection, but now I'll give you

 4   the full and dispositive and binding explanation of the

5    difference

 6              A conspiracy count is different from a substantive

 7   count      A conspiracy charge, generally speaking, alleges that

 8   two or more persons agreed together to accomplish an unlawful

 9   objective      The focus of a conspiracy count, therefore, is on

10   whether there was an unlawful agreement             A substantive count,

II   on the other hand, charges a defendant with the responsibility

12   of the actual commission of a crime or an offense                  A

13   substantive offense therefore may be committed by a single

14   person, and it need not involve an agreement with a second or

15   more other persons

16              A conspiracy to commit a crime is an entirely separate

17   and different offense from a substantive crime, the commission

18   of which may be an object or a purpose of the conspiracy                And

19   since the essence of the crime of conspiracy is an agreement or

20   an understanding to commit a crime, it doesn't matter if the

21   crime, the commission of which was an objective or a purpose of

22   the conspiracy, ever in f act was committed            In other words, if

23   a conspiracy exists and certain other requirements are met, it

24   is punishable as a crime even if its purpose was not

25   accomplished      Consequently, in a conspiracy charge there is no

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 41 of 232
                                     A-1121
     N82M8AN2                        Charge                              3147

 1   need to prove that the crime or crimes that were the objective
 2   or the objectives of the conspiracy actually were committed.
 3               By contrast, conviction on a substantive count
 4   requires proof that the crime charged actually was committed,
 5   and it doesn't require proof of an agreement
 6               Now, with respect to the two substantive counts,
 7   Counts One and Three, you should be aware also that there are
 8   three alternative theories on the basis of which you may find a
 9   defendant guilty        I am going to explain all three theories in
10   more detail, but I want to just outline them briefly before I
II   get into the more detailed explanation
12               The first theory is that the defendant himself
13   committed a substantive crime charged in one of those two
14   substantive counts         The second theory is that the defendant,
15   with criminal intent, willfully caused some somebody else to
16   engage in certain actions that result in the commission of a
17   substantive crime charged in the indictment by that other
18   person      I am going to refer, just for the sake of having a
19   shorthand for those two theories that I just outlined for you,
20   as it involving a claim that a defendant is guilty of a crime
21   as a principal
22               The third theory is that somebody other than the
23   defendant committed a crime charged in the indictment as a
24   substantive offense, and that the defendant aided and abetted
25   in the commission of that crime            I am going to refer to that

                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 42 of 232
                                  A-1122
     N82M8AN2                     Charge                               3148

 1   theory as a claim that the defendant is guilty as an aider and

 2   abettor

3               For the sake of organizing my instructions to you in a

 4   convenient way, I am going to instruct you first with respect

 5   to Counts One and Three, which are the two counts that charge

 6   substantive crimes      I will then instruct you on the first two

 7   theories of liability, namely, that the defendant is guilty as

 8   a principal of those crimes charged, either because he

 9   committed those crimes himself or because with criminal intent

10   he caused somebody else to commit those crimes            I then will

II   instruct you on the aiding and abetting theory            Then I'll turn

12   to the conspiracy counts, which don't involve these three

13   alternative theories

14              Now, Count One charges that        From at least in or

15   about 2019, up to and including in or about November 2022, the

16   defendant par ticipated in a scheme to defraud customers of FTX

17   of money and property by making, or causing to be made,

18   material f also representations, using interstate or

19   international wires, for the purpose of paying expenses and

20   debts of Alameda or to make investments and for other reasons

21              When I pause like this, I'm fixing typos

22              Count Three charges that       From at least in or about

23   June 2022, up to and including in or about November 2022, the

24   defendant par ticipated in a scheme to defraud lenders to

25   Alameda of money and proper ty by making, or causing to be made,

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 43 of 232
                                    A-1123
     N82M8AN2                       Charge                              3149

 1   material misrepresentations regarding Alameda's financial

 2   conditions, using interstate or international wires, so that

 3   those lenders would not recall existing loans or would extend

 4   new loans to Alameda

5               with any criminal charge there are certain basic facts

 6   that the government must prove beyond a reasonable doubt before

 7   a defendant may be found guilty           Those basic, necessary f acts

 8   are called the essential elements of the charge

 9              For each of Count One and Count Three, the government

10   must prove the following three elements beyond a reasonable

II   doubt

12              First, that the defendant employed a scheme, device,

13   or artifice to defraud or obtained money or property by f else

14   pretensions, representations or promises

15              Second, that the defendant knowingly and willfully

16   par ticipated in the scheme, device, or at tifice was to defraud

17   with knowledge of its fraudulent nature and with specific

18   intent to defraud; and

19              Third, in the discussion of that device, scheme or

20   at tifice to defraud, the defendant used, or caused to be used,

21   interstate or international wires (for example, phone calls,

22   email communications, or electronic trades)

23              The first element that the government has to prove

24   beyond a reasonable doubt, and this is true of both Counts One

25   and Three       excuse me      Strike "this is true of Counts One and

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 44 of 232
                                  A-1124
     N82M8AN2                     Charge                              3150

 1   Three" and disregard that

 2              The first element that the government must prove

 3   beyond a reasonable doubt is the existence of a device, scheme

 4   or artifice to defraud the alleged victims of money or property

 5   by f also or fraudulent pretenses, representations, or promises

 6   In Count One, the victims alleged are the customers of FTX          In

 7   Count Three, the alleged victims are lenders to Alameda

 8   Unless I instruct you otherwise, the instructions on the

 9   elements that the government has to prove beyond a reasonable

10   doubt to establish wire fraud are exactly the same on Count One

II   and Count Three      What's different is the alleged victims

12   Count One the victims are FTX customers; Count Three, Alameda

13   lenders

14              Now let me define some of the terms relating to wire

15   fraud that I ve already used
                   1




16              Fraud is a general term.       It is a term that includes

17   all the possible means by which a person seeks to gain some

18   unfair advantage over a victim by intentional misrepresentation

19   or f also pretenses

20              A device, scheme, or artifice to defraud is any plan,

21   device, or course of action to deprive another of money or

22   proper ty by means of f also or fraudulent pretenses,

23   representations, or promises          It is, in other words, a plan to

24   deprive another person of money or proper ty by trick, deceit,

25   deception, swindle, or overreaching

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 45 of 232
                                     A-1125
     N82M8AN2                        Charge                                 3151

 1               Money or property includes fiat currency, such as U S

 2   dollars or British pounds or other foreign currency                 It also

 3   includes crypto currencies

 4               A statement or representation is f else if it's untrue

 5   when it's made        A statement may be f also also if it is

 6   ambiguous or incomplete in a manner that makes what is said or

 7   represented misleading or deceptive             A representation is

 8   fraudulent if it was made f alsely and with intent to deceive

 9               A f also or fraudulent statement, representation,

10   promise, or pretense must relate to a material f act or matter

II   A material f act is one that would be expected to influence, or

12   that is capable of influencing, the decision of a reasonable

13   person      The same principle applies to fraudulent

14   misappropriation, which I am going to discuss in just a moment

15               Now, as is per eminent here with respect to the alleged

16   wire fraud on customers of FTX, a scheme to defraud existed if

17   the government has proved beyond a reasonable doubt that the

18   defendant fraudulently embezzled or misappropriated proper ty

19   belonging to another         The words embezzle and misappropriate

20   mean the fraudulent misappropriation to one's use of money or

21   proper ty that was entrusted to one's care by someone else and

22   with whom that person stood in a relation, implying and

23   necessitating great confidence and trust              Money or property is

24   entrusted to the defendant's care when the business that the

25   defendant transacted or the money or proper ty that the

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 46 of 232
                                    A-1126
     N82M8AN2                       Charge                                 3152

 1   defendant handled was not the defendant's own or for the

 2   defendant's own benefit, but for the benefit of another person

 3   as to whom the defendant stood in a relation implying and

 4   necessitating great confidence and trust

5               Now, such a relationship cannot be based solely on

 6   unilateral, subjective expectations of FTX customers               Rather,

 7   your judgment as to whether the government has proved such a

 8   relationship should take into account all of the evidence

 9   concerning the relationships between and among the defendant,

10   FTX, and FTX|s customers         That evidence may include public FTX

II   policies, public statements and representations by the company,

12   or by the defendant, tweets and other electronic

13   communications, the FTX terms of service, and any other

14   circumstances pertinent to whether the government has proved

15   such a relationship

16              As far as the terms of service are concerned, I need

17   to make a number of points about them.

18              If you don't mind, I am going to stand, not because of

19   any special emphasis, but because I need to stand once in a

20   while     If you feel likewise, feel free

21              Let me make sure I can be heard

22              First of all, my recollection is that there is only

23   one version of the FTX terms of service in evidence                It's

24   Government Exhibit 558         And the evidence, as I recall it, is

25   that it went into effect in May 2022            While there was

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 47 of 232
                                  A-1127
     N82M8AN2                     Charge                                     3153

 1   reference in the testimony to earlier versions of FTX terms of

 2   service, none of those was received in evidence             There is

 3   evidence also that a prospective customer had to click a box

 4   that said, and I think I quoted accurately, I agree to the FIX

 5   terms of service in order to open an account            Government

 6   Exhibit 587 is said to be a screenshot of the web page on which

 7   a prospective customer was presented with the check box next to

 8   the statement, I agree to the FTX terms of service               Now,

 9   mechanisms like this, in other words, where a customer has to

10   click a box on a website stating something to the effect of, I

II   agree to the terms of service in order to get access to

12   services or goods and does click the box, are of ten called

13   clickwrap agreements

14              The second point I need to make about the terms of

15   service is that a clickwrap agreement is a civilly enforceable

16   contract of the terms of service that were reasonably

17   conspicuous to the prospective customer, which is of ten a

18   function of the design and the content of the relevant computer

19   interface     If the terms of service were reasonably

20   conspicuous, the prospective customer, as a matter of the civil

21   law of contracts, is bound by those terms of service                excuse

22   me    terms and conditions, terms of service, when he or she

23   clicks I agree, regardless of whether he or she ever read the

24   terms of service, as long as a reasonably prudent user would

25   see that next to the box appears text saying I agree in the

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 48 of 232
                                  A-1128
     N82M8AN2                     Charge                              3154

 1   check box, and there is highlighted and underlined indications

 2   that I suspect everybody is f familiar with and that a reasonably

 3   prudent user would understand that the page is hyperlinked to

 4   another web page where the terms of service would be found          In

 5   considering whether a statement or omission is material, let me

 6   caution you that a clause in a contract or a disclaimer cannot

 7   render any misrepresentation, including any oral

 8   misrepresentation, immaterial as a matter of law

 9              The third point is that, insofar as Count One is

10   concerned, this, of course, is a criminal wire fraud case          It

II   is not a civil case for breach of contract           In order to decide

12   whether the defendant misappropriated or embezzled to his own

13   use money or property of FTX customers, you first need to

14   determine whether the relationship between the defendant and

15   those customers was one implying and necessitating great

16   confidence and trust      In doing so, you should, as I have said,

17   consider all of the evidence concerning the relationships

18   between and among the defendant, ETX, and FTX|s customers, not

19   simply the terms of service alone         And if the government has

20   proved such a relationship of trust and confidence, you must

21   determine whether or not the government has proved beyond a

22   reasonable doubt that FTX customers were materially deceived or

23   misled to entrust their money and property to FTX whenever they

24   did SO or to leave it there        Misappropriation of property is

25   material if the disclosure of the misappropriation would be

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 49 of 232
                                  A-1129
     N82M8AN2                     Charge                                  3155

 1   expected to influence or is capable of influencing the decision

 2   of a reasonable person

3               Now, you have heard evidence that after customers and

 4   lenders transferred money to FTX and Alameda Research, the

 5   defendant engaged in conduct, made tweets and other public

 6   statements and provided financial information, which the

 7   government claims were f else or misleading          It is not

 8   necessary for the government to prove that a f else or

 9   misleading      excuse me      f also or fraudulent representation

10   or statement was made prior to a customer's or lender's

II   decision to part with money or property           Rather, if after

12   having obtained money or proper ty, the defendant devised or

13   par ticipated in a fraudulent scheme to deprive the alleged

14   victim of that money or property by keeping the money or

15   proper ty through making a subsequent f else or fraudulent

16   misrepresentation as to a material f act, that is sufficient to

17   establish the existence of a scheme to defraud            It is not

18   necessary for the government to prove that the scheme to

19   defraud actually succeeded, that any particular person actually

20   relied on a statement or representation, or that any victim

21   actually suffered damages as a consequence of any f else or

22   fraudulent representations, promises, or pretenses               Nor do you

23   need to find that the defendant profited from the fraud or

24   realized any gain      You must concentrate on whether there was

25   such a scheme, not the consequences of the scheme, although

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 50 of 232
                                  A-1130
     N82M8AN2                     Charge                              3156

 1   proof concerning accomplishment of the goals of the scheme may

 2   be persuasive evidence of the existence of the scheme itself

3               In determining whether a scheme to defraud existed, it

 4   is irrelevant whether a victim might have discovered the fraud

 5   if the victim had looked more closely or probed more

 6   extensively     A victim's negligence or gullibility in failing

 7   to discover a fraudulent scheme is not a defense to wire fraud

 8   On the other hand, a finding that a victim intentionally turned

 9   a blind eye to certain types of representations when making

10   decisions about the victim's money or property may be relevant

II   to the materiality of the representations

12              Finally, the government, in order to satisfy this

13   first element of substantive wire fraud, must prove beyond a

14   reasonable doubt that the alleged scheme contemplated depriving

15   the victims, that is, the customers of FTX, in the case of

16   Count One, and the lenders to Alameda, in the case of Count

17   Three, of money or property

18              A scheme to defraud need not be shown by direct

19   evidence     It may be established by all the circumstances and

20   facts of the case

21              The second element that the government must prove

22   beyond a reasonable doubt to establish the substantive crime of

23   wire fraud is that the defendant knowingly and willfully

24   par ticipated in the device, scheme, or at tifice to defraud,

25   with knowledge of its fraudulent nature and with specific

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 51 of 232
                                   A-1131
     N82M8AN2                      Charge                                  3157

 1   intent to defraud

 2               To act knowingly means to act intentionally and

 3   voluntarily, and not because of ignorance, mistake, accident,

 4   or carelessness

5                To act willfully means to act voluntarily and with

 6   wrongful purpose

 7              Unlawfully means simply contrary to law            In order to

 8   know of an unlawful purpose, the defendant does not had to have

 9   known that he was breaking any particular law or any par ticular

10   rule    He need to have been aware only of the generally

II   unlawful nature of his actions

12               To prove that the defendant acted with specific intent

13   and defraud, the government must prove that he acted with

14   intent to deceive for the purpose of depriving the relevant

15   victim of money or property         The government need not prove

16   that the victim actually was harmed, only that the defendant

17   contemplated some actual harm or injury to the victim in

18   question      In addition, the government doesn't need to prove

19   that the intent to defraud was the only intent of the

20   defendant     A defendant may have the requisite intent to

21   defraud even if the defendant was motivated by other lawful

22   purposes as well.

23               To participate in a scheme means to engage in it by

24   taking some affirmative step to help it succeed              Merely

25   associating with people who were participating in a scheme,

                      SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 52 of 232
                                  A-1132
     N82M8AN2                     Charge                                 3158

 1   even if the defendant knew what they were doing, is not

 2   participation

3               It is not necessary for the government to establish

 4   that the defendant originated the scheme to defraud              It is

 5   sufficient if you find that there was a scheme to defraud, even

 6   if somebody else originated it, and that the defendant, while

 7   aware of the existence of the scheme, knowingly and willfully

 8   participated in it with the intent to defraud

 9              Nor is it required that the defendant have

10   par ticipated in or have had knowledge of all of the operations

II   of the scheme     The responsibility of the defendant is not

12   governed by the extent of his par ticipation           For example, it

13   is not necessary that the defendant have par ticipated in the

14   alleged scheme from the beginning         A person who comes in at a

15   later point with knowledge of the scheme's general operation,

16   although not necessarily all of its details, and intentionally

17   acts in a way to further the unlawful goals, becomes a

18   participant in the scheme and is legally responsible for all

19   that may have been done in the past in furtherance of the

20   criminal objective and all that is done thereafter

21              Even if the defendant par ticipated in the scheme to a

22   lesser degree than others, he never theless is equally guilty as

23   long as he knowingly and willfully par ticipated in the alleged

24   scheme to defraud with knowledge of its general scope and

25   purpose and with specific intent to defraud

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 53 of 232
                                  A-1133
     N82M8AN2                     Charge                               3159

 1              Because an essential element of the crime charged is
 2   intent to defraud, it follows that good f with on the par t of a
 3   defendant is a complete defense to the charge of wire fraud
 4   Good f with is an honest belief by the defendant that his
 5   conduct was not wrongfully intended          An honest belief in the
 6   truth of the representations made or caused to be made by a
 7   defendant is a complete defense, however inaccurate the
 8   statements may turn out to be         Similarly, it is a complete
 9   defense if a defendant held an honest belief that the victims
10   were not being deprived of money or property            Moreover, a
II   defendant that doesn't have any burden to establish a defense
12   of good f aith, it's always the government's burden to prove
13   fraudulent intent and the consequent lack of good f with beyond
14   a reasonable doubt      However, in considering whether or not a
15   defendant acted in good f aith, you are instructed that an
16   honest belief on the part of the defendant, if such a belief
17   existed, that ultimately everything would work out to the
18   benefit of the alleged victims does not necessarily mean that
19   the defendant acted in good f with        If the defendant knowingly
20   and willfully par ticipated in the scheme with the intent to
21   deceive the victim or victims in question for the purpose of
22   depriving the victim or victims of money or property, even if
23   only for a period of time, then no amount of honest belief on
24   the part of the defendant that the victim ultimately would be
25   benefited will excuse f else representations that a defendant

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 54 of 232
                                   A-1134
     N82M8AN2                      Charge                                 3160

 1   willfully made or caused to be made

 2              As I instructed you previously, it is the government's

 3   burden to prove beyond a reasonable doubt that the defendant

 4   had a fraudulent intent and that he engaged in a fraudulent

 5   scheme for the purpose of causing some loss to another

 6              All of that said, you have heard evidence that ETX and

 7   Alameda had lawyers       A lawyer's involvement with an

 8   individual, entity        an individual or entity or transaction

 9   doesn't itself constitute a defense to any charge in this case

10   The defense has not claimed, and it cannot claim, that the

II   defendant's allegedly unlawful conduct, assuming he committed

12   any unlawful conduct, was lawful because he engaged in such

13   conduct in good-faith reliance on the advice of a lawyer

14              In the last analysis, whether a person acted

15   knowingly, willfully, and with intent to defraud is a question

16   of f act    It is for you to determine, like any other f act

17   question    Direct proof of knowledge and fraudulent intent is

18   never or almost never available, nor is it required               It would

19   be a very rare case where it could be shown that a person wrote

20   or stated that as of a given time in the past he or she

21   committed an act with fraudulent intent

22              The ultimate f acts of knowledge and criminal intent,

23   though subjective, may be established by circumstantial

24   evidence, based upon a person's outward manifestations, his or

25   her words, his or her conduct, his or her acts, and all the

                      SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 55 of 232
                                     A-1135
     N82M8AN2                        Charge                                3161

 1   surrounding circumstances disclosed by the evidence and the

 2   rational or logical inferences that may be drawn from that

3    evidence       You may, but you are not required, to infer that

 4   people intend the natural and probable consequences of their

5    actions      Accordingly, when the necessary result of a scheme is

 6   to injure others, fraudulent intent may be inferred from the

 7   scheme itself        As I instructed earlier, circumstantial

 8   evidence, if believed, and I'll talk about circumstantial

 9   evidence later on, is of no less value than direct evidence

10               The third and final element that the government must

II   prove beyond a reasonable doubt is that one or more foreign

12   wires, which I have also referred to as international wires,

13   same thing, were used in furtherance of the scheme to defraud

14   An interstate wire means a wire that passes between two or more

15   states      A foreign wire means a wire that travels between the

16   United States and another country            Examples of wires include

17   telephone calls, text messages, communications over the

18   Internet, commercials on television, and financial wires

19   between bank accounts, among other things

20               A wire communication need not be fraudulent             It must,

21   however, fur then or assist in some way in carrying out the

22   scheme to defraud in order to satisfy this third element               A

23   wire communication can also include a communication made after

24   an alleged victim's funds were obtained if the communication

25   was designed to lull the victim into a f also sense of security,

                        SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 56 of 232
                                     A-1136
     N82M8AN2                        Charge                              3162

 1   to postpone the victim from complaining to the authorities, or

 2   to keep money obtained in the scheme

3                It is not necessary for the defendant to have been

 4   directly or personally involved in a wire communication, as

 5   long as the wire was reasonably foreseeable in the execution of

 6   the alleged scheme to defraud in which the defendant is accused

 7   of participating        In this regard, it is sufficient to

 8   establish this third element of the crime if the evidence

 9   justifies a finding that the defendant caused a wire to be used

10   by another       This does not mean that the defendant must

II   specifically have authorized others to make the communication

12   or communications         When one does an act with knowledge that

13   the use of the wires will follow in the ordinary course of

14   business or where such use of wires reasonably can be foreseen,

15   even if not specifically or actually intended, then a person

16   causes the wires to be used

17               Finally, if you find that a wire communication was

18   reasonably foreseeable and that the interstate or foreign wire

19   communication charged in the indictment took place, then this

20   element is satisfied even if it was not foreseeable that the

21   communication would cross state lines or the United States

22   border

23               That takes care of the first of the three theories on

24   which the government could theoretically convict the defendant

25   on Count One and/or Count Three

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 57 of 232
                                  A-1137
     N82M8AN2                     Charge                                   3163

 1              Now, if you unanimously find that the government has

 2   proved the defendant guilty of both Counts One and Three under

3    that first theory of liability that I just finished explaining,

 4   in other words, if you find that the government has proved that

 5   the defendant himself committed the substantive crimes charged

 6   in Counts One and Three, then you don't need to consider the

 7   government's second and third theories of liability on either

 8   one of those counts

 9              I have to tell you about them anyway

10              If, on the other hand, you do not so find as to either

II   or both of Count One or Count Three, then you will consider the

12   government's second alternative theory of liability, namely,

13   that the defendant is guilty of the relevant conduct or counts

14   because he allegedly possessed the requisite criminal intent

15   and he willfully caused someone else to engage in actions

16   necessary to commit the crime or crimes           I am now going to

17   take a moment, I promise, to discuss what it means for a

18   defendant to be guilty as a principal through willful causation

19   in the context of this case

20              Whoever willfully causes an act to be done which, if

21   directly done by the defendant, would be an offense against the

22   United States, it is punishable as a principal

23              What does the term willfully caused mean°             It doesn't

24   mean that the defendant need physically have committed the

25   crime or supervised or par ticipated in the actual criminal

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 58 of 232
                                  A-1138
     N82M8AN2                     Charge                              3164

 1   conduct charged in the indictment         Rather, anybody who causes

 2   the doing of an act, which that person, had he done so directly

 3   himself, would render him guilty of an offense against the

 4   United States, is guilty as a principal           Accordingly, one who

 5   intentionally causes another person to make a material f else

 6   statement in connection with depriving a victim of money or

 7   proper ty is guilty as a principal if the government proves that

 8   the person who causes the making of the f also statement acted

 9   knowingly, willfully, and with the specific intent to defraud

10   the victim in question and satisfies the other elements of wire

II   fraud that I have described to you          That is SO even if the

12   individual who was caused to make the f also statement did so

13   without criminal intent

14              Now, if you unanimously find that the government has

15   proved the defendant guilty beyond a reasonable doubt of both

16   of Count One and Count Three, under either of the first or the

17   second theory of liability that I have just finished explaining

18   to you, then you don't need to consider the government's third

19   theory of liability, but I need to tell you about it anyway,

20   just in case     And I don't mean anything by just in case         It's

21   just a note of humor      At least I hope so

22              If you do not convict the defendant of Count One or

23   Count Three or both counts under either of the first two

24   theories of liability, then you must consider whether the

25   government has proved him guilty on the third theory, which is

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 59 of 232
                                  A-1139
     N82M8AN2                     Charge                               3165

 1   called aiding and abetting
 2              I will explain that to you in a little more detail
 3              It is unlawful for someone to aid, abet, counsel,
 4   command, induce, or procure someone else to commit an offense
 5   A person who does that is just as guilty of the offense as
 6   someone who actually commits the offense himself or herself
 7   Accordingly, for either of the two substantive counts in the
 8   indictment, you may find the defendant guilty if you find that
 9   the government has proved on that count beyond a reasonable
10   doubt that someone else actually committed the crime and that
II   the defendant aided, abetted, counseled, commanded, induced, or
12   procured the commission of that crime
13              In order to convict the defendant as an aider and
14   abettor, the government must prove beyond a reasonable doubt
15   two elements
16              First, it must prove that someone other than the
17   defendant (and other than a person that the defendant willfully
18   caused to commit the crime, as I described that to you
19   previously) committed the crime charged           The reason is
20   obviously this     No one can be convicted of aiding or abetting
21   the criminal act of some other person if nobody committed the
22   crime in the first place       Accordingly, if the government has
23   not proved beyond a reasonable doubt that someone other than
24   the defendant committed the substantive crime or crimes in the
25   indictment, then you don't have to consider the second element

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 60 of 232
                                  A-1140
     N82M8AN2                     Charge                               3166

 1   of aiding and abetting       But if you do find that a crime was

 2   committed by someone other than the defendant, or someone he

 3   willfully caused to take the actions necessary for the

 4   commission of the crime, then you must consider whether the

 5   defendant aided or abetted the commission of that crime and,

 6   therefore, whether the government has proved the second element

 7   of aiding and abetting, which requires the government to prove

 8   that the defendant willfully and knowingly associated himself

 9   in some way with the crime and that he willfully and knowingly

10   engaged in some affirmative conduct or some overt act for the

II   specific purpose of bringing about the crime            Participation in

12   a crime is willful if it is done voluntarily and intentionally,

13   with the specific intent to do something that the law

14   prohibits

15               The mere presence of the defendant in a place where a

16   crime is being committed, even with knowledge that a crime is

17   being committed, is not enough to make the defendant an aider

18   and abettor     Similarly, a defendant's acquiescence in criminal

19   conduct of others, even with guilty knowledge, is not enough to

20   establish aiding and abetting         An aider or abettor must know

21   that the crime is being committed and act in a way which is

22   intended to bring about the success of the criminal venture

23               To determine whether a defendant aided and abetted in

24   the commission of a crime, ask yourself these questions

25              Did the defendant knowingly associate himself with the

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 61 of 232
                                  A-1141
     N82M8AN2                     Charge                                  3167

 1   criminal venture°    Did he by his actions make the crime or the

 2   criminal venture succeed°      And did the defendant participate in

 3   the crime charged as something he wished to bring about?             And

 4   if he did, then he| s an aider and abettor          If, on the other

 5   hand, your answer to any one of those three questions I just

 6   posed is no, the defendant is not an aider or abettor            I

 7   certainly understand, depending on your view of the evidence,

 8   that there may be a very subtle distinction with respect to

 9   whether a defendant is guilty, if he's guilty at all, as a

10   principal or as an aider and abettor          The question is what is

II   the difference between a defendant willfully causing someone

12   else to take actions necessary for the commission of a crime,

13   as opposed to aiding and abetting someone else in committing

14   the crime

15              If this question should come up in your deliberations,

16   you should think of it in terms of the difference between

17   causing someone to do something versus f acilitating or helping

18   someone to do it .   If you are persuaded beyond a reasonable

19   doubt that the defendant willfully caused someone else to take

20   actions necessary for the commission of either of the

21   substantive counts charged in the indictment, you should

22   convict him as a principal on that count           If, on the other

23   hand, you are persuaded beyond a reasonable doubt that the

24   defendant, with knowledge and intent, as I have described as

25   necessary, sought by his actions to f facilitate and assist that

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 62 of 232
                                  A-1142
     N82M8AN2                     Charge                                3168

 1   other person in committing the crime, then he's guilty as an

 2   aider and abettor      One important difference between willfully

 3   causing and aiding another person and abetting another person

 4   to commit a crime is that with respect to willful causation,

 5   the government need not prove that the defendant acted through

 6   a guilty person

 7              with respect to aiding and abetting, however, the

 8   government must prove beyond a reasonable doubt that someone

 9   else actually committed the crime charged with the requisite

10   criminal intent

II              If you find that the government has proved beyond a

12   reasonable doubt that another person actually committed one or

13   more of the substantive crimes charged in the indictment, just

14   a reminder, Count One or Count Three, and that the defendant

15   aided or betted that person in the commission of the offense,

16   you should find the defendant guilty of that substantive crime

17   on an aiding-and-abetting theory         If, however, you do not so

18   find, then you may not find the defendant guilty of that

19   substantive crime on an aiding-and-abetting theory

20              That takes care of Counts One and Three           I will say

21   no more about them, I believe

22              (Continued on next page)

23

24

25

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 63 of 232
                                     A-1143
     NB2 l8AN3                       Charge                               3169

 1               THE COURT:     So let's go on to the conspiracy counts
 2   And let's see        I think I 1 ve been going for quite awhile       But
 3   I'm going to push on a little fur then and take up Counts Two
 4   and Four, the charge of conspiracy to commit wire fraud
 5               I 1 ve already explained to you that a conspiracy to

 6   commit a crime is a separate and different offense from the
 7   substantive crime that may have been the object of the
 8   conspiracy       Now that I have discussed the substantive counts
 9   charged in the indictment, I'm going to discuss the elements of
10   the conspiracy counts          And I'm starting with Counts Two and
II   Four
12               Count Two charges that from at least in or about 2019,
13   up to and including in or about November 2022, the defendant
14   conspired with others to commit wire fraud--the crime I have
15   just described to you--against customers of FTX
16               Count Four charges that from at least June of 2022 up
17   to and including in or about November of | 22, the defendant
18   conspired with others to commit wire fraud against lenders to
19   Alameda
20               In order to sustain its burden of proof with respect
21   to the conspiracy charged in each of Counts Two and Four, the
22   government must prove each of two elements             on each count, of
23   course

24               First, it must prove the existence of a conspiracy,
25   the conspiracy charged in the count you're considering;

                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 64 of 232
                                    A-1144
     NB2 l8AN3                      Charge                                    3170

 1               Second, it must prove that the defendant knowingly and

 2   willfully became a member of, and joined in, that conspiracy

3                Starting with the first element, a conspiracy, as I've

 4   told you, is an agreement or understanding of two or more

 5   people to accomplish by concerted action a criminal or unlawful

 6   purpose      In this instance, Counts Two and Four charge that the

 7   criminal or unlawful purpose was to commit wire fraud

 8                To establish a conspiracy, the government is not

 9   required to show that two or more people sat down at a table

10   and entered into a solemn compact stating that they have formed

II   a conspiracy to violate the law and setting for th details of

12   the plans and the means by which the pro ject, the unlawful

13   pro ject, is to be carried out, or the roles that everyone is

14   going to play       Since conspiracy by its very nature is

15   characterized by secrecy, it is rare that a conspiracy can be

16   proved by direct evidence of an explicit agreement                  You may

17   infer the existence of a conspiracy from the circumstances of

18   this case and the conduct of the parties involved

19                The adage "actions speak louder than words        Iv
                                                                         may apply

20   here    Usually, the only evidence available with respect to the

21   existence of a conspiracy is that of disconnected acts on the

22   part of the alleged individual co-conspirators              When taken

23   together and considered as a whole, however, such acts may show

24   a conspiracy or an agreement as conclusively as would direct

25   proof       In determining whether the conspiracy charged in Counts

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 65 of 232
                                  A-1145
     NB2 l8AN3                    Charge                               3171

 1   Two and Four actually existed, you may consider all of the
 2   acts, conduct, and statements of the alleged co-conspirators
 3   and the reasonable inferences to be drawn therefrom.
 4               In order to prove the necessary agreement, it is
 5   sufficient if two or more persons came to a common
 6   understanding to violate the law
 7               As I told you earlier, since the essence of the crime
 8   of conspiracy is an agreement or understanding to commit a
 9   crime, it does not matter if the crime, the commission of which
10   was an objective or a goal of the conspiracy, ever was
II   committed      A conspiracy to commit a crime, I 1 ve told you, is
12   an entirely separate and distinct offense from the actual
13   commission of the illegal act that is the object of the
14   conspiracy      The success or f allure of a conspiracy is not
15   material to the question of guilt or innocence of an alleged
16   conspirator
17               Now each of the conspiracies charged in Counts Two and
18   Four allegedly had one object- -in other words, each of the
19   conspiracies in those two counts had a single illegal purpose
20   that the co-conspirators alleged to accomplish-which was to
21   commit wire fraud against customers of FTX in the case of Count
22   Two and against lenders to Alameda in the case of Count Four
23   I 1 ve already explained the elements of wire fraud to you when I

24   instructed you on Counts One and Three           You will apply those
25   instructions when you consider whether the government has

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 66 of 232
                                   A-1146
     NB2 l8AN3                      Charge                             3172

 1   proved beyond a reasonable doubt that the conspiracies charged

 2   in Count Two and Count Four existed            However, because Counts

3    Two and Four each charge a conspiracy, the government does not

 4   have to prove that anyone committed the substantive crime of

 5   wire fraud     It need prove beyond a reasonable doubt only that

 6   there was an agreement or understanding to try to accomplish

 7   that

 8               The indictment charges that the conspiracy alleged in

 9   Count Two lasted from at least in or about 2019 through at

10   least in or about 2022    I   the conspiracy charged in Count Four

II   allegedly lasted from at least in or about June 2022 through at

12   least in or about November of that year            It is not necessary

13   for the government to prove that the conspiracy in either count

14   lasted through the entire period alleged in the indictment           It

15   is sufficient if the government proved only that it existed for

16   some period within those time frames

17               In sum, in order to find that the conspiracies charged

18   in Count Two and in Count Four existed, the government must

19   prove beyond a reasonable doubt that there was a material

20   understanding, either spoken or unspoken, between two or more

21   people to commit the wire fraud alleged in the relevant count,

22   Two or Four

23               The second element that the government must prove in

24   order to convict on Count Two or on Count Four is that the

25   defendant willfully joined and par ticipated in the conspiracy

                      SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 67 of 232
                                  A-1147
     NB2 l8AN3                    Charge                                 3173

 1   you are considering, with knowledge of its unlawful purpose,

 2   and with an intent to aid in the accomplishment of its illegal

3    objective--assuming, of course, that the government has proved

 4   that there was such a conspiracy in the first place              In other

5    words, it must prove that the defendant willfully joined and

 6   par ticipated in the conspiracy to commit the wire fraud that is

 7   the subject of the count that you are considering

 8               The government must prove beyond a reasonable doubt

 9   that the defendant unlawfully, willfully, knowingly, and with

10   specific intent to defraud entered into the conspiracy that's

II   relevant on each count

12               "Knowingly" and "willfully" have the same meanings

13   here that I described earlier with respect to the second

14   element of substantive wire fraud

15               The defendant's participation in the conspiracy, if

16   there was a conspiracy, must be established by independent

17   evidence of his own acts or statements, as well as those of the

18   other alleged co-conspirators, and the reasonable inferences

19   that may be drawn from them.

20               Now obviously science has not yet devised a manner of

21   looking into a person's mind and knowing what the person is or

22   was thinking      To make that determination, you may look to the

23   evidence of certain acts that are alleged to have taken place

24   by or with the defendant or in his presence            As I instructed

25   you earlier with respect to determining a defendant's knowledge

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 68 of 232
                                     A-1148
     NB2 l8AN3                       Charge                                     3174

 1   and intent, you may consider circumstantial evidence based on

 2   the defendant's outward manifestation, his words, his conduct,

 3   his acts, and all of the surrounding circumstances of which you

 4   have heard evidence, and the rational and logical inferences

 5   that may be drawn therefrom.

 6               To become a member of the conspiracy, the defendant

 7   need not have known the identities of each and every other

 8   member, nor need he have known of all of their activities                    In

 9   f act,   a defendant may know only one other member of a

10   conspiracy and still be a co-conspirator

II               Moreover, the defendant need not have been fully

12   informed as to all of the details, or the scope, of an alleged

13   conspiracy in order to justify y an inference of knowledge on his

14   part     Proof of a financial interest in the outcome or another

15   motive is not essential, but if you find that the defendant had

16   such an interest or such another motive, that is a f actor that

17   you may consider in determining whether the defendant was a

18   member of a conspiracy, alleged conspiracy that you're

19   considering       The presence or absence of motive, however, is a

20   circumstance that you may consider as bearing on the

21   defendant's intent

22               The duration and extent of a defendant's par ticipation

23   has no bearing on the issue of a defendant's guilt                  Each

24   member of a conspiracy may perform separate and distinct acts

25   and may perform them at different times              Some conspirators

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 69 of 232
                                  A-1149
     NB2 l8AN3                    Charge                               3175

 1   play major roles, others play only minor parts            An equal role

 2   is not what the law requires          In f act, even a single act may

 3   be sufficient to draw a defendant within the ambit of the

 4   conspiracy     Moreover, a defendant need not have joined the

 5   conspiracy at the outset       He may have joined at any time, and

 6   if he joined, he-or she, as may be applicable in other

 7   cases-will still be held responsible for the acts done after

 8   joining

 9               I do want to caution you, however, that mere

10   association by one person with another does not make that

II   person a member of a conspiracy even when coupled with

12   knowledge that a conspiracy is taking place            Similarly, mere

13   presence at the scene of a crime, even coupled with knowledge

14   that a crime is taking place, is not sufficient to support a

15   conviction      A person may know, or be friendly with, a

16   criminal, without being a criminal himself            Mere similarity of

17   conduct or the f act that people may have assembled together and

18   discussed common aims and interests does not necessarily

19   establish membership in a conspiracy

20               I further instruct you that mere knowledge or

21   acquiescence without par ticipation in an unlawful plan is also

22   not sufficient      The f act that the acts of a defendant, without

23   knowledge, merely happen to fur then the purpose or objective of

24   a conspiracy doesn't make the defendant a member

25               What is necessary is that the defendant must have

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 70 of 232
                                  A-1150
     NB2 l8AN3                    Charge                               3176

 1   par ticipated with knowledge of the unlawful purpose of the

 2   conspiracy--in this case, to commit wire fraud            The

 3   instructions that I previously gave you with respect to good

 4   f aith apply to these counts as well         If you find that the

 5   defendant acted in good f with, he can't be convicted on Counts

 6   Two or Four

 7               In sum, the government must prove beyond a reasonable

 8   doubt that the defendant, with an understanding of the unlawful

 9   nature of the conspiracy you're considering, intentionally

10   engaged, advised, or assisted the conspiracy in order,

II   knowingly and willfully, to promote its unlawful goal            The

12   defendant thereby becomes a conspirator

13               A conspiracy, once formed, is presumed to continue

14   until its objectives are accomplished or there is some

15   affirmative act of termination by its members            So too, once a

16   person is found to be a member of a conspiracy, that person is

17   presumed to continue being a member in the venture until the

18   venture is terminated, unless it is shown by some affirmative

19   proof that the defendant or the person concerned withdrew and

20   disassociated him or herself from it.

21               In sum, if you find the government has met its burden

22   of proof on both elements as to the count you are considering,

23   then you should find the defendant guilty on that count             If

24   you find that the government has not met that burden with

25   respect to any of the elements as to the count you are

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 71 of 232
                                    A-1151
     NB2 l8AN3                      Charge                              3177

 1   considering, then you must find the defendant not guilty on
 2   that count
 3               Now let's all take a break and stand up for a minute
 4   and catch our breath
 5               (Pause)

 6               THE COURT:    In f act, we'll take a ten-minute recess
 7               THE DEPUTY CLERK      All rise     will the jury please
 8   come this way
 9               (Recess)

10               (In open court; jury present)
II               THE COURT      The record will reflect that the defendant
12   and the jurors all are present, as they have been throughout
13               Okay      We are up to Count Five     And just so everybody
14   has an idea of schedule, I'll probably take our lunch break at
15   1, or thereabouts        I'll get to a good stopping point, we'll
16   take our half hour, and come back and finish
17               Okay      Count Five charges the defendant with
18   conspiring to commit securities fraud           Specifically, it
19   charges that from at least in or about 2019, up to and
20   including in or about November 2022, the defendant conspired
21   with others to commit securities fraud against investors in
22   FTX

23               Now let me just back up for a minute         My

24   ever-detail-oriented and brilliant law clerks invited my
25   attention to the f act that as I was winding up the instruction

                        SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 72 of 232
                                  A-1152
     NB2 l8AN3                    Charge                                    3178

 1   with respect to the last two counts, the conspiracy counts, Two
 2   and Four, I left a word out that I should have read              The
 3   sentence I read to you said, they tell me, he may have joined,
 4   referring to the defendant, and to the alleged conspiracy, at
 5   any time, and if he joined still would be held responsible for
 6   acts done before he joined. I think that's what they tell me I
 7   read, but if that's what I read, doesn't matter             I t should
 8   have said before or after        Everybody got it? Okay
 9               Now back to Count Five
10               In order to sustain its burden of proof with respect
II   to the conspiracy alleged in Count Five, the government must
12   prove beyond a reasonable doubt each of the three elements
13               First, that there was an agreement or understanding to
14   accomplish the unlawful objective alleged in Count Five of the
15   indictment-specifically, securities fraud-by providing f also
16   information to FTX investors;
17               Second, that the defendant knowingly and willfully
18   became a member of and joined that conspiracy;
19               Third, that at least one person who was a member of
20   that conspiracy committed some over t act in fur therance of the
21   conspiracy
22               Now the first element, as I said, that the government
23   has to prove was that there was a conspiracy that has as its
24   object the commission of securities fraud           I have already told
25   you probably more than you ever wanted to hear about the

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 73 of 232
                                  A-1153
     NB2 l8AN3                    Charge                              3179

 1   definition of a conspiracy and what it takes to prove a
 2   conspiracy, and you will apply all of those instructions to
 3   Count Five      So what remains is to talk to you about the
 4   alleged objective of the conspiracy charged in Count Five,
 5   which is securities fraud        So let me tell you about securities
 6   fraud, the alleged object of this alleged conspiracy
 7               Now harkening back to something I said before, the
 8   government doesn't have to prove that a securities fraud
 9   actually was committed       It simply has to prove that that was
10   an objective of an alleged conspiracy that you find to have
II   existed      Securities fraud, in turn, has three elements
12               The first element is that in connection with the
13   purchase or sale of securities, the defendant did any one or
14   more of the following: (l) employed a scheme, device, or
15   at tifice to defraud-you've already heard a lot about that;
16   second, made an untrue statement of a material f act or omitted
17   to state a material f act which made what was said, in the
18   circumstances, misleading; or (3) engaged in an act, practice,
19   or course of business that operated, or would operate, as a
20   fraud or deceit upon a purchaser of the securities
21               That's the first element of securities fraud
22               The second element of securities fraud is that the
23   defendant, when the defendant engaged in that scheme, if the
24   defendant did so, acted knowingly, willfully, and with an
25   intent to defraud

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 74 of 232
                                   A-1154
     NB2 l8AN3                     Charge                                3180

 1               The third element of securities fraud is that in

 2   furtherance of the fraudulent conduct, there occurred at least

 3   one use of any means or instruments of transpor ration or

 4   communication in interstate or foreign commerce, or the use of

 5   the mails, or the use of any f facility of a national securities

 6   exchange

 7               So I'm going to talk about those three elements of

 8   securities fraud in order that you can evaluate whether there

 9   was an agreement or an understanding to attempt to accomplish

10   securities fraud

II               The first element of securities fraud which I

12   mentioned is that the defendant did one or more of the three

13   things that I just outlined to you           In proving a fraudulent

14   act, it is not necessary for the government to prove all three

15   of those types of unlawful conduct that I just read out to you

16   a moment ago were par t of the objective of the conspiracy               Any

17   one would be sufficient to satisfy that element              You must,

18   however, be unanimous as to which type of unlawful conduct was

19   the alleged object of the conspiracy

20               Now earlier, in the context of the wire fraud charges,

21   I explained what "fraud" means, and I explained device, scheme,

22   or artifice to defraud, and you will apply those definitions

23   here

24               Material information, in the context of securities

25   fraud, is information that a reasonable investor would have

                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 75 of 232
                                  A-1155
     NB2 l8AN3                    Charge                                     3181

 1   considered important in making an investment decision in light

 2   of the total mix of information publicly available

3    Materiality of the information is judged as of the time the

 4   information was disclosed

5                The government must prove also beyond a reasonable

 6   doubt that the defendant's alleged fraudulent conduct was in

 7   connection with the purchase or sale of a security               That

 8   requirement would be satisfied if you find that there was some

 9   nexus or relationship between the allegedly fraudulent conduct

10   and the sale or purchase of securities           On the other hand, if

II   you are not persuaded that any fraudulent conduct that may have

12   occurred was in connection with the purchase or sale of a

13   security, you cannot convict the defendant on Count Five

14               The second element of securities fraud is that the

15   defendant in question par ticipated in the scheme knowingly,

16   willfully, and with intent to defraud

17               I have already defined "knowingly" and "willfully, H

18   and you will apply those definitions here

19               In the context of the securities laws, intent to

20   defraud means to act knowingly and with the intent to deceive

21   Since an essential element of securities fraud is intent to

22   defraud, good f aith, as I have previously defined that term, is

23   a complete defense to a charge of securities fraud               And you'll

24   apply what I ve said already about good f aith with respect to
                    1




25   Count Five

                        SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 76 of 232
                                  A-1156
     NB2 l8AN3                    Charge                                   3182

 1               And the final element of securities fraud is that the

 2   defendant knowingly used or caused to be used at least one

 3   instrumentality of interstate or foreign commerce, such as an

 4   interstate or international telephone call, a use of the mails,

 5   or an interstate transaction in fur therance of the scheme to

 6   defraud or the fraudulent conduct

 7               The government does not have to prove that a defendant

 8   was directly or personally involved in the use of an

 9   instrumentality of interstate or foreign commerce                If the

10   defendant was an active par ticipant in the scheme and took

II   steps or engaged in conduct that he knew or reasonably could

12   have foreseen would naturally and probably result in the use of

13   an instrumentality of interstate or foreign commerce, this

14   element would be satisfied        Nor is it necessary that the

15   communication did or would contain a fraudulent representation

16   The use of the mails or instrumentality of interstate or

17   foreign commerce need not be central to the execution of the

18   scheme or even incidental to it.        All that is required is that

19   the use of the mails or instrumentality of interstate or

20   foreign commerce bear some relation to the object of the scheme

21   or fraudulent commerce

22               Moreover, the actual purchase or sale of a security

23   need not be accomplished by the use of the mails or an

24   instrumentality of interstate or foreign commerce, as long as

25   the mails or instrumentality of interstate or foreign commerce

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 77 of 232
                                   A-1157
     NB2 l8AN3                     Charge                                   3183

 1   are used in fur therance of the scheme and the defendant is
 2   still engaged in actions that are par t of the fraudulent scheme
 3   when the mails or the instrumentalities of interstate or
 4   foreign commerce are used
 5               I 1 ve now defined for you the elements of securities

 6   fraud, the commission of which allegedly was the purpose, the
 7   object, of the conspiracy found in Count Five             Again, not
 8   necessary that it be proven that that purpose was achieved in
 9   order to convict on Count Five
10               The second element of the conspiracy charged in Count
II   Five is that the defendant knowingly and willfully joined and
12   participated in the conspiracy to commit securities
13   fraud assuming, of course, that there was such a conspiracy
14   I've already instructed you on the terms "knowingly" and
15   "willfully, and what it means for a defendant to knowingly and
                   H



16   willfully become a member of and join a conspiracy                You will
17   apply all of those instructions here
18               The third and last element with respect to Count Five
19   that the government must prove beyond a reasonable doubt is
20   that at least one of the conspirators, not necessarily the
21   defendant, committed at least one overt act in fur therance of
22   the conspiracy      Now this is different from Counts Two and
23   Four   No overt act requirement there           Some day we'll all ask
24   congressmen why, but that's the way it is. In other words, the
25   over t act requirement requires that there have been something

                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 78 of 232
                                     A-1158
     NB2 l8AN3                       Charge                              3184

 1   more than an agreement--some over t step or action must have
 2   been taken by at least one of the conspirators in furtherance
 3   of the conspiracy         The overt act element, to put it another
 4   way, is a requirement that the agreement that's charged in
 5   Count Five have gone beyond merely the talking stage
 6               The government may satisfy the overt act element by
 7   proving one of the over t acts that you'll find listed in the
 8   indictment, but it doesn't have to prove one of the over t acts
 9   listed in the indictment          It is enough if the government
10   proves one overt act committed in the fur therance of the
II   conspiracy whether or not that over t act is listed in the
12   indictment       As long as you all agree that at least one over t
13   act was committed, that element of an overt act is satisfied
14   But you must agree on at least one act, all 12 of you
15               Similarly, it is not necessary for the government to
16   prove that each member of the alleged conspiracy committed or
17   participated in an overt act             It's enough if you find that at
18   least one over t act was committed and performed by at least one
19   member of the conspiracy, whether the defendant or someone
20   else, and that it have fur themed the conspiracy within the time
21   frame of the conspiracy          Remember, the act of any one of the
22   members of the conspiracy done in fur therance of the
23   conspiracy, effectively, in law, becomes the act of all of
24   them .    To be a member of the conspiracy, it is not necessary
25   for a defendant to have committed an over t act

                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 79 of 232
                                     A-1159
     NB2 l8AN3                       Charge                                3185

 1               The overt act, as I have suggested already, must have
 2   been done knowingly and it must be in fur therance of one of the
 3   objects of the conspiracy charged in the indictment, and in
 4   f act I believe this is another count where there's one object
 5   of the conspiracy the commission of securities fraud
 6               You should be aware that an apparently innocent act
 7   sheds its harmless character if it is a step in carrying out,
 8   promoting, aiding, or assisting an alleged conspiratorial
 9   scheme      The overt act does not have to have been an act which

10   in and of itself was criminal, or that its occurrence have been
II   an objective of the conspiracy            It's just one over t act that
12   you all agree upon and that it be in furtherance of the
13   conspiracy, regardless of what it is.
14               If you find that the government has met its burden on
15   all three elements of this conspiracy claim, Count Five, you
16   should find the defendant guilty of Count Five               If the
17   government has not met its burden with respect to any of the
18   three elements of this conspiracy claim, then you must find the
19   defendant not guilty on Count Five
20               That brings me to Count Six, which should give you
21   confidence that some day this too will end, because there are
22   only seven       And I once charged a case with 283 counts, many
23   years ago
24               Count Six charges that the defendant, from at least in
25   or about 2019, up to and including in or about November 2022,

                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 80 of 232
                                  A-1160
     NB2 l8AN3                    Charge                              3186

 1   conspired with others to commit commodities fraud against
 2   customers of FTX
 3               In order to sustain its burden of proof with respect
 4   to the conspiracy alleged in Count Six, the government must
 5   prove beyond a reasonable doubt each of the three elements
 6               First, that there was an agreement or understanding to
 7   accomplish the illegal or unlawful objective alleged in Count
 8   Six-namely, commodities fraud;
 9               Second, that the defendant knowingly and willfully
10   became a member of and joined that conspiracy; and
II               Thirdly, that at least one person who was a member of
12   the conspiracy committed some overt act in fur therance of that
13   conspiracy
14               Now the elements of the conspiracy charged in Count
15   Six are exactly the same as those in Count Four, except the
16   object of Count Six is different         Count Six says the object
17   was commodities fraud, whereas Count Five alleges that the
18   object was securities fraud
19               Once again, in order to convict on Count Six, the
20   government does not have to prove that commodities fraud was
21   actually committed, only that doing SO was the objective of the
22   conspiracy      So as I did with Count Five, now I'm going to tell
23   you about commodities fraud for a similar purpose, so that you
24   understand what the object is said to have been
25               Commodities fraud has three elements

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 81 of 232
                                  A-1161
     NB2 l8AN3                    Charge                                 3187

 1               First, that the defendant did any one or more of three
 2   things: thing (1) employed a manipulative device, scheme, or
 3   at tifice to defraud; thing (2) made an untrue statement of a
 4   material f act or omitted to state a material f act which made
 5   what was said, under the circumstances, misleading; and thing
 6   (3) engaged in an act, practice, or course of business that
 7   operated, or would operate, as a fraud or deceit             That's the
 8   first element
 9               Second element    The scheme, untrue statement, act,
10   practice, or course of conduct was in connection with a swap,
II   or a contract of sale of any commodity in interstate or foreign
12   commerce

13               Third, that the defendant acted knowingly, willfully,
14   and with an intent to defraud
15               Now as respects the first element of commodities
16   fraud, I described that as involving doing one of three things,
17   remember') Manipulative scheme or artifice to defraud, untrue
18   statement, or omission, act, practice, or course of business
19   that operated or would operate as a fraud
20               The government doesn't have to prove all three         Proof
21   of one is enough      But you must be unanimous as to which one
22               Now the terms I used with respect to that first
23   element are exactly the same terms I defined with respect to
24   Count Five, and earlier counts in some cases            You will apply
25   them all here, as you will also apply what I said about good

                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
               Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 82 of 232
                                      A-1162
     NB2 l8AN3                        Charge                                3188

 1   faith on Count Six

 2                The second element of commodities fraud is that the

 3   defendant and his co-conspirators, if there were more than one,

 4   committed their conduct in connection with a swap, or a

 5   contract of sale of a commodity in interstate or foreign

 6   commerce       So let me tell you what those terms are

 7                A commodity is a good, at ticle, service, right, or

 8   interest in which contracts for future delivery are dealt                A

 9   Iv
          contract for future delivery,     II
                                                 which is also called a "futures

10   contract, H is an agreement to buy or sell a par ticular

II   commodity at a specific price in the future                A virtual

12   currency or crypto currency may qualify as a commodity

13                A swap is an agreement between two parties to exchange

14   payments with each other based on the value of one or more

15   rates, commodities, indices, or other financial or economic

16   interests        A swap transfers between the two parties, in whole

17   or in part, the risk of changes in value of the things

18   underlying the swap, without actually exchanging those things

19   In determining whether a financial contract, agreement, or

20   transaction qualifies as a swap, you may consider whether the

21   arrangement is commonly known as or referred to as a swap

22                The requirement that the fraudulent conduct, if there

23   is any, be in connection with a swap or contract of sale off of

24   a commodity is satisfied so long as there was some nexus or

25   relation between the alleged fraudulent conduct and the swap or

                         SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 83 of 232
                                    A-1163
     NB2 l8AN3                      Charge                            3189

 1   contract of sale of a commodity         Fraudulent conduct may

 2   satisfy the "in connection with" requirement if you find that

 3   the fraudulent conduct touched upon a swap or contract of sale

 4   of a commodity         Statements directed to the general public

5    which affect the publ;Lc's interest in these products are made

 6   in connection with them.         The fraudulent or deceitful conduct

 7   need not relate to the value of the swap or contract of sale of

 8   a commodity          It is also not necessary for you to find the

 9   defendant was or would be the actual seller of the swap or

10   commodity

II               Now the third element of commodities fraud is that the

12   defendant par ticipated in the scheme to defraud, f else

13   statement, misleading omission, or deceptive act, practice, or

14   course of conduct knowingly, willfully, and with intent to

15   defraud

16               I 1 ve   already instructed you about the meaning of the

17   terms "knowingly" and "willfully, H and you will apply those

18   instructions here         So too with the term "intent to defraud, H

19   which I defined in connection with Count Five, and you will

20   apply those instructions here

21               Additionally, as to Count Six, the government must

22   prove beyond a reasonable doubt a sufficient relationship

23   between the commodities fraud, which was the object of the

24   conspiracy, and the United States          And there are two ways the

25   government could do that-that is to say, satisfy that burden

                          SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 84 of 232
                                  A-1164
     NB2 l8AN3                    Charge                                3190

 1               One way the government could prove a sufficient
 2   connection to the United States is by showing that some conduct
 3   relevant to the offense charged in Count Six occurred in the
 4   United States and that the fraudulent conduct that was the
 5   object of the alleged conspiracy would not have been
 6   predominantly foreign       It is not necessary that all or most of
 7   the conduct relevant to those crimes happened in the United
 8   States, although the conduct in the United States must be more
 9   than incidental to the scheme         Nor does the government have to
10   prove that the defendant ever was in the United States, just
II   that conduct relevant to the offenses occurred in this country
12   In assessing that issue, you may consider also whether conduct
13   in fur therance of the crime charged in Count Six caused
14   trading, money transfers, and communications to occur in the
15   United States, or otherwise affected commerce in this country
16   In proving the existence of a connection to the United States,
17   it is not necessary to prove both conduct in, and an effect on,
18   the United States     Either would be enough to satisfy the
19   government's burden
20               A second way the government may prove a sufficient
21   connection to the United States is by showing that some conduct
22   relating to swaps had a direct and significant effect on, or
23   connection with, commerce in the United States            Here, there is
24   no need for any conduct to have occurred in the United States
25   All the government has to prove is that the offense involved

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 85 of 232
                                   A-1165
     NB2 l8AN3                     Charge                               3191

 1   conduct that had an effect on or a connection with commerce in
 2   the United States and that the effect or connection was direct
 3   and significant
 4               If you find that the government has met its burden on
 5   all three elements of this conspiracy claim, Count Six-that
 6   is, it proved beyond a reasonable doubt that there was an
 7   agreement to commit securities fraud, the defendant became a
 8   member of that conspiracy, or at least one co-conspirator
 9   committed an overt act in fur therance of that conspiracy, and
10   it has proved also beyond a reasonable doubt a sufficient
II   connection to the United States-then you should find the
12   defendant guilty on Count Six          If you find that the government
13   has not met its burden with respect to any of those three
14   elements of Count Six or that it has not done so with respect
15   to a sufficient connection to the United States, then you must
16   find the defendant not guilty on Count Six
17               Now, lunchtime°
18               I misspoke, again
19               The last paragraph should have begun         If you find
20   that the government has met its burden on all three elements of
21   its conspiracy claim in Count Six-that is, that it has proved
22   beyond a reasonable doubt that there was an agreement to commit
23   commodities fraud, that the defendant became a member of that
24   conspiracy, or at least one co-conspirator committed an over t
25   act, etc      That's how it should have gone        You forgive me for

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 86 of 232
                                     A-1166
     NB2 l8AN3                       Charge                              3192

 1   my misstatement
 2               But it is now lunchtime         I will see you back at 1:30.
 3   I hope you enjoy the canteen food and that you've left some for
 4   others      And we'll resume with Count Seven at 1:30
 5               THE DEPUTY CLERK        will the jury please come this way
 6               (Luncheon recess)
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                         SOUTHERN DISTRICT REPORTERS r P • C •
                                    (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 87 of 232
                                   A-1167
     N82M8AN4                      Charge                             3193

 1                                AFTERNOON SESSION

 2                                    1:40 p .m.

3                (Jury present)

 4              THE COURT:   Defendant and the jurors all are present,

 5   as they have been throughout

 6              I hope you enjoyed your lunch, folks

 7              We are up to Count Seven, which is the last count on

 8   which I need to instruct you

 9              The defendant is charged in Count Seven with

10   conspiracy to launder the proceeds of the wire fraud charged in

II   Count One     You will consider Count Seven if and only if you

12   find the defendant guilty on Count One           If you have found the

13   defendant not guilty on Count One, you must enter a verdict of

14   not guilty on Count Seven

15              Count Seven charges the defendant with conspiring to

16   commit money laundering from in or about 2020, up to and

17   including in or about November 2022, by agreeing to launder the

18   proceeds of the wire fraud charged in Count One

19              To sustain its burden with respect to the offense

20   charged in Count Seven; the government must prove beyond a

21   reasonable doubt two elements

22              First, that two or more persons entered into an

23   unlawful agreement or understanding to seek to accomplish money

24   laundering; and

25              Second, that the defendant knowingly and willfully

                      SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 88 of 232
                                  A-1168
     N82M8AN4                     Charge                                 3194

 1   entered into the agreement
 2              In other words, the elements of the conspiracy charged
 3   in Count Seven are the same elements that the government must
 4   prove with respect to the conspiracies alleged in Counts Two
 5   and Four, namely, the existence of an agreement or
 6   understanding to violate the law and knowing and willful entry
 7   of the defendant into the agreement          The difference between
 8   Counts Two and Four and Count Seven is that Counts Two and Four
 9   alleged conspiracies to commit wired fraud            Count Seven is an
10   alleged conspiracy to commit money laundering
II              Now, Count Seven actually charges that there were two
12   objects of the conspiracy charged in that count             As I told you
13   before, you don't need to find that the defendant actually or
14   anyone else actually achieved the object or objects of the
15   charged conspiracy, but only that he agreed with others or that
16   the conspirators agreed with others, putting aside the
17   defendant for the moment       I frankly lost my place, folks
18              But the short answer is, the short principle is, you
19   don't have to find that the object of the conspiracy was
20   achieved, only that there was an agreement to do so
21              Now, let's talk about the agreement
22              The first object of the two objects charged in Count
23   Seven is that the defendant agreed with at least one other
24   person to commit money laundering by engaging in financial
25   transactions that involved the proceeds of the wire fraud in

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 89 of 232
                                  A-1169
     N82M8AN4                     Charge                                 3195

 1   order to conceal or disguise the nature, location, source,

 2   ownership, or control of proceeds of the wire fraud              Now, the

 3   wire fraud we are talking there, remember, is Count One              l am

 4   going to refer to this object, this first object of the

 5   conspiracy charged in Count Seven, as concealment money

 6   laundering, which is a shorthand way of saying to conceal or

 7   disguise the nature, location, source, ownership or control of

 8   proceeds of the Count One wire fraud          That's what it is.

 9              The second object of the conspiracy is that the

10   conspirators agreed to engage in money laundering by engaging

II   in monetary transactions greater than $10,000 involving the

12   proceeds of the wire fraud        I am going to call that object

13   wire fraud proceeds money laundering

14              So we have concealment money laundering and wire fraud

15   proceeds money laundering       In each case what we are talking

16   about is concealment of or proceeds of the money laundering

17   charged in Count One and, again, you are going to consider

18   Count Seven if and only if you found him guilty on Count One

19              Now, John Hammel is going to distribute to you the

20   proposed verdict form which I am going to talk about very

21   briefly now

22              The par t we are interested in for now is Count Seven,

23   SO it'S on the second page        Everything that comes before this

24   just asks you, as you normally expect          Do you find the

25   defendant guilty or not guilty on Counts One, Two, Three, Four,

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 90 of 232
                                   A-1170
     N82M8AN4                      Charge                                 3196

 1   Five and Six?    But we are going to talk about Seven because

 2   it's a little different

3                You were asked, to be sure, on Count Seven            Do you

 4   find the defendant guilty or not guilty of conspiracy to commit

 5   money laundering°     If you find him guilty, there is another

 6   line on the verdict form that you will have to fill out and it

 7   asks you      In the event there is a conviction on Count Seven,

 8   whether you unanimously have concluded that it was concealment

 9   money laundering or wire fraud proceeds money laundering, or

10   both       that's what's different        and in order to answer yes

II   to those questions, each question, one, two, or both, you got

12   to be unanimous      That's the verdict form.

13              Now I am going to explain the two types of money

14   laundering

15              I am going to star t with concealment money laundering,

16   and it has four elements

17               The first element of concealment money laundering that

18   the government must prove beyond a reasonable doubt is that a

19   person, that is to say, a person who is par t of the conspiracy

20   would have conducted a financial transaction that would have

21   affected interstate or foreign commerce

22               That is to say, if the conspiracy had had its

23   objective achieved, would a person who did that, and SO forth

24               The term conducted includes the action of initiating,

25   concluding, or par ticipating in, initiating, or concluding a

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                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 91 of 232
                                  A-1171
     N82M8AN4                     Charge                               3197

 1   transaction

 2              The term financial transaction means (1) a transaction

 3   involving a financial institution, including a bank, that is

 4   engaged in, or the activities of which affect, interstate or

5    foreign commerce in any way or degree, or (2) a transaction

 6   that involves the movement of funds by wire or other means and

 7   in any way or degree affects interstate or foreign commerce

 8              A transaction involving a financial institution

 9   includes a deposit, a withdrawal, a transfer between or among

10   accounts, an exchange of currency, a loan, extension of credit,

II   purchase or sale of any stock, or any other payment, transfer,

12   or delivery by, through, or to a financial institution by

13   whatever means

14              The term funds includes any currency, money, or other

15   medium of exchange that can be used to pay for goods and

16   services, including digital or crypto currency

17              Interstate commerce, for purposes of Count Seven,

18   includes any transmission or transfer between persons or

19   entities located in different states, and foreign commerce

20   means the same thing, except that it involves somebody in the

21   United States and somebody in a foreign country             The

22   involvement of interstate or foreign commerce can be minimal

23   The government satisfies its burden if it proves any effect or

24   involvement, regardless of whether it was beneficial or

25   harmful     It is also not necessary for the government to show

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 92 of 232
                                  A-1172
     N82M8AN4                     Charge                                3198

 1   that the defendant actually would have intended or anticipated

 2   an effect on interstate or foreign commerce by his actions or

 3   that commerce actually would have been affected             All that is

 4   necessary is that the natural and probable consequences of the

 5   acts the defendant would have agreed to take, assuming he

 6   agreed at all, would affect interstate or foreign commerce

 7              The second element of concealment money laundering is

 8   that the financial transactions would have involved the

 9   proceeds of specified unlawful activity.          As I have said

10   already, the specified unlawful activity here is the wire fraud

II   charged in Count One, and I instruct you, therefore, that if

12   you've convicted on Count One, this element is satisfied here

13              The term proceeds means any property or any interest

14   in property that someone would have acquired or retained as

15   profits resulting from the commission of the specified unlawful

16   activity, which I have already defined

17              The third element of concealment money laundering is

18   that the person would have known that the financial

19   transactions at issue involved the proceeds of some form,

20   though not necessarily which form, of unlawful activity

21              If you find beyond a reasonable doubt that the

22   defendant committed the wire fraud offense I have instructed

23   you on in Count One, and he knew that the proceeds came from

24   that activity, that is sufficient for you to find that the

25   defendant knew that the proceeds came from unlawful activity

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 93 of 232
                                  A-1173
     N82M8AN4                     Charge                                  3199

 1   However, keep in mind that it is not necessary for the

 2   defendant to know that the proceeds came from the wire fraud

 3   offense alleged in Count One or that the defendant personally

 4   participated in the wire fraud         It is sufficient that the

 5   defendant knew that the proceeds would come from some unlawful

 6   activity

 7              The fourth element of concealment money laundering

 8   that the government must prove beyond a reasonable doubt

 9   concerns the purpose of the transaction           Specifically, the

10   government must prove beyond a reasonable doubt an agreement to

II   conduct financial transactions with knowledge that the

12   transactions were designed in whole or in par t to conceal or

13   disguise the nature, location, source, ownership, or control of

14   the proceeds of the specified unlawful activity             The

15   government need not prove that the intent to conceal or

16   disguise would have been the only or even the primary purpose

17   of the person, as long as it was an intent of that individual

18              I previously instructed you that to act knowingly

19   means to act purposely and voluntarily and not because of

20   mistake, accident, or other innocent reason            The acts must

21   have been the product of the actor's conscious objective               To

22   prove that than act is done knowingly for the purpose of this

23   element, the government is not required to prove that the

24   person would have known that his acts were unlawful               If you

25   find that the evidence establishes beyond a reasonable doubt

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 94 of 232
                                  A-1174
     N82M8AN4                     Charge                                  3200

 1   that the person would have known of the purpose of the

 2   particular transaction in issue and that he would have known

 3   that the transaction was either designed to conceal or disguise

 4   the true origin or ownership of the property in question, then

 5   this element would be satisfied         However, if you find that the

 6   person would have known of the transaction, but that the

 7   government f ailed to prove beyond a reasonable doubt that the

 8   person would have known that it was designed either to conceal

 9   or disguise the true original of the proper ty in question, but

10   instead throughout that the transaction was intended to further

II   the innocent transaction, you must find that this element has

12   not been satisfied

13              For the fourth element to be satisfied, the person

14   whose actions you are considering need not have known which

15   specified unlawful activity he or she was agreeing to help

16   conceal     Such person need have known only that a purpose of

17   the financial transaction would have been concealing the

18   nature, location, source, ownership, or control of the funds

19   Fur thermo re, intent to disguise or conceal the true origin of

20   the proper ty need not have been the sole motivating f actor for

21   the transaction

22              That covers the elements of the first object of the

23   money laundering conspiracy alleged in Count Seven               Now I am

24   going to go on to the second object, wire fraud proceeds money

25   laundering

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 95 of 232
                                  A-1175
     N82M8AN4                     Charge                              3201

 1               The elements of wire fraud proceeds money laundering
 2   are these
 3              First, that a person would have engaged in a monetary
 4   transaction in or affecting interstate or foreign commerce;
 5               Second, that the monetary transaction would have
 6   involved criminally-derived property of a value greater than
 7   $10,000;

 8               Third, that the proper ty would have been derived from
 9   specified unlawful activity;
10              Four to, that the person in question would have acted
II   knowingly, that is, with knowledge that the transaction
12   involved proceeds of a criminal offense; and
13              Fifth, and last, that the transaction would have taken
14   place in the United States
15               A bit more about the five elements individually      I
16   remind you again that you will get to Count Seven only if there
17   was a guilty verdict on Count One
18              If there is such a guilty verdict, however, and you
19   get to Count Seven, it's sufficient to convict on Count Seven
20   if you all agree that the defendant committed either
21   concealment money laundering or financial transaction wire
22   proceeds money laundering
23               The first element of wire fraud proceeds money
24   laundering is that the person would have conducted a financial
25   transaction that affected interstate or foreign commerce         You

                       SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 96 of 232
                                  A-1176
     N82M8AN4                     Charge                                   3202

 1   know what that means already          I have told you

 2              The second element is that the transactions would have

 3   involved criminally derived property having a value in excess

 4   of $10,000

5               Criminally derived property means any property

 6   constituting or derived from proceeds obtained from a criminal

 7   offense      I already instructed you about proceeds             You will

 8   apply those instructions here         Wire fraud, of course, is a

 9   criminal offense

10              The government is not required to prove that all of

II   the proper ty involved in the transaction would have been

12   criminally derived property        However, the government must

13   prove that more than $10,000 of the property involved would

14   have been criminally-derived property

15              The third and fourth elements of wire fraud proceeds

16   money laundering are that the property would have been derived

17   from the specified unlawful activity and that the person would

18   have acted knowingly, that is, with knowledge that the

19   transaction involved proceeds of a criminal offense

20              The term specified unlawful activity has been defined

21   previously      That definition applies equally to the second

22   object of the conspiracy charged in Count Seven             I have also

23   defined knowingly, and you will apply that definition here too

24              I instruct you that the government is not required to

25   prove that the person in question knew the particular offense

                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 97 of 232
                                  A-1177
     N82M8AN4                     Charge                               3203

 1   which the criminally derived proper ty was derived from.

 2   However, the government is required to prove beyond a

 3   reasonable doubt that the person in question knew that the

 4   transaction involved criminally derived property, which means

 5   any proper ty constituting or derived from proceeds obtained

 6   from a criminal offense       This element would be satisfied by

 7   proof that the person you are considering knew that the

 8   transaction involved such property, property derived from a

 9   criminal offense

10              The final element of wire fraud proceeds money

II   laundering is that the agreed-upon transaction, that is, the

12   transaction that was the object of the conspiracy, would have

13   taken place in the United States if it had been achieved

14              If you prove that the government has           excuse me   If

15   you find that the government has proved beyond a reasonable

16   doubt that there was an agreement or understanding by two or

17   more persons to act together to accomplish one or both of the

18   objects of the money laundering conspiracy, the first element

19   of the money laundering conspiracy charged in Count Seven will

20   have been satisfied.     You then would go on to consider the

21   second element     If, on the other hand, the government has not

22   proved the existence of such an agreement or understanding, you

23   must find the defendant not guilty on Count Seven

24              The second element of Count Seven is that the

25   government       the defendant knowingly and willfully have joined


                      SOUTHERN DISTRICT REPORTERS, P C
                               (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 98 of 232
                                     A-1178
     N82M8AN4                        Charge                                3204

 1   and par ticipated in the conspiracy to commit money laundering

 2   I already have instructed you on knowingly and willfully and

3    what it means to join a conspiracy             You will apply those

 4   instructions here, including the instruction concerning good

5    f with

 6               If, after conscientious and deliberate consideration

 7   of the evidence, you conclude that the defendant has proved

 8   each of the two elements of the charge of conspiracy to commit

 9   money laundering, that is, it has proved beyond a reasonable

10   doubt that there was a conspiracy to commit money laundering

II   for the purpose of achieving either or both of the two

12   objectives I was just described and that the defendant

13   knowingly and willfully joined in that conspiracy, then you

14   should find the defendant guilty on Count Seven, and mark the

15   appropriate space on the verdict form to indicate whether you

16   found him guilty as to either or both of the concealment or

17   money wire proceeds money laundering bases               If the government

18   has f ailed to prove any of the elements of the conspiracy

19   charged in Count Seven with respect to both the concealment and

20   the wire fraud proceeds money laundering bases, then you must

21   find the defendant not guilty on Count Seven

22               Now, there are three other very small points, and I'm

23   finished instructing you on the law             These will be brief

24               First of all, as I explained with respect to every

25   count in this indictment, the government is obliged to prove

                        SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 99 of 232
                                    A-1179
     N82M8AN4                       Charge                              3205

 1   that the defendant, usually among other elements, acted

 2   knowingly      In determining whether the defendant had knowledge

 3   of a f act, you may consider whether that defendant deliberately

 4   closed his eyes to what otherwise would have been obvious              As

5    you all know, if someone is actually aware of a f act, then he

 6   knows it.     He knows the f act      But the law allows you also to

 7   find that a defendant had knowledge of a f act when the evidence

 8   shows you that the defendant was aware of a high probability of

 9   that f act, but intentionally avoided confirming the f act          We

10   refer to this concept, this notion of blinding yourself to what

II   is staring you in the f ace, as conscious avoidance or willful

12   blindness

13               Although I told you before that acts done knowingly

14   must be a product of a defendant's conscious intention, not

15   simply the product of carelessness or negligence, a person

16   cannot willfully blind himself to what is obvious and disregard

17   what is plainly in front of him.          When one consciously avoids

18   learning a f act, the law treats that person as knowing that

19   f act    An argument of conscious avoidance or willful blindness,

20   however, isn't a substitute for proof            It's simply another

21   f act you may consider in deciding what the defendant knew

22               with respect to the substantive wire fraud charges in

23   Counts One and Three, in determining whether the government has

24   proved beyond a reasonable doubt that the defendant had

25   knowledge or acted knowingly or acted knowing that something

                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 100 of 232
                                 A-1180
     N82M8AN4                    Charge                               3206

 1   was intended or would occur, you may consider whether the

 2   defendant deliberately closed his eyes to what would otherwise

 3   have been obvious to him.      One may not willfully and

 4   intentionally remain ignorant of a f act important to his

 5   conduct in order to escape the consequences of criminal law,

 6   and a person cannot look at all sor is of things that make it

 7   obvious to any reasonable person what is going on and then

 8   claim in court that because he deliberately avoided learning,

 9   explicitly what was obvious anyway, he did not actually know

10   the incriminating f act

II              Accordingly, if you find that the defendant was aware

12   of a high probability of a f act, and that the defendant acted

13   with deliberate disregard of the f acts, you may find that the

14   defendant knew that f act      However, if you find the defendant

15   actually believed that the f act was true, then you may not find

16   that he knew that f act     You must remember also that guilty

17   knowledge may not be established by demonstrating that a

18   defendant was merely negligent, or reckless or foolish or

19   mistaken

20              Now, with respect to the conspiracy charges, that is,

21   Counts Two, Four, Five, Six, and Seven, conscious avoidance or

22   willful blindness cannot be used as a basis for finding that a

23   defendant knowingly joined a conspiracy          If you think about it

24   for a minute, you will see why        To join a conspiracy a

25   defendant needs to know that there is an agreement among one or


                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 101 of 232
                                  A-1181
     N82M8AN4                     Charge                               3207

 1   more persons to act together to achieve some unlawful purpose

 2   If the defendant doesn't know of the agreement, he can't join

 3   it.   It' S logically impossible       But if you find that the

 4   defendant entered into such an agreement, you are entitled to

 5   consider conscious avoidance or willful blindness in

 6   considering whether he knew the illegal object of the

 7   conspiracy     You may consider, in other words, whether the

 8   defendant was aware of a high probability that the f acts were

 9   so, in other words, that there was an unlawful object and what

10   it was, but took deliberate and conscious action to avoid

II   confirming those f acts      In other words, if you find beyond a

12   reasonable doubt that the defendant deliberately avoided

13   learning or confirming the illegal object of the conspiracy,

14   such as by purposely closing his eyes to it or intentionally

15   f ailing to investigate it, then you may treat this deliberate

16   avoidance of learning a f act as the equivalent of knowledge

17   If, however, the defendant actually believed he wasn't a par ty

18   to an illegal agreement, or if the defendant was merely

19   negligent or careless with regard to what knowledge he had,

20   then he lacked the knowledge necessary to become a member of

21   the conspiracy

22              Two to go

23              Now, in addition to all the elements I have described

24   to you, you must separately decide whether an act in

25   furtherance of each alleged crime occurred within the Southern


                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 102 of 232
                                  A-1182
     N82M8AN4                     Charge                                    3208

 1   District of New York       The Southern District of New York

 2   includes the Manhattan, Bronx          I am not insulting anybody who

 3   may live there, but some other counties upstate, none of which

 4   was mentioned in this trial.        This requirement is called venue

 5   and that word refers in this context to the f act that the

 6   government must prove that this case as to these various counts

 7   was brought properly in this court rather than in a different

 8   federal court      You will determine the satisfaction of the

 9   venue requirement separately for each count

10              For the wire fraud charges in Counts One and Two, it

II   is sufficient for the government to establish              I'll talk

12   about the standard of proof in a minute            venue if the

13   defendant caused any interstate or international wire, such as

14   an email, a phone call, television, Internet broadcast, or

15   financial transaction to be transmitted into or out of this

16   district

17              What did I forget to read?       Did I say Counts One and

18   Two   Never mind      I mean to say Counts One and Three          Thank

19   you, Aditi      Where would I be without them.        Let me tell you,

20   it wouldn't be pretty

21              The wire need not itself have been criminal, as long

22   as it was transmitted or caused to be transmitted as par t of

23   the scheme      The act need not have been taken by the defendant,

24   so long as the act was any part of any crime you otherwise find

25   he has committed


                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 103 of 232
                                 A-1183
     N82M8AN4                    Charge                                    3209

 1              with respect to all the conspiracy counts, Counts Two,

 2   Four, Five, Six, and Seven, it is sufficient for the government

 3   to prove that some act in fur therance of the conspiracy

 4   occurred within the Southern District of New York                In that

 5   regard, the government does not have to prove that the crime

 6   itself was committed in this district or that the defendant

 7   himself was even present here

 8              Now, what's the government's burden on venue')            It is

 9   not beyond a reasonable doubt        It is to show that venue was

10   proper count by count      of course you don't have to consider

II   venue if you have otherwise concluded the defendant is not

12   guilty on a particular count         Then it becomes irrelevant            But

13   if you are considering a guilty verdict on any count, you also

14   have to find venue is satisfied as to that count            And now as

15   to the government's burden to establish proper venue, it is

16   simply that the government must prove it by a preponderance of

17   the evidence; in other words, that it is more likely that the

18   requirements of venue in this district are satisfied as to that

19   count than not

20              All of the elements of the offense that I talked about

21   before, everything other than venue, the standard is proof

22   beyond a reasonable doubt, as I told you          Venue is different

23              Regardless of what you think about the elements on any

24   given count as to which the government is required to prove

25   guilt beyond a reasonable doubt, if you conclude that the


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 104 of 232
                                 A-1184
     N82M8AN4                    Charge                                  3210

 1   government hasn't established proper venue by a preponderance

 2   of the evidence, you must acquit on that count

 3              Lastly, you have heard various references, and you

 4   will see in the indictment that goes into the jury room various

 5   references to dates      It does not matter if the evidence you

 6   heard at trial indicates that a par ticular act occurred on a

 7   different date, and the government is not            it is not

 8   essential that the government prove that the charged offenses

 9   star red on the dates that may be alleged, either in court or in

10   the indictment, or ended on any specific dates            The law

II   requires only a substantial similarity between the dates in the

12   indictment, to the extent there are any dates in the

13   indictment, and the dates established in the evidence

14              Now, those, folks, are my substantive legal

15   instructions     The rest of this is all downhill          Not that it

16   isn't important, but it is neither as long nor as technical

17              I'll start out with the trial process          As I told you

18   all about the time you were selected, you are the sole and

19   exclusive judges of the f acts       Please understand that I do not

20   now, and I never during this trial have meant to indicate any

21   opinion as to what the f acts are or what your verdict should

22   be   The rulings I have made during the trial, the questions I

23   asked, any comments I have made in managing the trial or in

24   attempting to clarify the evidence or get it into evidence more

25   efficiently and quickly are no indication of any views that I


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 105 of 232
                                 A-1185
     N82M8AN4                    Charge                                 3211

 1   might have as to what your decision ought to be or as to

 2   whether or not the government has proved its case

 3              I remind you that it is your duty to accept my

 4   instructions on the law and to apply them to the f acts as you

 5   determine those f acts to be, regardless of whether or not you

 6   agree with my instructions       You are to show no pre judice

 7   against an attorney or the attorney's client because the

 8   attorney made objections to evidence, asked for sidebars, asked

 9   me to rule on questions of law        They were doing their jobs,

10   and I was doing mine, and that's all there is to it.

II               In addition, I want to reemphasize the f act that I may

12   have asked questions of witnesses and may have made comments to

13   counsel or to a witness or witnesses          It was never intended to

14   suggest that I believed or disbelieved any witness or have any

15   view about how this case should be decided           You are to

16   disregard entirely the f act that I have asked a few questions,

17   though of course you may consider the answers, and you are to

18   disregard entirely any comments that I may have made during the

19   course of the last several weeks

20              You should find the facts in this case without

21   prejudice as to any party       The case is brought, of course,

22   formally in the name of the United States           That doesn't

23   entitle the government to any greater consideration than the

24   defendant     By the same token, the government is entitled to no

25   less consideration      We stand for equal justice before the law


                       SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 106 of 232
                                   A-1186
     N82M8AN4                      Charge                                   3212

 1   It applies to both sides in court

 2              Let's talk about the evidence a little bit

 3               The evidence is the sworn testimony of the witnesses,

 4   the exhibits received in evidence, and the stipulations between

 5   the lawyers

 6               The indictment is not evidence         The questions,

 7   arguments, or objections are not evidence             You are not to

 8   consider any statements that I told you to disregard or said

 9   were stricken or struck or whatever formulation I may have

10   used

II              It is for you alone to decide the weight, if any, to

12   be given all the testimony you have heard and the exhibits you

13   have seen

14              I have already referred a bit to direct and

15   circumstantial evidence, or at least circumstantial evidence

16   Direct evidence is really pretty obvious            It is evidence that

17   you can observe with your own senses and evidence that a

18   witness came in and swore on the witness stand              The witness

19   personally perceived, the witness heard it, saw it, touched it .

20   You got the idea

21              And in a case I tried earlier this year, which

22   involved the question of the meaning of the word beer, I would

23   have said taste it, but this isn't that kind of case

24              Circumstantial evidence        Believe it or not, my idea

25   of a good time is a trial movie or a Law & Order episode or

                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 107 of 232
                                 A-1187
     N82M8AN4                    Charge                                3213

 1   whatever     I have been watching trials my entire life, many of

 2   them dramatic performances of Hollywood, and I have heard on

 3   television and on streaming and everywhere else more nonsense

 4   about circumstantial evidence than one could possibly imagine

 5              Let me tell you the simple answer to this

 6   Circumstantial evidence is simply evidence that tends to prove

 7   a f act that is in dispute by proving some other f act and

 8   logically reasoning from the one you can prove to the one

 9   that's maybe not so certain       That's what it's all about          The

10   circumstantial evidence is the direct evidence and it refers to

II   the process of logic      The law is that circumstantial evidence

12   is of no lesser value than direct evidence           You are simply

13   required to base your verdict on your conscientious evaluation

14   of all the evidence and come to the conclusion that you think

15   is consistent with the facts

16              I told you during the trial that whatever the lawyers

17   stipulated to you are bound by        You must accept whatever they

18   stipulated to as being f act for purposes of this case           We have

19   heard a f air amount of credibility in the last day and a half

20   N o w it' S your job to decide who you believe and how important

21   each witness was, and you're the sole judges of credibility of

22   each witness and of the importance of each witness' testimony

23   I urge you to use your common sense and apply all of the tests

24   that you would apply in everyday life with respect to important

25   matters in determining the truthfulness and accuracy of what


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 108 of 232
                                 A-1188
     N82M8AN4                    Charge                                  3214

 1   testimony you have heard

 2              Your decision whether or not to believe a witness may

 3   depend on how the witness impressed you          Was the witness

 4   candid and frank and forthright?       Or did the witness seem as if

 5   the witness was hiding something, being evasive or suspect in

 6   some W8y9    How did the way the witness testified on direct

 7   examination compare with how the witness testified on

 8   cross-examination°    Was the witness consistent in the witness'

 9   testimony, or did the witness contradict what he had said on

10   another occasion°    Did a witness appear to know what he or she

II   was talking about, and did the witness strike you as someone

12   who was trying to report his or her knowledge accurately')

13              If you find that a witness willfully lied to you about

14   any material matter, you may either disregard everything that

15   witness said or you may accept whatever par t of it you think

16   deserves to be believed       In other words, if you find that a

17   witness lied under oath about a material f act, you may treat it

18   like a slice of toast that has been par tially burned.           You can

19   either throw the whole piece in the trash or you can scrape the

20   black parts off and eat the rest

21              Ultimately, the determination of whether and to what

22   extent you accept the testimony of any witness is entirely up

23   to you

24              In evaluating the credibility of the witnesses, you

25   should take into account any evidence that a witness may


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 109 of 232
                                 A-1189
     N82M8AN4                    Charge                                 3215

 1   benefit in some way from the outcome of the case            Keep in

 2   mind, though, that it doesn't automatically follow that

 3   testimony given by an interested witness is to be disbelieved.

 4   It is for you to decide, based on your own perceptions and your

 5   common sense, the extent to which a witness' interest has

 6   affected whatever the witness testified to, if it affected it

 7   at all

 8              Now, you have heard the testimony of at least two, but

 9   there may have been another, law enforcement officers            The

10   f act that a witness may be, or may previously have been,

II   employed by the government in law enforcement does not mean

12   that the witness' testimony is deserving of any more

13   consideration or any less consideration, or in each case

14   weight, of an ordinary witness        At the same time, in

15   considering the credibility of such a witness, you are entitled

16   to consider whether the testimony may have been colored by a

17   personal or a professional interest in the outcome of the case

18              It is your decision, after reviewing all of the

19   evidence, whether to accept the testimony of law enforcement

20   witnesses and to give that testimony whatever weight you find

21   it deserves

22              You have heard testimony from a number of government

23   witnesses that they actually were involved in planning and

24   carrying out some of the crimes charged in the indictment

25              You should be aware that it is not unusual for the

                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 110 of 232
                                 A-1190
     N82M8AN4                    Charge                                 3216

 1   government to rely on the testimony of witnesses who admit to

 2   having par ticipated in criminal activity          The government has

 3   to take its witnesses as it finds them, and frequently the

 4   government must use such testimony in criminal prosecutions

 5   because it otherwise would be difficult and sometimes

 6   impossible to detect and prosecute wrongdoers            Accordingly,

 7   the law allows the use of cooperating witness testimony, and

 8   you may consider the testimony of these witnesses in

 9   determining whether the government has met its burden of

10   proving guilt beyond a reasonable doubt

II              However, the testimony of an accomplice witness should

12   be scrutinized with special care and caution because such

13   witnesses may believe that it is in their interest to give

14   testimony f avowable to the government         The f act that a witness

15   is an accomplice can be considered by you as bearing on the

16   witness' credibility      It doesn't follow, however, that simply

17   because a person has admitted to participating in one or more

18   crimes that he or she is incapable of giving a truthful version

19   of what happened

20              Like the testimony of any other witness, accomplice

21   witness testimony should be given the weight you think it

22   deserves in light of the f acts and circumstances before you,

23   taking into account the witness' demeanor, candor, the strength

24   and accuracy of the witness' recollection, their background,

25   and the extent to which their testimony is or is not


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 111 of 232
                                  A-1191
     N82M8AN4                     Charge                               3217

 1   corroborated by other evidence         You may consider whether an

 2   accomplice witness, like any other witness in this case, has an

 3   interest in the outcome and, if so, whether and to what extent

 4   it may have affected the witness' testimony

 5              You certainly heard testimony, and probably have in

 6   evidence before you, though I don't offhand remember, certain

 7   agreements between the government and accomplice witnesses               I

 8   must caution you that it is of no concern to you why the

 9   government made agreements with any par ticular witness           Your

10   sole concern is whether a witness has given truthful and

II   accurate testimony here in this courtroom before you

12              In evaluating the testimony of accomplice witnesses,

13   you should ask yourself whether these witnesses would benefit

14   more by lying or by telling the truth           Was their testimony

15   made up in any way because they believed or hoped that it would

16   somehow result in f avorable treatment if they testified

17   f falsely, or did they think their interests would best be served

18   by testifying truthfully and accurately?          You believe if that a

19   witness was motivated by hopes of personal gain, was that the

20   motivation one that would cause him to lie, or was it one that

21   would cause the witness to tell the truth°           Did the motivation

22   color the witness| testimony°

23              If you find that the testimony was f also, you should

24   re ject it.   If, however, after carefully and cautiously

25   examining an accomplice witness| testimony and demeanor, and


                      SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 112 of 232
                                   A-1192
     N82M8AN4                      Charge                                   3218

 1   you are satisfied that the witness told you the truth, you

 2   should accept it as credible and act on it accordingly

 3                As with any witness, let me emphasize that this issue

 4   of credibility doesn't have to be an all-or-nothing decision on

 5   your par t     Even if you find that a witness testified f alsely

 6   in one par t, you still may accept their testimony in other

 7   parts, or you may disregard all of it.           That's up to you       It

 8   is not an all-or-nothing decision necessarily              It may be, but

 9   that's your job

10                You have also heard testimony from, I believe, three

II   government witnesses who have pleaded guilty to charges arising

12   out of the same f acts that are at issue in this case              I

13   instruct you that you are to draw no conclusions or inferences

14   of any kind about the guilt of Mr. Bandsman-Fried from the f act

15   that one or more prosecution witnesses pled guilty to similar

16   charges       The decision of those witnesses to plead guilty were

17   personal decisions that those individuals made about their own

18   guilt, and it may not be used by you in any way as evidence

19   against or unfavorable to the defendant in this case

20                You also heard testimony from one witness who entered

21   into a nonprosecution agreement with the government arising out

22   of at least some of the same f acts that are at issue in this

23   case      I instruct you that you are to draw no conclusions or

24   inferences of any kind about the guilt of the defendant here in

25   this case from the f act that a prosecution witness entered into


                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 113 of 232
                                 A-1193
     N82M8AN4                    Charge                                     3219

 1   such an agreement     Again, that was a personal decision and it

 2   may not be used by you in any way as evidence against the

 3   defendant

 4               The same is true with respect to the testimony of the

 5   one witness who testified under a grant of immunity, formal

 6   immunity issued by the Court         The testimony of such a witness

 7   cannot be used against the witness in a criminal case except

 8   for prosecutions for per jury or giving f also statements to the

 9   Court while he was immunized         I instruct you that the

10   government is entitled to call such a witness as a person who

II   has been granted immunity by an order of this Court              You

12   should examine the testimony of such a witness to determine

13   whether or not it's colored in any way by the witness' own

14   interests      If you believe the testimony, you may give it

15   whatever weight you think it deserves

16               You heard a couple of expert witnesses in this case,

17   a n d I'm using a couple as an approximation         I don't remember

18   the count     Why are they here?      Ordinarily, witnesses are

19   restricted to testify about f acts, f acts that they have

20   personal knowledge of

21               (Continued on next page)

22

23

24

25


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 114 of 232
                                    A-1194
     NB2lBAN5                       Charge                                   3220

 1               THE COURT:    There are occasions when there are people,

 2   however, who have technical or specialized knowledge in some

 3   area that would assist you, the jurors, in deciding a disputed

 4   f act    And when that occurs, a witness who has those

 5   qualifications can be called to testify about some evidence or

 6   facts at issue in the form of opinions

 7               In weighing expert testimony, of course you may

 8   consider the expel t's qualifications, the opinions given, the

 9   reasons the witness is here and why they're testifying, and

10   everything else I talked to you about relating to credibility

II   You can give the expert testimony whatever weight you think it

12   deserves in light of the whole record in this case                  What you

13   should not do is accept a witness's testimony because the

14   witness in some sense is regarded as an expert               It's not a

15   substitute for your own common sense, judgment, and reason

16   The determination of the f acts is up to you, not expert

17   witnesses

18               Now you have heard some evidence that the defendant

19   was involved in conduct that is not charged in the indictment

20   i n t h i s case, and you probably all remember what that is.

21   You've heard some evidence about an alleged bribe involving one

22   or more Chinese government officials and alleged campaign

23   finance law issues        Mr. Bandsman-Fried is not on trial for any

24   such offenses here        You can't consider the evidence of those

25   uncharged bad acts as a substitute for proof that he committed


                        SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 115 of 232
                                  A-1195
     NB2lBAN5                     Charge                                 3221

 1   the crimes of which he is accused in this case, nor may you

 2   consider that evidence as proving that the defendant is a

 3   person with a propensity to commit crimes or a m a n o f bad

 4   character •    The evidence was admitted for limited purposes, and

 5   you may consider it only for those purposes

 6               You may consider the evidence you heard regarding the

 7   alleged bribe to someone in China as bearing on the

 8   relationship of trust and confidence between the defendant and

 9   Ms. Ellison and as to the defendant's motives             You may

10   consider the evidence you heard regarding the campaign finance

II   matters as relevant to the defendant's criminal intent and

12   knowledge and as to his relationship of mutual trust with

13   Mr. Singh      You may also consider that evidence as direct

14   evidence of the charged wire fraud scheme on FTX customers, as

15   it per tails to allegations about how the defendant spent

16   alleged misappropriated customer funds, and as direct evidence

17   of the charged money laundering conspiracy, as it pertains to

18   the allegation that the defendant engaged in financial

19   transactions that it is alleged were designed to conceal the

20   nature, location, source, ownership, or control of criminal

21   proceeds      And I remind you that this is not to be considered

22   as evidence of a criminal propensity and that the defendant is

23   not charged with crimes on the basis of those two categories of

24   evidence

25               Certain evidence that came in concerned the acts and


                      SOUTHERN DISTRICT REPORTERS, P C
                               (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 116 of 232
                                 A-1196
     NB2lBAN5                    Charge                               3222

 1   statements of others because the acts were committed and the

 2   statements were made by individuals whom the government claims

 3   conspired with the defendant

 4              The reason for allowing that evidence has to do with

 5   the nature of the crime of conspiracy          A conspiracy is of ten

 6   referred to as a partnership in crime          Thus, as in other types

 7   of par tnerships, when people enter into a conspiracy to

 8   accomplish an unlawful end, each and every member of the

 9   conspiracy becomes an agent for the other conspirators in

10   carrying out the conspiracy

II              In determining the f actual issues before you, you may

12   consider against the defendant any acts or statements made by

13   any of the people that you find, under the standards I have

14   already described, to have been his co-conspirators, even

15   though such acts or statements were not made in his presence,

16   or were made without his knowledge

17              You have heard some evidence during the trial that at

18   least one witness-and possibly more than one, although I don't

19   remember, it's your memory that counts, folks-prior to the

20   trial, made statements that were the same as, or similar to,

21   the testimony the witness gave in court          As I instructed you

22   then, I believe, and in any case instruct you now, you may

23   consider evidence of such statements-that is, pretrial

24   statements consistent with what was said at trial- in

25   determining the f acts of the case        Evidence like that may help


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 117 of 232
                                    A-1197
     NB2lBAN5                       Charge                               3223

 1   you decide whether you believe the witness's testimony in

 2   court      If the witness made statements before trial, and before

 3   the witness was aware of anything that would have given him or

 4   her a motive to give a f also account, in other words, that were

 5   the same as or similar to what the witness said at trial, that

 6   may be reason for you to believe his or her trial testimony on

 7   the same subject

 8               You have certainly heard evidence during the trial

 9   that some witnesses have discussed the f acts of the case and

10   their testimony with lawyers before they appeared in court

II               You're entitled to consider that f act in evaluating

12   credibility, but I do tell you that there is nothing unusual or

13   improper about a witness meeting with lawyers before testifying

14   so that the witness can be aware of the subjects he or she will

15   be questioned about, focus on those subjects, and have the

16   opportunity to review relevant evidence before being questioned

17   about them in court         Such consultation helps conserve your

18   time and, frankly, the Court's time.           In fact, it would be

19   unusual for a lawyer to call a witness without such

20   consultation

21               But again, the weight you give to the f act or nature

22   of a witness's preparation for testimony and what conclusions

23   or inferences you draw from preparation like that are

24   completely up to you

25               Now I'm about to make a vast understatement


                        SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 118 of 232
                                 A-1198
     NB2lBAN5                    Charge                                 3224

 1              There is evidence before you in the form of charts and

 2   summaries      These exhibits purport to summarize some of the

 3   underlying evidence that was used to prepare them, and they

 4   were shown to you to make the other evidence more meaningful

 5   and to aid you in considering the evidence           They are no better

 6   than the documents they're based on, and they're not themselves

 7   independent evidence      You are therefore to give no greater

 8   weight to the char is and summaries than you would give to the

 9   evidence on which they are based.

10              It is for you to decide whether the char is and

II   summaries correctly present the information contained in the

12   exhibits on which they were based         You are entitled to

13   consider them if they help you in analyzing and understanding

14   the evidence

15              I have instructed you previously during the trial

16   about the audio and video recordings and, in those cases where

17   there are transcripts, that it's the recordings that are the

18   ultimate determinative evidence, not the transcripts             I'm

19   going to spare you repeating it.

20              There are some documents and exhibits received in

21   evidence that are marked redacted and probably a few that

22   simply have big black blotches on them in some of the original

23   content     You are only to concern yourself with the parts that

24   have not been redacted.     You are not to speculate about what's

25   under the black markings and what was redacted.           There were


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 119 of 232
                                     A-1199
     NB2lBAN5                        Charge                               3225

 1   sufficient reasons for doing all of that, to the extent it was

 2   done, and you are not to concern yourself with what those

 3   reasons might have been           You are to decide the case on the

 4   basis of what's actually in front of you

 5                Now you have certainly heard a lot of people's names

 6   during the course of this trial who were not called as

 7   witnesses       I instruct you that both sides had an equal

 8   opportunity or lack of opportunity to call as a witness any of

 9   them .    Therefore, you should not draw any inferences or reach

10   any conclusions as to what those people might have testified to

II   had they been called.         Their absence should not affect your

12   judgment at all

13                But you should remember that the law does not impose

14   on the defendant in a criminal case the burden of calling any

15   witnesses or producing any evidence             The burden of proof is

16   always with the government

17                Now you have heard recordings or seen statements by

18   the defendant, which are in evidence, in which he claimed that

19   his conduct was consistent with innocence and not guilt              The

20   government claims that these statements, or at least some of

21   them, in which he exonerated or exculpated himself are f also

22                If you find that the defendant gave one or more f else

23   statements in order to divert suspicion from himself, you may,

24   but you are not required to, infer that he believed he was

25   guilty       You may not, however, infer on the basis of that


                         SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 120 of 232
                                 A-1200
     NB2lBAN5                    Charge                               3226

 1   evidence alone that the defendant in f act is guilty of any of

 2   the crimes with which he is charged

 3              Whether or not the evidence as to the defendant's

 4   statements shows that he believed he was guilty and the

 5   significance, if any, to be attached to any such evidence, are

 6   matters for you to decide

 7              Now let's talk about auto-deletion for a minute

 8              And we truly are in the home stretch

 9              If you find that the defendant deleted or caused the

10   deletion of communications, you may, but you need not, infer

II   that he believed that he was guilty         You may not, however,

12   infer on the basis of this alone that the defendant is in f act

13   guilty of any of the crimes with which he is charged.

14              Whether or not the evidence as to a defendant's

15   deletion of evidence, or his having caused evidence to be

16   deleted, shows that the defendant believed he was guilty, and

17   the significance, if any, to be attached to any such deletions,

18   are for you to decide

19              You have heard some testimony about evidence that was

20   seized pursuant to one or more search warrants signed by a

21   judge, from email accounts, Twitter accounts, electronic

22   devices, and conceivably other things, but I don't remember

23   Evidence obtained from such searches were properly admitted in

24   this case and are properly considered by you           Indeed, searches

25   of online accounts and electronic devices are entirely


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 121 of 232
                                   A-1201
     NB2lBAN5                      Charge                                    3227

 1   appropriate law enforcement actions           Whether you approve or

 2   disapprove of how that evidence was obtained should not enter

 3   into your deliberations because I now instruct you that the

 4   government's use of that evidence is entirely lawful

 5              You must give that evidence, regardless of personal

 6   opinions, full consideration along with all other evidence in

 7   deciding whether the government has proved the defendant's

 8   guilt beyond a reasonable doubt

 9              Now in a criminal case, of course, a defendant never

10   has a duty to testify or to come forward with any evidence

II   The reason, as I ve told you, is that he is presumed innocent
                         1




12   and the government at all times has the burden of proof beyond

13   a reasonable doubt       Except of course on venue, where it's by a

14   preponderance of the evidence          But if the defendant takes the

15   stand and testifies on his own behalf, he has the right to do

16   that

17              In this case, Mr. Bandsman-Fried decided to testis y,

18   like any other witness, and he was subject to

19   cross-examination       You should examine and evaluate the

20   testimony of the defendant just as you would the testimony of

21   any other defendant

22              Some of the people who may have been involved in the

23   events leading to this trial are not on trial here                 You may

24   draw no inference, f avowable or unfavorable, toward the

25   government or the defendant from the f act that any person other


                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 122 of 232
                                 A-1202
     NB2lBAN5                    Charge                                  3228

 1   than defendant is not on trial here         Nor may you speculate as

 2   to the reasons why that is so        Those matters are wholly

 3   outside your concern, and you may not consider them in reaching

 4   your verdict     Your task is limited to considering the charges

 5   in the indictment and the defendant before you

 6              Now John Hammel points out to me that I made a mistake

 7   a moment ago     I mistakenly said you should examine and

 8   evaluate the testimony of the defendant just as you would the

 9   testimony of any other defendant         If in f act I said that, it

10   was wrong      And I will read it to you the way I typed it.             The

II   hour draws late     You should examine and evaluate the testimony

12   of the defendant just as you would the testimony of any other

13   witness

14              The question of possible punishment of the defendant

15   is of no concern to the jury, and it should not enter into or

16   influence your deliberations         The duty of sentencing in the

17   event of a conviction rests entirely with the Court              Under

18   your oath, you cannot allow consideration of punishment that

19   may be imposed in the event of conviction to influence your

20   judgment

21              Last words    Your deliberations       You're going to

22   retire to decide this case in just a couple of minutes              You

23   must consult with each other and deliberate with a view to

24   reaching an agreement      Each of you must decide the case for

25   yourself, but you should do so only after considering the case


                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 123 of 232
                                   A-1203
     NB2lBAN5                      Charge                                3229

 1   with your fellow jurors         You should not hesitate to change an

 2   opinion if you're convinced it' s erroneous

 3              Your verdict, whether it's guilty or not guilty, must

 4   be unanimous, but you are not bound to surrender your honest

 5   convictions concerning the weight or the effect of the evidence

 6   merely for the purpose of returning a verdict or solely because

 7   of the views of other jurors           Discuss and weigh your

 8   respective opinions dispassionately, without regard to

 9   sympathy, without regard to pre judice or f aver for either

10   party, and come to the conclusion which in your good conscience

II   appears from the evidence to be in accordance with the truth

12              I need to say a word about your notes            I remind you

13   that any notes you may have taken are for your personal use

14   only     Each of you may consult your own notes during

15   deliberations, but any notes you may have taken are not to be

16   regarded during deliberations as a substitute for the

17   collective memory of all of you           Your notes should be used as

18   memory aids but shouldn't be given precedence over your

19   independent recollection of the evidence             If you did not take

20   notes, you should rely on your own independent recollection of

21   the evidence, and you should not be influenced by the notes of

22   others     The notes are entitled to no greater weight than the

23   recollection or impression of each juror as to what the

24   evidence showed

25              You are all, as I told you right at the beginning,


                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
              Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 124 of 232
                                     A-1204
     NB2lBAN5                        Charge                                     3230

 1   going to get a typewritten copy of my instructions in the jury

 2   room.      Two things about that         The copies you get will have a

 3   handful of handwritten interlineations, which are my chicken

 4   scratchings making little tiny corrections that I made as I

 5   went along        And the little tiny corrections are part of the

 6   instructions         They are binding on you

 7                You are also going to find scattered among the

 8   instructions legal citations             They are probably going to be

 9   incomprehensible because          and here I'm being f acetious again,

10   but--they're in lawyer code            They indicate which books, on

II   what volume and what page things come from.              You are not going

12   to understand them, I think, and even if you do, disregard them

13   entirely       They are my audit trail and the lawyers' audit trail

14   about what we are relying on in formulating the instructions

15   I 1 ve   given you

16                You are not to discuss the case unless all 12 jurors

17   are there       When there are less than 12 of you, you are not a

18   jury      You are 10 or II or six what I imagine by now are pretty

19   good friends; at least I hope so

20                When you retire, you will select one of your number as

21   the foreperson         That person will preside over the

22   deliberations and speak for you here in open court                   The

23   foreperson will send out any notes and, when you've reached a

24   verdict, the foreperson will notify the court officer that you

25   have a verdict, and I'll talk more about how

                          SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 125 of 232
                                     A-1205
     NB2lBAN5                        Charge                                3231

 1                    And now is the best time     You have the verdict form

 2   already          If you need more, you'll send out a note and ask for

 3   more    But they're all the same            When you've reached a

 4   verdict, the foreperson should record the verdict on a copy of

 5   the verdict form, and that's of course when you have a

 6   unanimous verdict          Please don't add any commentary or any

 7   suggestions or thoughts to the verdict form.            They're basically

 8   yes/no questions          I can tell you from prior experience, no

 9   good will come of it.          Maybe no bad, but no good will come of

10   it, and it will take time.

II                    When you have a verdict form filled out, each of you

12   should sign it.          The foreperson will send in a note with the

13   court officer in a sealed envelope that says, "We have a

14   verdict •   II
                       Don't give the verdict form to the court officer

15   Put it in an envelope           The foreperson will bring it into the

16   courtroom.          Clutch it tightly to your breast     And I will ask

17   for it at the appropriate moment .           I stress that you each

18   should be in agreement when it' s announced in court               Once it's

19   announced by the foreperson and officially recorded, it

20   ordinarily cannot be revoked.

21                    If during your deliberations you want me to discuss

22   any of my instructions further or you have any questions about

23   my instructions, you should formulate a note             The foreperson

24   should put the note in a sealed envelope, give it to the court

25   officer, tell the court officer there| s a note             Every page and


                           SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 126 of 232
                                   A-1206
     NB2lBAN5                      Charge                                3232

 1   line of these instructions is numbered.           If it's a question

 2   about something in the instructions, give the page numbers and

 3   lines so that I know for sure what you're talking about              The

 4   procedure we go through when we get a note is I give the note

 5   to the lawyers, the lawyers each decide what they think it

 6   means and what they think the answer should be              If everybody's

 7   in agreement, I'll bring you into the courtroom and answer the

 8   question     If there's disagreement, I'll decide the answer and

 9   bring you back and give you the answer            And that process is

10   f acilitated and speeded up the f aster we can understand the

II   note    So that's the reason for being specific

12              We will respond to any requests as f ast as we can

13              Now if you need any testimony read back, the procedure

14   is exactly the same        Send in a note, sealed envelope, and

15   exactly what you want to hear          with the witnesses, if you can

16   remember whether it's direct or cross, what the subject is,

17   just be as specific as you possibly can            We go through the

18   same procedure       We try to understand what you're really asking

19   for, and then we have to search through the transcript, which

20   is now over 3,000 pages-there are some automated ways of

21   searching, but they're not perfect-and get you exactly what

22   you want, and we will do that          But first of all, be sure you

23   need it, and second of all, be as clear as you can be

24              I remind you that you took an oath to render judgment

25   impartially and f girly, without pre judice or sympathy and


                       SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 127 of 232
                                 A-1207
     NB2lBAN5                    Charge                                   3233

 1   without fear, based solely on the evidence in the case and the

 2   applicable law     It would be improper for you to consider, in

 3   reaching your decision as to whether or not the government

 4   sustained its burden of proof, any personal feelings you may

 5   have about the race, religion, national origin, sex, or age of

 6   the defendant

 7              If you let pre judice or sympathy enter into your

 8   thinking, it could interfere with clarity of judgment, and

 9   there's a risk that you would not arrive at a just verdict

10              Both parties are entitled to a f air trial            You must

II   make a f air and impartial decision to come to a just verdict

12   If you have a reasonable doubt as to the defendant's guilt on

13   one or more counts, you should not hesitate to find him not

14   guilty     On the other hand, if you find the government has met

15   its burden of proving the defendant's guilt beyond a reasonable

16   doubt on one or more counts, you should not hesitate, because

17   of sympathy or anything else, to find him guilty

18              Finally, on a related point that I suspect crossed

19   somebody's mind at some point, in the federal system, we have

20   crimes only that are defined by statutes-laws passed by

21   Congress and signed by the president          I have instructed you as

22   to the law under those statutes, and it's your job to apply

23   those instructions to the f acts that you find           In the event

24   that you conscientiously conclude that the government has not

25   proved every required element necessary to convict, but you

                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 128 of 232
                                 A-1208
     NB2lBAN5                    Charge                                 3234

 1   necessarily think that something was morally wrong or unf air,

 2   you may not allow your feelings to substitute for your

 3   conscientious determination as to the f acts or following the

 4   law that I have given you       You are obliged to return a verdict

 5   consistent with the law and the f acts as you find them,

 6   regardless of personal feelings

 7              Now a couple of other-oh, yes         If you need any

 8   exhibits, you will tell us

 9              Now you're going to get a laptop, and I think it's

10   going to have either all of one par Ty's exhibits or all of the

II   exhibits     And use it to your heart's content         But if there's

12   something in evidence that you need that you don't have in

13   there and that we haven't sent in to you and you want it, send

14   us a note, we'll get it for you

15              Thank you, Aditi

16              Now let me come to our stalwart alternates

17              You are not going to deliberate, at least now           But I

18   am not discharging you      You remain alternates in this case,

19   though I'm going to send you off home or wherever you go next

20   You may not discuss the case or read about the case or any of

21   the other things about the case that I told you at the

22   beginning not to do, and the reason for that is that if, god

23   forbid, something happens to a juror, you may be re-called to

24   serve as a juror in this case, in which case deliberations will

25   begin anew and you will be one of the 12 jurors just as if you

                      SOUTHERN DISTRICT REPORTERS, P C
                                (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 129 of 232
                                        A-1209
     NB2lBAN5                           Charge                             3235

 1   were one of the first 12 now                It is very important that you

 2   adhere to that instruction             Now believe me when I say that

 3   everybody appreciates your time here, your close attention

 4   here    It was essential-particularly in this era, when all

 5   sorts of things happen, not least of which a pandemic that we

 6   hope is nearly all gone-that we have alternates, and we thank

 7   you    So you now will go with the court officer into the

 8   jury-sorry

 9                MS. SASSOON:      Your Honor, there are a couple things to

10   raise at sidebar with regards to the instructions before the

II   alternates are discharged

12                THE COURT:     All right.       Just give us a moment

13                (At the sidebar)

14                THE COURT      Quickly

15                MS. SASSOON:     Page 43        I'm going in reverse order.

16   We d;Ldn't catch this typo before, but on lines 18-19, on

17   page 43, it says, "However, if you find that the defendant

18   actually believed the f act was true, then you may not find he

19   knew the f acts, H and it should say "believed that the f act was

20   not true •   II
                         And I think it's important just to get the context

21   of the instruction correctly

22                THE COURT       I'm just showing you that I marked that on

23   here    Do you agree with that?

24                MR •   COHEN    Yes

25                THE COURT      Next


                           SOUTHERN DISTRICT REPORTERS, P C
                                        (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 130 of 232
                                     A-1210
     NB2lBAN5                            Charge                                3236

 1              MS. SASSOON:        The other one I have is on page 37, with

 2   regard to concealment money laundering                  The second element

 3   So we're at lines 16-21

 4              THE COURT:        Just give me a minute to wrestle with the

 5   staples

 6              Go ahead.

 7              MS. SASSOON:        So this is not reflected in the

 8   language     I think your Honor went slightly off script and said

 9   something along the lines of, "If you find he's guilty of wire

10   fraud, this element is satisfied. H               And I believe it' S that

                                             H
II   that meets the definition of                specified unlawful activity, H b u t

12   your Honor I don't think read lines 20-21

13              THE COURT         I think you're right          So I'll read that

14   whole paragraph to the jury then                 Yes?

15              MR. REHN:        One more

16              MR • COHEN        Your HOHOI

17              MR. REHN:        Sorry      We have one more from the

18   government first.

19              On page 63   I    you did not read the sentence telling them

20   that they should not indicate in a note to the Court how they

21   were divided

22              THE COURT         Yes, okay

23              MR. REHN:        Which is on lines 18-20

24              MR • COHEN        And your Honor, on page 35, lines 5-6, the

25   Court read "must prove beyond a reasonable doubt •               II




                      SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 131 of 232
                                      A-1211
     NB2lBAN5                         Charge                              3237

 1               THE COURT:    Yes, I did

 2               MR • COHEN    The text-the wording has to be added to

 3   the text

 4               THE COURT:    well, I gave it orally SO I'm just going

 5   to interlineate

 6               MR • COHEN    Okay      And then several times-and I think

 7   this can probably be just addressed by one more repetition, but

 8   several times, starting with page 19, lines 24-26, the Court

 9   read-

10               THE COURT     You're going too f ast for me         Let me get

II   to page 19

12               MR • COHEN    Sorry, your Honor

13               THE COURT     Yes      What lines?

14               MR • COHEN    24-26      And the way it came out in the

15   reading was the Court left out the phrase "the government must

16   prove beyond a reasonable doubt •         II




17               THE COURT:    That entire phrase?

18               MR • COHEN    Yes, just that         The rest of it was read

19   except for the clause "the government must prove"-the "beyond

20   a reasonable doubt" par t .

21               THE COURT     So you're telling me that I charged that,

22   and I'm quoting now, charged in Counts Two and Four each of the

23   following elements°

24               MR • COHEN    Yes, yes

25               MR. REHN:    I only had it as omitted "beyond a


                        SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 132 of 232
                                             A-1212
     NB2lBAN5                                 Charge                           3238

 1   reasonable doubt •        II




 2                  MR •   COHEN       That's what I said, y e a h

 3                  MR. REHN:         I think you read "the government must

 4   prove •   II




 5                  MR •   COHEN       No      I had it the same as Mr. Rein   And I

 6   think that happened again

 7                  THE COURT          Yes     Look, I understand, and you may well

 8   be right that I omitted it, but I think I probably said a

 9   hundred times in this that they have to prove every element

10   beyond a reasonable doubt

II                  MR • COHEN         Right, and where I was getting to was we

12   would ask that you just repeat that one, because it happened a

13   few other times                Rather than-

14                  THE COURT          It'S quite possible     All right   So I'll

15   start with that one

16                  MR • COHEN         Okay

17                  THE COURT:         And then somebody's going to prompt me

18   page by page           And I'll start with you if there's another page

19   that you made a point about-

20                  MR • COHEN         That's it, your Honor

21                  THE COURT           -and then go to the government

22                  MR • COHEN         Your Honor, before we go back, a couple

23   other things           Obviously for record purposes, we continue any

24   objections we made at the charge conference and before about

25   the charges, the charges we had asked for                   And also, we would


                            SOUTHERN DISTRICT REPORTERS, P C
                                             (212) 805-0300
            Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 133 of 232
                                      A-1213
     NB2lBAN5                         Charge                                3239

 1   ask that the Court-

 2              THE COURT      I didn't hear your whole statement

 3              MR •   COHEN   I'm sorry       For record purposes-

 4              THE COURT:     Obviously you need not renew objections

 5   you made at the charge conference

 6              MR •   COHEN   Okay      And lastly, your Honor, we would

 7   ask that you instruct the jury that while they certainly eau

 8   stay to 8:15 tonight, they're not required to, and if they feel

 9   it would be more productive for them to pick up on Monday, that

10   they may do so

II              THE COURT      Yeah, I'll do that

12              Okay

13              MR. EVERDELL      Your Honor, one last thing            This is

14   the indictment that the government prepared to pass back to the

15   jury

16              THE COURT      I'll deal with that when the jury is out

17              MR. EVERDELL      Okay

18              (In open court)

19              THE COURT      Okay      During the course of my reading of

20   the typewritten instructions, counsel have brought to my

21   attention that in one place or another, I left out a phrase or

22   a word, and we're going to go through about a half a dozen of

23   these corrections now

24              First of all, before we even do that, I remind you

25   that as I said many, many times during the course of the


                        SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 134 of 232
                                       A-1214
     NB2lBAN5                             Charge                              3240

 1   instructions, it is the government's burden to prove each of

 2   the essential elements of the offense beyond a reasonable

 3   doubt, and if anywhere in the typescript or in my oral

 4   rendition of the typescript I left out any of those words, you

 5   are to understand that they belong there, "beyond a reasonable

 6   doubt •   II




 7                  Okay   Now-

 8                  MS. SASSOON:    Page 37

 9                  THE COURT:     Okay      See, I have very able prompters

10                  Oh, you're now going in ascending order rather than

II   descending order°

12                  MS. SASSOON:     I star red with the earliest, but I can-

13                  THE COURT     Listen, I'll go either way       I'm very

14   versatile on that, backwards and forwards

15                  Okay    In the course of charging you on the second

16   element of concealment money laundering, I am told that I

17   orally may have gone off script, so I'm going to read you that

18   paragraph again            But it is accurate in the typescript      And

19   that paragraph reads

20                  The second element of concealment money laundering is

21   that the financial transactions would have involved the

22   proceeds of specified unlawful activity               Here, the specified

23   unlawful activity is the wire fraud offense charged in Count

24   One, and I instruct you as a matter of law that the wire fraud

25   charged in Count One of the indictment, if proven beyond a


                           SOUTHERN DISTRICT REPORTERS, P C
                                      (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 135 of 232
                                       A-1215
     NB2lBAN5                          Charge                              3241

                                                         H
 1   reasonable doubt, meets the definition of               specified unlawful

 2   activity •   II
                       You must determine whether the funds involved in

 3   the financial transactions would have been proceeds of that

 4   unlawful activity

 5                Next

 6                MS. SASSOON:    Page 43, lines 18-19.        But perhaps some

 7   context is necessary

 8                THE COURT      Don't worry      I think I can handle it.

 9                I'll read you this whole paragraph           We were talking

10   here about conscious avoidance and willful blindness, and in

II   summing up par t of that, I left a "not" out somewhere              So I'm

12   now going to read it to you accurately, and this will be

13   reflected in an inter lineation in my handwriting, which I

14   promise to make arguably readable

15                Accordingly, if you find that the defendant was aware

16   of a high probability of a f act and that defendant acted with

17   deliberate disregard of the f acts, you may find that the

18   defendant knew that f act           However, if you find that the

19   defendant actually believed that the f act was not true, then

20   you may not find that he knew that f act

21                Next

22                MS. SASSOON:    Page 63, lines 18-20

23                THE COURT:     Yes     I neglected to tell you that if you

24   communicate with the Court before you reach a verdict, either

25   by a note or in the courtroom, you are not ever to indicate how

                         SOUTHERN DISTRICT REPORTERS, P C
                                       (212) 805-0300
             Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 136 of 232
                                        A-1216
     NB2lBAN5                           Charge                                  3242

 1   you are divided on the defendant's guilt or lack of guilt,

 2   unless I specifically ask you for it.

 3               And?

 4               MS. SASSOON:         Nothing further

 5               MR • COHEN         You've already addressed our point, your

 6   Honor      Thank you

 7               THE COURT          There was a place on page 28 where I was

 8   talking about securities fraud and I mistakenly said

 9   "fraudulent commerce      Iv
                                     instead of "fraudulent conduct •    11
                                                                               But

10   we 'II fix that one too            Thank you, Aditi

II               Okay     Now back to the alternates

12               You folks are temporarily excused, but you are subject

13   to re-call         I imagine Andy will tell you how to find out when

14   the case is finally over and you're done              You can always call

15   Andy     So if the five of you would kindly go with Andy, collect

16   your stuff, leave your notes with Andy, and we'll proceed from

17   there

18               (Alternates excused)

19               THE COURT          Please be seated

20               Now, members of the jury, it is ten after 3                  Let's

21   talk about the rest of the day

22              First of all, although I'm willing to stay till 8:15

23   if you want to stay till 8:15-car service, cafeteria,

24   dinner-but you're not obliged to              And it would be extremely

25   helpful if you could send us a note in the next half hour

                         SOUTHERN DISTRICT REPORTERS, P C
                                       (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 137 of 232
                                   A-1217
     n82l8An5                       Charge                                3243

 1   about-I have to be careful how I phrase this to get it exactly

 2   right-should we order supper, should we order car service

 3   Two different questions         You could do one without the other

 4   And it's a question of what you want            And if you want to order

 5   both against the possibility that you'll use it, that's okay

 6   too   The government can afford it.           I don't mean to say the

 7   government's money should be wasted            Obviously not      But we

 8   have to give advance notice to the vendors in order to make

 9   sure it's available should you need it, and that's a legitimate

10   purpose

II               So as soon as Andy gets back, we will send you out to

12   deliberate

13              First thing he's going to do is swear the officer, of

14   which these two were going to remind me

15               Oh, yes      I'm reminded that I committed to the court

16   staff that we would not keep you past 8           Somebody has a train

17   to catch

18               Swear the Marshal, please

19               THE DEPUTY CLERK     Okay     Would the Marshal please

20   come forward and raise his right hand

21               (Marshal sworn)

22               THE DEPUTY CLERK      Thank you

23               THE COURT:    Ladies and gentlemen, thank you for your

24   attention      You will get the charge in writing as soon as we

25   can Xerox enough copies         And we'll wrestle with the exhibit


                      SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 138 of 232
                                   A-1218
     NB2 MEAN6                                                          3252

 1               THE COURT:   Mr. Bandsman-Fried, please rise and face

 2   the jury box

 3               THE DEPUTY CLERK     As to Count One, wire fraud (FTX

 4   customers) how do you find the defendant, guilty or not guilty?

 5               THE FOREPERSONz    Guilty

 6               THE DEPUTY CLERK     As to Count Two, conspiracy to

 7   commit wire fraud (FTX customers), guilty or not guilty?

 8               THE FOREPERSON     Guilty

 9               THE DEPUTY CLERK     As to Count Three, wire fraud

10   (Lenders to Alameda Research), guilty or not guilty?

II               THE FOREPERSON     Guilty

12               THE DEPUTY CLERK     As to Count Four, conspiracy to

13   commit wire fraud (Lenders to Alameda Research) , guilty or not

14   guilty

15               THE FOREPERSON     Guilty

16               THE DEPUTY CLERK     As to Count Five, conspiracy to

17   commit securities fraud, guilty or not guilty?

18               THE FOREPERSON     Guilty

19               THE DEPUTY CLERK     As to Count Six, conspiracy to

20   commit commodities fraud, guilty or not guilty?

21               THE FOREPERSON     Guilty

22               THE DEPUTY CLERK     As to Count Seven, conspiracy to

23   commit money laundering, guilty or not guilty?

24               THE FOREPERSON     Guilty

25               THE DEPUTY CLERK     Thank you      Please be seated


                       SOUTHERN DISTRICT REPORTERS, P C
                                   (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 139 of 232
                                    A-1219
     NB2 MEAN6                                                             3253

 1               THE COURT:      There is another question, Andy

 2               THE DEPUTY CLERK      My apologies

 3               Is your unanimous verdict based on concealment money

 4   laundering, wire fraud proceeds money laundering, or both')

 5               THE FOREPERSON      Both

 6               THE COURT:      Thank you

 7               You may be seated, Mr. Bandsman-Fried

 8               Andy you can recapture the original verdict form.

 9               MR • COHEN      Your Honor, we would ask that the jurors

10   be polled.

II               THE COURT       Of course

12               The clerk will poll the jury

13               THE DEPUTY CLERK      Juror number 1, is that your

14   verdict?

15               JUROR :   Yes

16               THE DEPUTY CLERK      Juror number 2   I   is that your

17   verdict?

18               JUROR :   Yes

19               THE DEPUTY CLERK      Juror number 3   I   is that your

20   verdict?

21               JUROR :   Yes

22               THE DEPUTY CLERK      Juror number 4, is that your

23   verdict?

24               JUROR :   Yes

25               THE DEPUTY CLERK      Juror number 5, is that your


                       SOUTHERN DISTRICT REPORTERS, P C
                                    (212) 805-0300
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 140 of 232
                       A-1220
     Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 141 of 232
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Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 148 of 232
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Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 150 of 232
                       A-1230
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 151 of 232
                                               A-1231




                                       FTXTERMS OF SERVICE

Date: May 13, 2022

The following terms and conditions of service, together with any other documents expressly
incorporated herein, (collectively, the "Terms") constitute an agreement between you ("you",
"your" or "User") and FTX Trading Ltd, a company incorporated and registered in Antigua and
Barbuda (company number 17180) ("FTX Trading", "we", "our" or "us"), or a Service Provider in
respect of a Specified Service, and apply to your use of:
(A)     the Exchange and any Specified Service that may be offered to you by a Service Provider
        (collectively, the "Platform"), as a User to buy, sell, exchange, hold, stake, lend, borrow,
        send, receive or otherwise transact in (together, "transact in") or list Digital Assets,
(B)     the FTX Application Programming Interface ("API"), and
(C)     any other services offered through the FTX website (ftx.com) (the "Site") or any Mobile
        Application,
        (together, the "Services").
By registering for a Platform account ("Account") or using the Services, you agree that you have
read, understand and accept the Terms, including our Privacy Policy, Security Policy and Fee
Schedule, and you acknowledge and agree that you will be bound by and comply with the Terms.
Do not proceed with registering for an Account, or using the Services, if you do not understand and
accept the Terms in their entirety.
Section 21 (Right to change, suspend or discontinue Services) and Section 22 (Updates to Terms)
set out the terms on which we may, from time to time, change, suspend, or discontinue any aspect
of the Services and amend any part of the Terms.
Our Services are not offered to Restricted Persons (as defined in Section 3.3.1(A) below) or
persons who have their registered office or place of residence in the United States of America or
any Restricted Territory (as defined in Section 3.3.1(A) below).
FTX Trading's relationship with you under the Terms is as a trading platform provider only. FTX
Trading does not act as principal or counterparty with respect to trades entered into on the
Platform. Notwithstanding the foregoing:
(A)     FTX Trading may act as a counterparty for limited trades made for the purpose of
        liquidating fees collected on User trades, and
(B)     Affiliates of FTX Trading may execute trades on the Platform provided, however, that such
        Affiliates shall not be afforded any priority in trade execution.
Save in certain limited circumstances set out in Section 38.13 (Exception to arbitration), Section
38.12 (Arbitration) requires all Disputes to be resolved by way of legally binding arbitration on an
individual basis only and not as a claimant or class member in a purported class or representative
action. There is no judge or jury in arbitration and court review of an arbitration award is limited.
The laws of some jurisdictions may limit or not permit certain provisions of the Terms, such as
arbitration, indemnification, the exclusion of certain warranties or the limitation of certain liabilities.
In such a case, such provisions will apply only to the maximum extent permitted by the laws of
such jurisdictions.
In the Terms, unless the context otherwise requires, the definitions and rules of interpretation set
out in Schedule 1 shall apply.

1.      STRUCTURE OF TERMS
1.1     The Terms comprise:
        1.1 .1     the general terms and conditions set out above, in Sections 1 (Structure of
                   Terms) to 38 (General), and in Schedule 1 (Definitions and Interpretation), which


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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 152 of 232
                                           A-1232




                apply generally to you, your registration and use of an Account, and your use of
                the Services ("General Terms"),
      1.1.2     the policies, schedules and other documents of FTX Trading and its Affiliates
                incorporated by reference into the Terms, including our Privacy Policy, Security
                Policy and Fee Schedule ("FTX Policies"), and
      1.1.3     the terms and conditions set out in each Service Schedule, which shall also apply
                to the Specified Service referred to therein.
1.2   To the extent there is any conflict or inconsistency between the modules of the Terms,
      such conflict or inconsistency shall be resolved in the following order of precedence, unless
      a term or condition set out in a document of lower precedence is expressly identified as
      taking precedence over a document of higher precedence: General Terms, Service
      Schedules, Fee Schedule, Privacy Policy, Security Policy and other FTX Policies.
1.3   IMPORTANT: You acknowledge and agree that any Specified Service referred to in a
      Service Schedule shall be provided to you by the Service Provider specified in that Service
      Schedule. In such case, the Specified Service shall be provided to you on and subject to
      the Terms, with references in these General Terms to "FTX Trading" (or "we", "our" or "us")
      being read as references to the Service Provider specified in the Service Schedule, unless
      the context provides otherwise, and under no circumstances shall any other person,
      including any Affiliate of the Service Provider, be liable to you for the performance of any of
      the Service Provider's obligations under the Terms.

2.    RISK DISCLOSURES
      Before beginning to use the Services, you should ensure you have read and understand
      (and you represent and warrant that you have read and understand) the following risk
      disclosures and the risk disclosures set out in the Service Schedules. You should note that
      this is not an exhaustive list of all of the risks associated with Digital Assets and the
      Services.

2.1   No advice and no reliance
      2.1.1     FTX Trading does not advise on the merits of any particular transaction, trading
                risks, or tax consequences, and FTX Trading does not provide any other
                financial, investment, taxation or legal advice in connection with the Services. To
                the extent that we or our representatives provide market commentary, or any
                other information, the act of doing so is incidental to your relationship with us and
                such information should not be construed as investment or financial advice. Any
                decision by you to use the Services and transact in Digital Assets is your own
                independent decision. You represent that you are not relying on any
                communication (written or oral) by us as investment advice or as a
                recommendation to use the Services and transact in Digital Assets. FTX Trading
                will not be liable for any loss suffered by you or any third party.
      2.1.2     You accept the risk of trading Digital Assets. In entering into any transaction on
                the Platform, you represent that you have been, are, and will be solely
                responsible for making your own independent appraisal and investigations into
                the risks of such transaction and the underlying Digital Asset. You represent that
                you have sufficient knowledge, market sophistication, professional advice and
                experience to make your own evaluation of the merits and risks of any transaction
                entered into on the Platform or any underlying Digital Asset.
      2.1.3     FTX Trading is not your broker, intermediary, agent, or advisor and has no
                fiduciary relationship or obligation to you in connection with any trades or other
                decisions or activities effected by you using the Services.

2.2   Digital Asset transfers and volatility
      2.2.1     Trading in Digital Assets can be extremely risky and volatile. Digital Assets may
                have unique features that make them more or less likely to fluctuate in value.




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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 153 of 232
                                         A-1233




              Factors beyond FTX Trading's control, such as regulatory activity or
              unexplainable price volatility, may affect market liquidity for a particular Digital
              Asset. Blockchain networks may go offline as a result of bugs, Forks (as defined
              in Section 17 below), or other unforeseeable reasons. As a general matter, you
              should not engage in active trading on the Platform if you have limited trading
              experience or low risk tolerance. Speculating on the value of Digital Assets is
              high risk and you should never trade more than you can afford to lose.
      2.2.2   Understanding Digital Assets requires advanced technical knowledge. Digital
              Assets are often described in exceedingly technical language that requires a
              comprehensive understanding of applied cryptography and computer code in
              order to appreciate the inherent risks. The listing of a Digital Asset on the
              Platform does not indicate FTX Trading's approval or disapproval of the
              underlying technology of any Digital Asset and should not be used as a substitute
              for your own understanding of the risks specific to each Digital Asset. We provide
              no warranty as to the suitability of the Digital Assets traded under the Terms and
              assume no fiduciary duty to you in connection with such use of the Services.
      2.2.3   You accept all consequences of sending Digital Assets to an address off the
              Platform. Digital Asset transactions may not be reversible. Once you send Digital
              Assets to an address, you accept the risk that you may lose access to your Digital
              Assets indefinitely. For example, an address may have been entered incorrectly
              and the true owner of the address may never be discovered, or an address may
              belong to a person that will not return your Digital Assets or may return your
              Digital Assets but first require action on your part, such as verification of your
              identity or compensation.

2.3   Supply and value of Digital Assets
      2.3.1   The value of Digital Assets may be derived from the continued willingness of
              market participants to exchange Digital Assets for fiat currency and other Digital
              Assets, which may result in the permanent and total loss of value of a particular
              Digital Asset should the market for that Digital Asset disappear.
      2.3.2   You acknowledge and agree that Digital Assets and/or Services (in whole or in
              part) available in one jurisdiction may not be available for trading, use or access,
              as applicable, in another.

2.4   Margin trading
      2.4.1   Margin trading is HIGH RISK. As a borrower, you may sustain a total loss of
              Digital Assets, fiat currency and E-Money (as defined in Section 8.3.2 below
              (collectively, "Assets") in your Account, or owe Assets beyond what you have
              deposited in your Account. When you lend Assets to other Users, you risk the
              loss of an unpaid principal if the borrower defaults on a loan and liquidation of the
              borrower's Account fails to raise sufficient Assets to cover the borrower's debt.

2.5   Complex products
      2.5.1   Trading of complex products, including but not limited to Futures Contracts,
              Options Contracts, and MOVE Volatility Contracts (each as defined in the Service
              Schedules) (collectively, "Complex Products"), may not be suitable for all
              Users. Complex Product trading is designed to be utilised only by sophisticated
              Users, such as active traders employing dynamic strategies. You should use
              extreme caution when trading Complex Products and only trade them if you
              understand how they work, including but not limited to the risks associated with
              margin trading, the use of leverage, the risk of shorting, and the effect of
              compounding and market volatility risks on leveraged products.
      2.5.2   Complex Product trading entails significant risk, and you may feel the effects of
              losses immediately. Complex Product trading requires initial posting of collateral
              to meet initial margin requirements. If movements in the markets for a Complex




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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 154 of 232
                                          A-1234




              Product or the underlying Digital Asset decrease the value of your position in
              such Complex Product, you may be required to have or make additional collateral
              available as margin to ensure that maintenance margin requirements are met. If
              your Account is under the minimum margin requirements, your position may be
              liquidated at a loss, and you may lose all of your Assets in your Account. If there
              are any additional deficits in your Account, you will also be liable for all such
              deficits.
      2.5.3   USERS WHO DO NOT UNDERSTAND LEVERAGE OR MARGIN TRADING, OR
              DO NOT INTEND TO ACTIVELY MANAGE THEIR PORTFOLIO, SHOULD NOT
              ENGAGE IN COMPLEX PRODUCT TRADING.
      2.5.4   FTX TRADING AND ITS AFFILIATES DO NOT TAKE ANY RESPONSIBILITY
              WHATSOEVER FOR ANY LOSSES OR DAMAGE INCURRED AS A RESULT
              OF YOUR USE OF ANY COMPLEX PRODUCT TRADING SERVICES
              OFFERED ON THE PLATFORM OR YOUR FAILURE TO UNDERSTAND THE
              RISKS ASSOCIATED WITH COMPLEX PRODUCT TRADING.

2.6   Blacklisted addresses and forfeited Assets
      2.6.1   FTX Trading reserves the right to "blacklist" certain addresses and freeze
              associated Assets (temporarily or permanently) that it determines, in its sole
              discretion, are associated with illegal activity or activity that otherwise violates the
              Terms ("Blacklisted Addresses"). In the event that you send Assets to a
              Blacklisted Address or receive Assets from a Blacklisted Address, FTX Trading
              may freeze such Assets and take steps to terminate your Account.
      2.6.2   In certain circumstances, FTX Trading may deem it necessary to report such
              suspected illegal activity to applicable law enforcement agencies and other
              Regulatory Authorities, and you may forfeit any rights associated with your
              Assets, including the ability to redeem or exchange your Digital Assets for other
              Digital Assets or fiat currency. FTX Trading may also freeze Assets held in your
              Account in the event that we receive a related order or request from a legal or
              Regulatory Authority.

2.7   Software protocols and operational challenges
      2.7.1   The software protocols that underlie Digital Assets are typically open source
              projects or are otherwise operated by third parties, which means that: (i) the
              operations, functionalities, development and control of such Digital Assets and
              their underlying networks are outside of FTX Trading's control, and (ii) such
              software protocols are subject to sudden and dramatic changes that might have a
              significant impact on the availability, usability or value of a given Digital Asset.
      2.7.2   You are aware of and accept the risk of operational challenges that may impact
              the Services. The Platform may experience sophisticated Cyber-attacks,
              unexpected surges in activity or other operational or technical difficulties that may
              cause interruptions to the Services. You understand that the Services may
              experience operational issues that lead to delays. You agree to accept the risk of
              transaction failure resulting from unanticipated or heightened technical difficulties,
              including those resulting from sophisticated attacks. You agree not to hold FTX
              Trading liable for any related losses.
      2.7.3   You understand that the technology underlying Digital Assets is subject to change
              at any time, and such changes may affect your Digital Assets stored on the
              Platform. You are fully responsible for monitoring such technological changes and
              understanding their consequences for your Digital Assets.
      2.7.4   Users conduct all trading on their own account and FTX Trading does not take
              any responsibility for any loss or damage incurred as a result of your use of any
              Services or your failure to understand the risks associated with Digital Assets use
              generally or your use of our Services.




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         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 155 of 232
                                            A-1235




       2.7.5     Digital Assets depend on the availability and reliability of power, connectivity, and
                 hardware. Interruption or failure of any of these things may disrupt the networks
                 on which the Digital Assets rely or your ability to access or transact in Digital
                 Assets.

2.8    Compliance
       You are responsible for complying with all Applicable Laws. You agree that FTX Trading is
       not responsible for determining whether or which laws and regulations may apply to your
       transactions, including but not limited to tax laws and regulations. You are solely
       responsible for reporting and paying any taxes arising from your use of the Services.

2.9    Legislative and regulatory changes
       Legislative and regulatory changes or actions at the domestic or international level may
       adversely affect the use, transfer, ability to transact in, and value of Digital Assets, or your
       access to, and our ability to provide, the Services. You acknowledge and accept the risks
       that such changes may bring and that FTX Trading is not liable for any adverse impact that
       that you may suffer as a result.

2.10   No deposit protection
       Neither Digital Assets nor any fiat currency or E-Money held in your Account is eligible for
       any public or private deposit insurance protection.

2.11   Digital Asset Distributions not supported
       Certain Digital Assets are built on protocols that support Digital Asset Distributions (as
       defined in Section 17.4 below), including, but not limited to, Forks (as defined in Section
       17.1 below), Staking Rewards (as defined in Section 17.4 below) and Airdrops (as defined
       in Section 17.4 below). FTX Trading is not obligated to support any such Digital Asset
       Distributions for Users. If you hold these Digital Assets in your Account, you thereby forfeit
       the ability to claim any Digital Asset Distributions from FTX Trading. If you hold Digital
       Assets with proof-of-stake or delegated proof-of-stake consensus algorithms, FTX Trading
       may in its sole discretion stake these Digital Assets without any obligation to distribute
       Staking Rewards to you. Staking may subject your Digital Assets to additional risks and
       FTX Trading is not liable for losses you may incur related to staking.

2.12   Reliance on third parties

       Your use of the Services and the value of certain Digital Assets may rely on the acts of
       third parties or the fulfillment of related obligations by third parties. FTX Trading is not
       responsible for the acts or omissions of such third parties.

3.     APPLICABLE LAWS AND REGULATIONS

3.1    Compliance with Applicable Laws
       3.1.1     You agree and understand that by opening an Account and using the Services in
                 any capacity, you shall act in compliance with all Applicable Laws. Failure to do
                 so may result in the suspension of your ability to use the Services or the closure
                 of your Account
       3.1.2     Without limitation to the above, your access to and use of your Account and the
                 Services, and the receipt of any fee discounts and rebates, is subject to your
                 continued compliance with all Applicable Laws, including the rules and directions
                 of any applicable Regulatory Authority and, without limitation, all applicable tax,
                 anti-money laundering ("AML") and counter-terrorist financing ("CTF") laws and
                 regulations.




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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 156 of 232
                                           A-1236




3.2   AML and CTF procedures
      Our AML and CTF procedures are guided by all applicable rules and regulations regarding
      AML and CTF. These standards are designed to prevent the use of the Platform for money
      laundering or terrorist financing activities. We take compliance very seriously and it is our
      policy to take the necessary steps that we believe appropriate to prohibit fraudulent
      transactions, report suspicious activities, and actively engage in the prevention of money
      laundering and terrorist financing, any related acts that facilitate money laundering, terrorist
      financing or any other financial crimes.

3.3   Export controls
      3.3.1     The Services are subject to all applicable export control restrictions and, by using
                the Services, you represent that your actions are not in violation of such export
                control restrictions. Without limiting the foregoing, you may not use the Services
                if:
                (A)     you are in a prohibited jurisdiction as set forth at Location Restrictions
                        ("Restricted Territories");
                (B)     you are a member of any sanctions list or equivalent maintained by the
                        United States government, the United Kingdom government, the
                        European Union, the Singapore government, or The Bahamas
                        government ("Restricted Persons"),
                (C)     you intend to transact with any Restricted Territories or Restricted
                        Persons,
                (D)     you are located, incorporated or otherwise established in, or a citizen or
                        resident of a jurisdiction where it would be illegal under Applicable Law
                        for you (by reason of your nationality, domicile, citizenship, residence or
                        otherwise) to access or use the Services; or
                (E)     the publication or availability of the Services in the jurisdiction in which
                        you are based is prohibited or contrary to local law or regulation or could
                        subject FTX Trading to any local registration or licensing requirements.
      3.3.2     We may, in our sole discretion, implement controls to restrict access to and use
                of the Services in any of the Restricted Territories or in any of the circumstances
                referred to in Section 3.3.1 above. If we determine that you are accessing or
                using the Services from any Restricted Territory, or any of the circumstances
                referred to in Section 3.3.1 above apply, we may suspend your ability to use the
                Services or close your Account at our discretion.

4.    ELIGIBILITY
4.1   In order to be eligible to open an Account or use the Services (and to enter into the Terms),
      you must meet (and you represent and warrant that you do meet), the following eligibility
      criteria:
      4.1.1     If you are an individual, you must be at least 18 years of age, have the capacity to
                accept the Terms, and not have been previously suspended or removed from
                access to the Services or any other service or product offered by FTX Trading or
                any of its Affiliates, and are otherwise eligible to use the Services under
                Applicable Law.
      4.1.2     If you are registering to use the Services on behalf of a legal entity, then:
                (A)     you must be duly authorised by such legal entity to act on its behalf for
                        the purpose of entering into the Terms,
                (B)     the legal entity must be duly organised and validly existing under the laws
                        of the jurisdiction of its organisation, and
                (C)     the legal entity must not have been (and each of its Affiliates must not
                        have been) previously suspended or removed from access to the




                                                                                                       6
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 157 of 232
                                          A-1237




                        Services or any other service or product offered by FTX Trading or any of
                        its Affiliates and must be otherwise eligible to use the Services under
                        Applicable Law.
      4.1.3    You have not: violated, been fined, debarred, sanctioned, the subject of economic
               sanctions-related restrictions, or otherwise penalised under, received any oral or
               written notice from any government concerning actual or possible violation by you
               under; or received any other report that you are the subject or target of sanctions,
               restrictions, penalties, or enforcement action or investigation under, any
               Applicable Law (including but not limited to AML, CTF, anti-corruption, or
               economic sanctions laws).
      4.1.4    You do not have your registered office or place of residence in the United States
               of America or any Restricted Territory.
      4.1.5    You are not a Restricted Person nor are you a resident of a Restricted Territory,
               and
      4.1.6    You will not be using the Services for any illegal activity including, but not limited
               to, those Restricted Activities listed in Section 13 below.
4.2   If we determine that you do not fulfil any of the above criteria, then we may suspend your
      ability to use the Services or close your Account at our discretion.

5.    REGISTRATION PROCESS; IDENTITY VERIFICATION
5.1   When registering your Account, you must provide complete, accurate, up-to-date and not
      misleading information for all required elements on the registration page, including your full
      legal name. You also agree to provide us, when registering an Account and on an ongoing
      basis, with any additional information we request for the purposes of identity verification
      and the detection of money laundering, terrorist financing, fraud, or any other financial
      crime, including without limitation a copy of your government issued photo ID or evidence
      of residency such as a lease or utility bill. You permit us to keep a record of such
      information and authorise us to make any enquiries, directly or through third parties that we
      consider necessary to verify your identity or protect you and/or us against fraud or other
      financial crime, and to take any action we reasonably deem necessary based on the results
      of such inquiries. When we carry out these enquiries, you acknowledge and agree that
      your personal information may be disclosed to credit reference and fraud prevention or
      financial crime agencies and that these agencies may respond to our inquiries in full.
5.2   In certain circumstances, we may require you to submit additional information about
      yourself, your business, your source of wealth, or your transactions, provide records, and
      complete other verification steps (such process, "Enhanced Due Diligence").
5.3   You represent and warrant that any and all information provided to us in connection with
      registering your Account, using the Services, pursuant to the Terms or otherwise is
      complete, accurate, up-to-date and not misleading in any respect. If any such information
      changes, it is your obligation to update such information as soon as possible and provide
      such updates to us.
5.4   Your access to the Services and the limits that apply to your use of the Services may be
      altered as a result of information collected about you on an ongoing basis.
5.5   If any (or we suspect that any) of the information that you have provided to us is not
      complete, accurate, up-to-date or misleading in any respect, or you fail to provide updates
      to any information that you have provided to us to ensure that it is complete, accurate, up-
      to-date and not misleading in any respect on a timely basis, we may suspend your ability to
      use the Services or close your Account at our discretion.
5.6   We reserve the right to maintain your Account registration information after you close your
      Account for business and regulatory compliance purposes, subject to Applicable Laws.




                                                                                                        7
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 158 of 232
                                           A-1238




6.    YOUR ACCOUNT; SECURITY OF USER INFORMATION
6.1   You may access your Account (and the Services) directly via the Site, via a Mobile
      Application or by such other mode of access (including but not limited to through the APIs)
      as FTX Trading may prescribe from time to time, using the account names, User IDs,
      passwords, and other security features ("User Credentials and Security Passwords")
      made available to you by FTX Trading for the purposes of enabling you to access your
      Account (and the Services). You are responsible for maintaining the confidentiality and
      security of any and all User Credentials and Security Passwords, which includes the
      enabling of all relevant security features. You are responsible for keeping your email
      address up to date in your Account profile.
6.2   You are only permitted to access your Account using your own User Credentials and
      Security Passwords. You must ensure that your Account is not used by any other third
      party and you must not share your User Credentials and Security Passwords with any third
      party. You are solely responsible for all activity on your Account.
6.3   You agree to notify FTX Trading immediately if you become aware of any breach of
      security, loss, theft or unauthorised use of your User Credentials and Security Passwords,
      or unauthorised use of the Services via your Account, or any other breach of security
      regarding the Services. FTX Trading will not be liable for any loss or damage arising from
      your failure to protect your Account or your User information. lt is important that you
      regularly check your Account balance and your transaction history to ensure any
      unauthorised transactions or incorrect transactions are identified and notified to us at the
      earliest possible opportunity.
6.4   FTX Trading reserves the right to suspend your ability to use the Services or close your
      Account if we suspect that the person logged into your Account is not you or we become
      aware of or suspect that there has been any breach of security, loss, theft or unauthorised
      use of your User Credentials and Security Passwords.
6.5   In order to access your Account (and the Services) you must have the necessary
      equipment (such as a computer or Smartphone) and access to the Internet. You are solely
      responsible for your own hardware used to access the Services and are solely liable for the
      integrity and proper storage of any data associated with the Services that is stored on your
      own hardware. You are responsible for taking appropriate action to protect your hardware
      and data from viruses and malicious software, and any inappropriate material. Except as
      provided by Applicable Law, you are solely responsible for backing up and maintaining
      duplicate copies of any information you store or transfer through our Services. Neither FTX
      Trading nor any other Indemnified Party shall be liable to you: (i) in the event that your
      hardware fails, is damaged or destroyed or any records or data stored on your hardware
      are corrupted or lost for any reason, (ii) for any damage or interruptions caused by any
      computer viruses, spyware, or other malware that may affect your computer or other
      equipment, or any phishing, spoofing, or other attack; or (iii) for your use of the Internet to
      connect to the Services or any technical problems, system failures, malfunctions,
      communication line failures, high internet traffic or demand, related issues, security
      breaches or any similar technical problems or defects experienced.

7.    ORDER BOOK AND CONVERT
7.1   FTX Trading operates Order Books on which Orders may be placed by Users to be
      matched with the Orders of other Users. The Order types that FTX Trading may offer from
      time to time in its sole discretion include but are not limited to "market" ,"limit", "stop-loss
      limit", "stop-loss market", "trailing stop" and "take profit limit" orders. FTX Trading may
      issue trading rules from time to time that apply to Orders placed on the Order Book, in
      addition to these General Terms.
7.2   The Convert function on the Platform also allows you to submit instructions ("Convert
      Instructions") to exchange (buy or sell) one spot Asset for another. Each Convert
      transaction is subject to the applicable Exchange Rate quoted for the given transaction and
      the applicable time limits for such quote. The "Exchange Rate" means the price of a given
      Digital Asset as quoted on your "Wallet" page on the Site or any Mobile Application. The




                                                                                                         8
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 159 of 232
                                            A-1239




       Exchange Rate is stated either as a "Buy Price" or as a "Sell Price", which is the price at
       which you may buy or sell the Asset, respectively.
7.3    The Exchange Rate quoted will depend on market conditions, and you are under no
       obligation to execute a Convert transaction at any Exchange Rate quoted to you. You
       acknowledge that the Buy Price Exchange Rate may not be the same as the Sell Price
       Exchange Rate at any given time, and that there may be a 'spread' to the quoted
       Exchange Rate. You agree to accept the Exchange Rate when you authorise a Convert
       transaction.
7.4    We do not guarantee the availability of any Exchange Rate and we do not guarantee that
       you will be able to buy and/or sell your Assets using Convert or on the Order Book at any
       particular price or time.
7.5    You are solely responsible for accurately entering any Order or Convert Instruction,
       including but not limited to all the necessary information in order to enable us to carry out
       any Order or Convert Instruction. FTX Trading is not obliged to verify the accuracy or
       completeness of any such information, Order or Convert Instruction.
7.6    You agree that any Order or Convert Instruction received or undertaken through your
       Account shall be deemed to be final and conclusive, and that FTX Trading may act upon
       such Order or Convert Instruction. We shall not be under any obligation to verify the
       identity or authority of any person giving any Order or Convert Instruction or the
       authenticity of such Order or Convert Instruction.
7.7    Your Orders and Convert Instructions shall be irrevocable and unconditional and shall be
       binding on you, and such Orders and Convert Instructions may be acted or relied upon by
       us irrespective of any other circumstances. As such, once you give any Order or Convert
       Instruction, you have no right to rescind or withdraw such Order or Convert Instruction
       without our written consent.
7.8    Each of your Orders and Convert Instructions shall not be considered to be received by
       FTX Trading unless and until it has been received by FTX Trading's server. FTX Trading's
       records of all Orders and Convert Instruction shall be conclusive and binding on you for all
       purposes.
7.9    Under no circumstances shall any of the Indemnified Parties be responsible or liable to you
       for any Losses suffered or incurred by you or any other person arising from any of the
       Indemnified Parties relying or acting upon any Order or Convert Instruction which is given
       or purported to be given by you, regardless of the circumstances prevailing at the time of
       such Order or Convert Instruction.
7.10   You hereby authorise FTX Trading to credit or debit (or provide settlement information to
       third parties for the purposes of the third party crediting or debiting) your Assets from your
       Account in accordance with your Orders and Convert Instructions. We reserve the right not
       to effect any transaction if you have insufficient Assets in your Account.

8.     ACCOUNT FUNDING

8.1    Funding General
       8.1.1     In order to fund your Account and begin transacting in Digital Assets using the
                 Platform, you must first procure Digital Assets (or deposit Digital Assets that you
                 already own into your Account) and/or load fiat currency into your Account.
       8.1.2     You should be aware that FTX Trading: (i) may not support the loading into
                 and/or storing of fiat currency in your Account in all jurisdictions, and (ii) does not
                 support the use of all fiat currencies. A partial list of fiat currencies supported by
                 FTX Trading can be found here. This list may be amended from time to time by
                 FTX Trading at its sole discretion.
       8.1.3     Any available Assets held in your Account is available to be locked and used as
                 collateral for margin trading, or to fund trades, in relation to any Services or part
                 thereof offered through the Platform by FTX Trading or its Affiliates.




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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 160 of 232
                                          A-1240




8.2   Digital Assets
      8.2.1   The Platform supports deposits and withdrawals of certain Digital Assets,
              including certain U.S. Dollar-pegged stablecoins (each a "USD Stablecoin").
              You may deposit Digital Assets that you already own into your Account by
              generating an address within your Account and sending your Digital Assets to
              such address, after which they should appear in your Account balance (USD
              Stablecoins will appear in your "USD Stablecoins (USD)" balance).
      8.2.2   You may purchase Digital Assets in exchange for certain supported fiat
              currencies (depending on your location) by linking a valid payment method to
              your Account. In such circumstances, you authorise us to debit the relevant
              amount of fiat currency using your selected payment method(s) to complete your
              purchase.
      8.2.3   The Platform enables you to exchange one Digital Asset for another Digital Asset,
              send Digital Assets to and receive Digital Assets from other Users of the
              Services, or third parties outside of the Platform (where permitted by FTX Trading
              in its sole discretion).
      8.2.4   You may sell Digital Assets in exchange for certain supported fiat currencies
              (depending on your location). In such circumstances, you authorise us to debit
              your Account and to send instructions to credit your selected payment method(s)
              in settlement of sell transactions.
      8.2.5   FTX Trading makes no representations or warranties regarding the amount of
              time, transaction fees or other requirements that may be required to complete the
              transfer of your Digital Assets to or from a third party wallet or other source and
              for said Digital Assets to become available in your Account.
      8.2.6   All Digital Assets are held in your Account on the following basis:
              (A)      Title to your Digital Assets shall at all times remain with you and shall not
                       transfer to FTX Trading. As the owner of Digital Assets in your Account,
                       you shall bear all risk of loss of such Digital Assets. FTX Trading shall
                       have no liability for fluctuations in the fiat currency value of Digital Assets
                       held in your Account.
              (B)      None of the Digital Assets in your Account are the property of, or shall or
                       may be loaned to, FTX Trading, FTX Trading does not represent or treat
                       Digital Assets in User's Accounts as belonging to FTX Trading.
              (C)      You control the Digital Assets held in your Account. At any time, subject
                       to outages, downtime, and other applicable policies (including the
                       Terms), you may withdraw your Digital Assets by sending them to a
                       different blockchain address controlled by you or a third party.
      8.2.7   FTX Trading is under no obligation to issue any replacement Digital Asset in the
              event that any Digital Asset, password or private key is lost, stolen,
              malfunctioning, destroyed or otherwise inaccessible.
      8.2.8   lt is your responsibility to ensure that you send all Digital Assets, to the correct
              address provided for that particular Digital Asset, including with respect to any
              Digital Assets that you send to the Platform. If you send a Digital Asset to an
              address that does not correspond to that exact Digital Asset (such as an address
              not associated with your Account or the specific Digital Asset sent), such Digital
              Asset may be lost forever. By sending any Digital Assets to the Platform, you
              attest that you will only send a supported Digital Asset to the Platform wallet
              address provided to you. For example, if you select an Ethereum Platform wallet
              address to receive funds, you attest that you are initiating an inbound transfer of
              Ethereum alone, and not any other forms of Digital Assets. You agree that FTX
              Trading incurs no obligation whatsoever with regards to sending unsupported
              Digital Assets to an address provided to you on the Platform. Similarly, if you




                                                                                                     10
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 161 of 232
                                          A-1241




               send a Digital Asset from your Account to an external address that does not
               correspond to that exact Digital Asset, such Digital Asset may be lost forever.
      8.2.9    You assume all liability for any Losses incurred as a result of sending Digital
               Assets to an incorrect address (such as typos, errors, copy-paste attacks, or an
               address not associated with your Account, or an address not associated with the
               specific Digital Asset). You are solely liable for verifying the accuracy of any
               external wallet address, and the identity of the recipient. All outbound transfers of
               Digital Assets cannot be reversed once they are broadcast to the underlying
               blockchain network. FTX Trading does not control any blockchain network and
               cannot guarantee that any transfer will be confirmed or transferred successfully
               by the network. FTX Trading is not responsible for any losses or for taking any
               actions to attempt to recover any lost, stolen, misdirected or irrecoverable Digital
               Assets. If the Digital Assets are recoverable, we may in our sole discretion
               attempt to recover them, but such recovery efforts are in no way guaranteed.
               Please be aware that if you attempt to deposit ETH to your Account by sending it
               via a smart contract, your ETH may not be automatically credited, and may take
               time to recover, and may not be recovered at all.
      8.2.10   When you elect to transfer Digital Assets from your Account to a third party wallet
               address or other location, it is always possible that the party administering the
               new location may reject your transfer or that the transfer may fail due to technical
               or other issues affecting the Platform. You agree that you shall not hold FTX
               Trading liable for any damages arising from a rejected or failed transfer.
      8.2.11   You hereby represent and warrant to us that any Digital Assets used by you in
               connection with the Services (including any Digital Assets used to fund your
               Account) are either owned by you or that you are validly authorised to carry out
               transactions using such Digital Assets, and that all transactions initiated with your
               Account are for your own Account and not on behalf of any other person.
      8.2.12   lt is your responsibility entirely to provide us with correct details of any withdrawal
               address. We accept no liability resulting in you or any third party not receiving
               Digital Assets withdrawn by you due to you providing incorrect, erroneous,
               incompatible or out-of-date details.

8.3   Fiat currency
      8.3.1    Where specified on the Site or in a Service Schedule, and depending on your
               location, the Platform may support various fiat currencies for deposit, withdrawal,
               and/or trading, using wire transfers, credit cards, or other appropriate methods.
      8.3.2    Once we receive fiat currency that you load into your Account, we may issue you
               with an equivalent amount of electronic money ("E-Money"), denominated in the
               relevant fiat currency, which represents the fiat currency that you have loaded.
               This amount will be displayed in your Account.
      8.3.3    E-MONEY IS NOT LEGAL TENDER. FTX TRADING IS NOT A DEPOSITORY
               INSTITUTION AND YOUR E-MONEY IS NOT A DEPOSIT OR INVESTMENT
               ACCOUNT. YOUR E-MONEY ACCOUNT IS NOT INSURED BY ANY PUBLIC
               OR PRIVATE DEPOSIT INSURANCE AGENCY.
      8.3.4    E-Money held in your Account will not earn any interest. Your Account may hold
               E-Money denominated in different currencies and we will show the E-Money
               balance for each currency that you hold.
      8.3.5    You may purchase Digital Assets by using E-Money credited to your Account
               (depending on your location). To carry out a Digital Asset purchase using E-
               Money, you must follow the relevant instructions on the Site. You authorise us to
               debit E-Money from your Account to complete your purchase. Although we will
               attempt to deliver Digital Assets to you as promptly as possible, E-Money may be
               debited from your Account before Digital Assets are delivered to your Account.




                                                                                                    11
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 162 of 232
                                           A-1242




      8.3.6     You may sell Digital Assets in exchange for certain fiat currencies (depending on
                your location). To carry out a Digital Asset sale, you must follow the relevant
                instructions on the Site. You authorise us to debit Digital Assets from your
                Account and send instructions to credit your Account with the relevant amount of
                fiat currency. Once we receive the fiat currency, we will issue you with an
                equivalent amount of E-Money denominated in the relevant fiat currency.
      8.3.7     You may redeem all or part of any E-Money held in your Account at any time
                subject to outages, downtime, and other applicable policies (including the Terms),
                by selecting the relevant option in the Site and following the instructions. Unless
                agreed otherwise, funds will be transferred to the bank account you have
                registered with us. You hereby represent and warrant that this bank account is
                your own, and that you have full control over it. lt is your responsibility entirely to
                provide us with correct details of your withdrawal account. We accept no liability
                resulting in you not receiving any amounts withdrawn by you due to you providing
                incorrect or out-of-date details.
      8.3.8     If the Terms are terminated, we may redeem any E-Money remaining in your
                Account and attempt to transfer the equivalent amount of fiat currency to the bank
                account you have registered with us. Prior to redeeming E-Money from your
                Account, we may conduct checks for the purposes of preventing fraud, money
                laundering, terrorist financing and other financial crimes, and as required by
                Applicable Law. This may mean you are prevented or delayed from withdrawing
                E-Money until those checks are completed to our reasonable satisfaction in order
                to comply with our regulatory requirements.

9.    UNCLAIMED OR ABANDONED PROPERTY
9.1   If FTX Trading is holding Assets in your Account ("Unclaimed or Abandoned Property"),
      and we are unable to contact you and have no record of your use of the Services for a
      prolonged period of time or your Account has been closed, Applicable Laws may require us
      to report such Unclaimed or Abandoned Property as unclaimed property to the applicable
      jurisdiction. If this occurs, FTX Trading will try to locate you using the details shown in our
      records in relation to your Account, but if FTX Trading is unable to locate you, we may be
      required to deliver any such Unclaimed or Abandoned Property to the applicable
      jurisdiction as unclaimed property. FTX Trading reserves the right to deduct a dormancy
      fee or other administrative charges from such Unclaimed or Abandoned Property, as
      permitted by Applicable Laws.
9.2   If FTX Trading is holding Unclaimed or Abandoned Property, and we are unable to contact
      you and have no record of your use of the Services for a prolonged period of time or your
      Account has been closed, and Applicable Laws do not require us to report such Unclaimed
      or Abandoned Property as unclaimed property to the applicable jurisdiction, then you
      acknowledge and agree that your Account may be transferred to FTX Trading, or an
      Affiliate of FTX Trading, as Trustee of the Unclaimed or Abandoned Property. FTX Trading
      or the Affiliate of FTX Trading (as applicable), as Trustee, will hold the Unclaimed or
      Abandoned Property on your behalf and shall, on demand, repay to you the Unclaimed or
      Abandoned Property subject to your payment of any dormancy fee or other administrative
      charges that the Trustee may deduct from the Unclaimed or Abandoned Property. If no
      such demand is made by you, the Trustee may pay the Unclaimed or Abandoned Property
      into court in the applicable jurisdiction in accordance with Applicable Laws.
9.3   If we receive legal documentation confirming your death or other information leading us to
      believe you have died, we will freeze your Account and during this time, no transactions
      may be completed until: your designated fiduciary has opened a new Account, as further
      described below, and the entirety of your Account has been transferred to such new
      account, or (ii) we have received proof in a form satisfactory to us that you have not died. If
      we have reason to believe you may have died but we do not have proof of your death in a
      form satisfactory to us, you authorise us to make enquiries, whether directly or through
      third parties, that we consider necessary to ascertain whether you have died. Upon receipt
      by us of proof satisfactory to us that you have died, the fiduciary you have designated in a




                                                                                                     12
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 163 of 232
                                             A-1243




       valid will or similar testamentary document will be required to open a new Account. If you
       have not designated a fiduciary, then we reserve the right to treat as your fiduciary any
       person entitled to inherit your Account, as determined by us upon receipt and review of the
       documentation we, in our sole and absolute discretion, deem necessary or appropriate,
       including (but not limited to) a will, a living trust or other similar documentation, or (ii)
       require an order designating a fiduciary from a court having competent jurisdiction over
       your estate. In the event we determine, in our sole and absolute discretion, that there is
       uncertainty regarding the validity of the fiduciary designation, we reserve the right to
       require an order resolving such issue from a court of competent jurisdiction before taking
       any action relating to your Account. Pursuant to the above, the opening of a new Account
       by a designated fiduciary is mandatory following the death of an Account owner, and you
       hereby agree that your fiduciary will be required to open a new Account in order to gain
       access to the contents of your Account.

10.    DEBIT ACCOUNT BALANCE
10.1   If at any time your Account has a debit balance, you agree to pay us: (i) the applicable fees
       set out in the Fee Schedule, (ii) the total debit balance, and (iii) such other amounts
       specified in the Terms.
10.2   If you fail to pay such amounts, we may suspend your ability to use the Services or close
       your Account. We also reserve the right to debit your Account accordingly and/or to
       withhold amounts from fiat currency and Digital Assets that you may transfer to your
       Account.
10.3   If, after a demand is made by FTX Trading, you have not made payment of the outstanding
       debit balance by the time stated in the demand, then:
       10.3.1    you authorise us to sell any Digital Assets or redeem any fiat currency or E-
                 Money in your Account to recover the outstanding debit balance;
       10.3.2    you agree to indemnify us and each other Indemnified Party against all Losses
                 that we suffer or incur as a result of your not paying the outstanding debit
                 balance, and
       10.3.3    you will be liable for all costs which we incur in relation to instructing a collection
                 agency, law firm or other third party to assist with and advise on the collection of
                 such outstanding debit balance (where applicable).

11.    THIRD PARTY PERMISSIONS TO CONNECT TO OR ACCESS YOUR ACCOUNT
       If you grant express permission to a third party to connect to your Account, either through
       the third party's product or through the Platform, you acknowledge that granting permission
       to a third party to take specific actions on your behalf does not relieve you of any of your
       responsibilities under the Terms. Further, you acknowledge and agree that you will not hold
       FTX Trading responsible for, and will indemnify FTX Trading from, any liability arising from
       the actions or inactions of such third party in connection with the permissions you grant.

12.    ACCOUNT SUSPENSION AND CLOSURE; SERVICE SUSPENSION AND
       TERMINATION
12.1   FTX Trading may, in its sole and absolute discretion and at any time, without liability to you
       or any third party:
       12.1.1    refuse to let you open an Account, suspend your Account, or terminate your
                 Account,
       12.1 .2   decline to process any instruction or Order submitted by you, and/or
       12.1 .3   limit, suspend or terminate your use of one or more, or part of, the Services.
12.2   Such actions will not relieve you from your obligations pursuant to the Terms.
12.3   Such actions may be taken as a result of a number of factors, including without limitation:




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         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 164 of 232
                                            A-1244




       12.3.1    as a result of account inactivity, your failure to respond to customer support
                 requests, our failure or inability to positively identify you,
       12.3.2    as a result of a court order or your violation of Applicable Laws or the Terms, or
       12.3.3    where we believe that a transaction is suspicious or may involve fraud, money
                 laundering, terrorist financing or other misconduct.
12.4   If you do not agree with any actions taken by us under Section 12.1, then your sole and
       exclusive remedy is to terminate your use of the Services and close your Account. You
       agree that neither we nor any other Indemnified Party shall be liable to you or any third
       party for any Losses suffered as a result of any actions taken by us under Section 12.1 .
12.5   Without limitation to the foregoing, we may temporarily suspend access to your Account in
       the event that a technical problem causes a system outage or Account errors until the
       problem is resolved.
12.6   Where required by Applicable Laws, we will notify you promptly if we have suspended
       processing your Orders or Convert Instructions and, if possible, provide our reasons for
       doing so and anything you can do to correct or remedy the matters giving rise to such
       suspension.
12.7   You may close your Account or terminate your access to and use of the Services at any
       time upon request to FTX Trading, in accordance with the Terms. In order to close your
       Account or terminate your access to and use of the Services, you should contact us for
       assistance. You may not close an Account if we determine, in our sole discretion, that such
       closure is being performed in an effort to evade a legal or regulatory investigation or to
       avoid paying any amounts otherwise due to FTX Trading or its Affiliates.
12.8   We encourage you to withdraw any remaining balance of Assets prior to issuing a request
       to close your Account. We reserve the right to restrict or refuse to permit withdrawals from
       your Account if:
       12.8.1    your Account has otherwise been suspended or closed by us in accordance with
                 the Terms,
       12.8.2    to do so would be prohibited by Applicable Laws or court order, or we have
                 determined that the Assets in your Account were obtained fraudulently; or
       12.8.3    you have not completed the required identity verification procedure. You can
                 check whether or not your identity has been verified by reviewing your verification
                 status under the "Settings" section of your Account.
12.9   Upon closure or suspension of your Account, you authorise FTX Trading to cancel or
       suspend pending transactions.
12.10 Notwithstanding that you or FTX Trading closes or deactivates your Account or terminates
      or suspends your access to and use of any Services, or the termination or expiry of the
      Terms, you shall remain liable for all activity conducted with or in connection with your
      Account while it was open, and for all amounts due in connection with such activity.

13.    RESTRICTED ACTIVITIES
       In connection with your use of the Services, you agree that you will not:
       13.1 .1   violate or assist any party in violating any Applicable Laws or any rule of any self-
                 regulatory or similar organisation of which you are or are required to be a
                 member through your use of the Services,
       13.1.2    provide false, inaccurate, incomplete, out-of-date or misleading information,
       13.1.3    infringe upon FTX Trading's or any third party's copyrights, patents, trademarks,
                 or other intellectual property rights,
       13.1.4    engage in any illegal activity, including without limitation illegal gambling, money
                 laundering, fraud, blackmail, extortion, ransoming data, the financing of terrorism,
                 other violent activities or any prohibited market practices,




                                                                                                      14
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 165 of 232
                                            A-1245




       13.1.5    distribute unsolicited or unauthorised advertising or promotional material, written
                 media releases, public announcements and public disclosures, junk mail, spam or
                 chain letters;
       13.1.6    use a web crawler or similar technique to access our Services or to extract data,
       13.1.7    reverse engineer or disassemble any aspect of the Site, the API, or the Services
                 in an effort to access any source code, underlying ideas and concepts and
                 algorithms,
       13.1.8    perform any unauthorised vulnerability, penetration or similar testing on the API
                 or Services,
       13.1.9    take any action that imposes an unreasonable or disproportionately large load on
                 our infrastructure, or detrimentally interfere with, intercept, or expropriate any
                 system, data or information,
       13.1.10 transmit or upload any material to the Site that contains viruses, Trojan horses,
               worms, or any other harmful or deleterious programs,
       13.1.11 otherwise attempt to gain unauthorised access to or use of the Site, the API,
               other FTX Accounts, computer systems, or networks connected to the Site,
               through password mining or any other means,
       13.1.12 transfer any rights granted to you under the Terms,
       13.1.13 engage in any activity which, in our reasonable opinion, amounts to or may
               amount to market abuse including without limitation the carrying out of fictitious
               transactions or wash trades, front running or engaging in disorderly market
               conduct,
       13.1.14 engage in any behaviour which is unlawful, violates the Terms, or is otherwise
               deemed unacceptable by FTX Trading in its sole discretion, or
       13.1.15 assist, facilitate or encourage any third party in undertaking any activity otherwise
               prohibited by the Terms.

14.    ELECTRONIC TRADING TERMS
14.1   FTX Trading may, in its sole discretion, choose to discontinue support for a currently listed
       or supported Digital Asset at any time, including without limitation where there are changes
       in the characteristics of such Digital Asset.
14.2   A transaction on the Platform may fail for several reasons including, without limitation, as a
       result of a change in prices, insufficient margin, or unanticipated technical difficulties. FTX
       Trading makes no representation or warranty that any transaction will be executed
       properly. Under no circumstances are we liable for any loss or injury suffered by a failure of
       a transaction to complete properly or in a timely manner. Further, we are in no way
       responsible for notifying you of a transaction failure, although you are able to see any such
       failures via your Account. You have full responsibility for determining and inquiring into the
       failure of any transaction which you initiate.
14.3   In the event that you receive any data, information, or software through our Services other
       than that which you are entitled to receive pursuant to the Terms, you will immediately
       notify us and will not use, in any way whatsoever, such data, information or software. If you
       request a withdrawal of Digital Assets and we cannot comply with it without closing some
       part of your open positions, we will not comply with the request until you have closed
       sufficient positions to allow you to make the withdrawal.
14.4   We may refuse to execute a trade or impose trade amount limits or restrictions at any time,
       in our sole discretion without notice. Specifically, we reserve the right to refuse to process,
       and the right to cancel or reverse, any transaction, as well as to revoke access to a User's
       deposit address on the Platform, where we suspect the transaction involves money
       laundering, terrorist financing, fraud, or any other type of crime or if we suspect the
       transaction relates to a prohibited use as stated in the Terms. FTX Trading reserves the




                                                                                                     15
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 166 of 232
                                             A-1246




       right to halt deposit activity at our sole discretion. A User may not change, withdraw, or
       cancel its authorisation to make a transaction, except with respect to partially filled Orders.
14.5   FTX Trading may correct, reverse, or cancel any trade impacted by an error in processing
       a User's transaction or otherwise. The User's remedy in the event of an error will be limited
       to seeking to cancel an Order or Convert Instruction or obtaining a refund of any amounts
       charged to the User. FTX Trading cannot guarantee such cancellations or refunds will
       always be possible.
14.6   Orders placed on the Order Book may be partially filled or may be filled by one or more
       Orders placed on the Order Book by other Users, depending on the trading activity on the
       Order Book at the time an Order is placed.
14.7   The Digital Assets available for purchase through the Platform may be subject to high or
       low transaction volume, liquidity, and volatility at any time for potentially extended periods.
       You acknowledge that while FTX Trading uses commercially reasonable methods to
       provide Exchange Rate information to you through the Plat'form, the Exchange Rate
       information we provide may differ from prevailing exchange rates made available by third
       parties. Similarly, the actual market rate at the time of your trade may be different from the
       indicated Exchange Rate. You agree that you assume all risks and potential losses
       associated with price fluctuations or differences in any actual versus indicated Exchange
       Rates.

15.    STAKING
15.1   When you hold Digital Assets on the Platform you may be given the option to "stake" these
       assets via staking services provided by FTX Trading or its Affiliates. You are not required
       to stake any Digital Assets and you can opt out of any staking services (subject to
       applicable early withdrawal limits or penalties as specified on the staking page for such
       Digital Asset). If you stake your Digital Assets, FTX Trading or its Affiliate will facilitate the
       staking of such Digital Assets on your behalf. You agree and acknowledge that you have
       no right to any staking rewards whatsoever. FTX TRADING DOES NOT GUARANTEE
       THAT YOU WILL RECEIVE ANY STAKING REWARDS OVER TIME, INCLUDING THE
       DISPLAYED STAKING REWARDS RATES.
15.2   The tax treatment of staking Digital Assets is uncertain, and it is your responsibility to
       determine what taxes, if any, arise from the transactions. You are solely responsible for
       reporting and paying any applicable taxes arising from staking services and all related
       transactions, and acknowledge that FTX Trading does not provide investment, legal, or tax
       advice to you in connection with such election to participate. You should conduct your own
       due diligence and consult your advisors before making any investment decision including
       whether to participate in staking and related transactions.

16.    MARGIN TRADING
16.1   This Section 16 applies only to the extent you are permitted to engage in margin trading on
       the Platform. Margin trading is prohibited in certain jurisdictions, and you may not be able
       to engage in margin trading on the Platform. We reserve the right to amend and/or remove
       margin trading functionality at any time.
16.2   Margin trading is HIGH RISK. As a borrower, you may sustain a total loss of Assets or owe
       Assets beyond what you have deposited to your Account. The high volatility and
       substantial risk of illiquidity in markets means that you may not always be able to liquidate
       your position. You agree to maintain a sufficient amount of Assets at all times to meet our
       margin requirements, as such requirements may be modified from time to time. If the value
       of the Assets in your Account falls below the margin maintenance requirement or we
       determine, in our sole discretion, that your Account appears to be in danger of defaulting
       on a loan, we may seize and/or liquidate any or all of your positions and Assets on any
       balance in your Account in order to reduce your leverage or settle your debt to other Users,
       in which case, you may sustain a total loss of all Assets in your Account. Our liquidation
       mechanism is described at https://help.ftx.com/hc/en-us/articles/360027668712-
       Liquidations. If, after your positions and Assets are liquidated, your Account still contains




                                                                                                       16
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 167 of 232
                                             A-1247




       insufficient Assets to settle your debts to other Users, you will be responsible for any
       additional Assets owed. intentionally defaulting on a loan may result in our reporting your
       activities to authorities and/or in legal prosecution.
16.3   When you lend Assets to other Users, you risk the loss of an unpaid principal if the
       borrower defaults on a loan and liquidation of the borrower's Account fails to raise sufficient
       Assets to cover the borrower's debt. Although we take precautions to prevent borrowing
       Users from defaulting on loans, the high volatility and substantial risk of illiquidity in
       markets means that we cannot make any guarantees to any Users using the Services
       against default.
16.4   Under certain market conditions, it may become difficult or impossible to liquidate a
       position. This can occur, for example, if there is insufficient liquidity in the market or due to
       technical issues on the Platform. Placing contingent Orders, such as "stop-loss" or "stop-
       limit" Orders, will not necessarily limit your losses to the intended amounts, since market
       conditions may make it impossible to execute such Orders. In such an event, our backstop
       liquidity provider program may come into play, but there is no assurance or guarantee that
       any such program activities will be sufficient or effective in liquidating your position. As a
       result, you may lose all of your Assets or incur a negative balance in your Account. In
       addition, even if you have not suffered any liquidations or losses, your Account balance
       may be subject to clawback due to losses suffered by other Users.
16.5   The use of leverage can work against you as well as for you and can lead to large losses
       as well as gains. Users conduct all trading, margin trading, lending, and/or borrowing on
       their own account and we do not take any responsibility for any loss or damage incurred as
       a result of your use of any Services or your failure to understand the risks associated with
       margin trading on the Platform.

17.    FORKS AND DISTRIBUTIONS
17.1   As a result of the decentralised and open source nature of Digital Assets it is possible that
       sudden, unexpected, controversial or other changes ("Forks") can be made to any Digital
       Asset that may change the usability, functions, compatibility, value or even name of a given
       Digital Asset. Such Forks may result in multiple versions of a Digital Asset and could lead
       to the dominance of one or more such versions of a Digital Asset (each a "Dominant
       Digital Asset") and the partial or total abandonment or loss of value of any other versions
       of such Digital Asset (each a "Non-Dominant Digital Asset").
17.2   FTX Trading is under no obligation to support a Fork of a Digital Asset that you hold in your
       Account, whether or not any resulting version of such forked Digital Asset is a Dominant
       Digital Asset or Non-Dominant Digital Asset or holds value at or following such Fork. Forks
       of Digital Assets can be frequent, contentious and unpredictable, and therefore cannot be
       consistently supported on the Platform. When trading or holding Digital Assets using your
       Account, you should operate under the assumption that the Platform will never support any
       Fork of such Digital Asset.
17.3   If FTX Trading elects, in its sole discretion, to support a Fork of a Digital Asset, it may
       choose to do so by making a public announcement through its Site or otherwise notifying
       customers and shall bear no liability for any real or potential losses that may result based
       on the decision to support such Fork or the timing of implementation of support. If FTX
       Trading, in its sole discretion, does not elect to support a Fork of a given Digital Asset,
       including the determination to support, continue to support, or cease to support any
       Dominant Digital Asset or Non-Dominant Digital Asset, FTX Trading assumes no
       responsibility or liability whatsoever for any losses or other issues that might arise from an
       unsupported Fork of a Digital Asset.
17.4   The Platform does not generally offer support for the distribution of Digital Assets based on
       a triggering fact or event, such as the possession of another Digital Asset (each an
       "Airdrop"), the provision of rewards or other similar payment for participation in a Digital
       Asset's protocol ("Staking Rewards"), or any other distributions or dividends that Users
       might otherwise be entitled to claim based on their use or possession of a Digital Asset
       outside of the Platform (collectively, "DigitaI Asset Distributions"). FTX Trading may, in




                                                                                                       17
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 168 of 232
                                            A-1248




       its sole discretion, elect to support any Digital Asset Distribution, but is under no obligation
       to do so and shall bear no liability to Users for failing to do so, or for initiating and
       subsequently terminating such support.
17.5   In the event of a Fork of a Digital Asset, we may be forced to suspend all activities relating
       to such Digital Asset (including trades, deposits, and withdrawals) on the Platform for an
       extended period of time, until FTX Trading has determined in its sole discretion that such
       functionality can be restored ("Downtime"). This Downtime may occur at the time that a
       Fork of a given Digital Asset occurs, potentially with little to no warning. During such
       Downtime, you understand that you may not be able to trade, deposit, or withdraw the
       Digital Asset subject to such Fork. FTX Trading does not bear any liability for losses
       incurred during any Downtime due to the inability to trade or otherwise transfer Digital
       Assets.

18.    ATTACKS ON BLOCKCHAIN NETWORKS
18.1   FTX Trading cannot prevent or mitigate attacks on blockchain networks and has no
       obligation to engage in activity in relation to such attacks. In the event of an attack, FTX
       Trading reserves the right to take (or to not take) actions, including, but not limited to,
       immediately halting trading, deposits and withdrawals for a Digital Asset if we believe that
       the Digital Asset's network is compromised or under attack. If such an attack caused the
       Digital Asset to greatly decrease in value, we may discontinue trading in such Digital Asset
       entirely.
18.2   Resolutions concerning deposits, withdrawals and User balances for a Digital Asset that
       has had its network attacked will be determined on a case-by-case basis by FTX Trading in
       its sole discretion. FTX Trading makes no representation and does not warrant the safety
       of the Services and you assume all liability for any lost value or stolen property.

19.    SITE; THIRD PARTY CONTENT
19.1   FTX Trading strives to provide accurate and reliable information and content on the Site,
       but such information may not always be correct, complete, or up to date. You should
       always carry out your own independent appraisal and investigations in relation to such
       information and not rely on it in any way.
19.2   The Site may also contain links to third party websites, applications, events or other
       materials ("Third Party Content"). Such information is provided for your convenience and
       links or references to Third Party Content do not constitute an endorsement by FTX
       Trading of any products or services. FTX Trading makes no representation as to the
       quality, suitability, functionality or legality of Third Party Content, or to any goods and
       services available from third party websites, and FTX Trading shall have no liability for any
       losses incurred as a result of actions taken in reliance on the information contained on the
       Site or in any Third Party Content.
19.3   We have no control over, or liability for, the delivery, quality, safety, legality or any other
       aspect of any goods or services that you may purchase from a third party (including other
       Users of the Platform). We are not responsible for ensuring that a third party buyer or seller
       you transact with will complete the transaction or is authorised to do so. If you experience a
       problem with any goods or services purchased from, or sold to, a third party purchased
       using Digital Assets in connection with the Services, you must resolve the dispute directly
       with that third party.

20.    AVAILABILITY
20.1   We do not represent that you will be able to access your Account or the Services 100% of
       the time. Your Account and the Services are made available to you without warranty of any
       kind, either express or implied. There are no guarantees that access will not be interrupted,
       or that there will be no delays, failures, errors, omissions or loss of transmitted information.
       This could result in the inability to trade on the Platform for a period of time and may also
       lead to time delays. We may, from time to time, suspend access to your Account and the
       Services, for both scheduled and emergency maintenance.




                                                                                                      18
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 169 of 232
                                            A-1249




20.2   You acknowledge and agree that neither FTX Trading nor any other Indemnified Party shall
       have any liability to you or any third party for the correctness, quality, accuracy, security,
       completeness, reliability, performance, timeliness, pricing or continued availability of the
       Services or for delays or omissions of the Services, or for the failure of any connection or
       communication service to provide or maintain your access to the Services, or for any
       interruption in or disruption of your access or any erroneous communications between FTX
       Trading (or any other Indemnified Party) and you, regardless of cause.
20.3   FTX Trading may determine not to make the Services, in whole or in part, available in
       every market, either in its sole discretion or due to legal or regulatory requirements. In
       addition, FTX Trading may determine not to make the Services, in whole or in part,
       available to you, depending on your location. If you travel to a Restricted Territory, our
       Services may not be available and your access to our Services may be blocked. You
       acknowledge that this may impact your ability to trade on the Platform and/or monitor any
       existing Orders or open positions or otherwise use the Services. You must not attempt in
       any way to circumvent any such restriction, including by use of any virtual private network
       to modify your internet protocol address.

21.    RIGHT TO CHANGE, SUSPEND OR DISCONTINUE SERVICES
21.1   We reserve the right to change, suspend, or discontinue any aspect of the Services at any
       time and in any jurisdiction, including hours of operation or availability of any feature,
       without notice and without liability. We may advise you of any such changes, suspensions
       or discontinuations via your Account or the other contact details that you have provided to
       us but shall have no obligation to do so.
21.2   If you do not agree with any change, suspension, or discontinuance of any aspect of the
       Services, then your sole and exclusive remedy is to terminate your use of the Services and
       close your Account. You agree that neither we nor any other Indemnified Party shall be
       liable to you or any third party for any Losses suffered as a result of any such changes,
       suspensions, discontinuations or decisions.

22.    UPDATES TO THE TERMS
22.1   We reserve the right to amend any part of the Terms, at any time, by posting the revised
       version of the Terms on the Site, with an updated revision date. The changes will become
       effective, and shall be deemed accepted by you, the first time you use the Services after
       the initial posting of the revised Terms and shall apply on a going-forward basis with
       respect to transactions initiated after the posting date. You acknowledge that it is your
       responsibility to check the Terms periodically for changes.
22.2   If you do not agree with any amendments to the Terms, your sole and exclusive remedy is
       to terminate your use of the Services and close your Account. You agree that neither we
       nor any other Indemnified Party shall be liable to you or any third party for any Losses
       suffered as a result of any amendment of the Terms.

23.    FEES
23.1   In consideration for the use of the Services, you agree to pay to FTX Trading the
       appropriate fees, as set forth in our Fee Schedule displayed on the Site ("Fee Schedule"),
       which FTX Trading may revise or update in its sole discretion from time to time. If you do
       not agree with any amendments to the Fee Schedule, your sole and exclusive remedy is to
       terminate your use of the Services and close your Account.
23.2   On request, FTX Trading may make available an alternative fee schedule ("Alternative
       Fee Schedule") to Users who satisfy certain criteria (such as in relation to trading volume),
       which are determined by FTX Trading in its sole discretion from time to time.
23.3   You authorise FTX Trading to deduct any applicable fees from your Account at the time
       you make a given transaction. Changes to the Fee Schedule or Alternative Fee Schedule
       are effective as of the date set forth in any revision and will apply prospectively from that
       date forward _




                                                                                                       19
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 170 of 232
                                            A-1250




24.    TAXES
24.1   You will be able to see a record of your transactions via your Account which you may wish
       to use for the purposes of making any required tax filings or payments. It is your
       responsibility to determine what, if any, taxes apply to your activities on the Platform, and
       to collect, report, and remit the correct tax to the appropriate tax authority.
24.2   FTX Trading is not responsible for determining whether taxes apply to your transaction, or
       for collecting, reporting, or remitting any taxes arising from any transaction.

25.    RIGHT TO USE SERVICES; API USE; THIRD PARTY APPLICATIONS

25.1   License
       25.1.1    FTX Trading grants you a limited, non-exclusive, non-sublicensable, and non-
                 transferable license, subject to the Terms, to access and use the Services solely
                 for approved purposes as determined by FTX Trading. Any other use of the
                 Services is expressly prohibited. FTX Trading and its licensors reserve all rights
                 in the Services, and you agree that the Terms do not grant you any rights in, or
                 licenses to, the Services except for the limited license set forth above.
       25.1.2    Except as expressly authorised by FTX Trading, you agree not to modify, reverse
                 engineer, copy, frame, scrape, rent, lease, loan, sell, distribute, or create
                 derivative works based on the Services, in whole or in part. If you violate any
                 portion of the Terms, your permission to access and use the Services may be
                 terminated pursuant to the Terms.
       25.1.3    "FTX.com," "FTX" and all logos related to the Services are either trademarks, or
                 registered marks of FTX Trading or its licensors. You may not copy, imitate, or
                 use them without FTX Trading's prior written consent. All right, title, and interest
                 in and to the Site and any Mobile Application, any content thereon, the Services,
                 and any and all technology or content created or derived from any of the
                 foregoing is the exclusive property of FTX Trading and its licensors.

25.2   API use
       25.2.1    Subject to your compliance with the Terms and any other agreement which may
                 be in place between you and FTX Trading relating to your use of the API, FTX
                 Trading grants you a limited, revocable, non-exclusive, non-transferable, non-
                 sublicensable license, to use the API solely for the purposes of trading on the
                 Platform. You agree to not use the API or data provided through the API for any
                 other purpose. You agree your access and use of the API shall be entirely at your
                 own risk, and that FTX Trading will not be responsible for any liabilities that you
                 incur as a result of the use of the API or actions you take based on the API.
       25.2.2    FTX Trading may, at its sole discretion, set limits on the number of API calls that
                 you can make, for example, to maintain market stability and integrity. You
                 acknowledge and agree that if you exceed these limits, FTX Trading may
                 moderate your activity or cease offering you access to the API (or any other API
                 offered by FTX Trading), each in its sole discretion.
       25.2.3    FTX Trading may immediately suspend or terminate your access to the API
                 without notice if we believe you are in violation of the Terms or any other
                 agreement which may be in place between you and FTX Trading related to your
                 use of the API.

25.3   Third Party Applications
       25.3.1    We offer our Services to users both directly and via third party websites,
                 platforms, applications and other access portals (collectively, "Third Party
                 Portals"). If you are accessing these Terms via a Third Party Portal, you agree
                 (a) to comply with all applicable terms of service of such Third Party Portal, (b)
                 that you are solely responsible for payment of any and all costs and fees




                                                                                                      20
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 171 of 232
                                           A-1251




                 associated with such Third Party Portals, and (c) we do not owe you any duty of
                 care with respect to such Third Party Portals, nor do we accept any responsibility
                 for them.
       25.3.2   If you grant express permission to a third party to connect to your Account, either
                through the third party's product or through the Services, you acknowledge that
                granting permission to a third party to take specific actions on your behalf does
                not relieve you of any of your responsibilities under these Terms.
       25.3.3   You acknowledge and agree that you will not hold us responsible for, and will
                indemnify us from, any liability arising from the actions or inactions of such third
                party in connection with the permissions you grant. You expressly agree that your
                use of any Third Party Portal is at your own risk and we will not be liable to you
                for any inaccuracies, errors, omissions, delays, damages, claims, liabilities or
                losses, arising out of or in connection with your use of Third Party Portals.
       25.3.4    In the event that access to the Services via any Third Party Portal is suspended,
                 terminated or cancelled for any reason, you agree that you shall remain bound by
                 these Terms and our Privacy Policy as a user of the Services.

26.    PRIVACY POLICY
       We are committed to protecting your personal information and to helping you understand
       exactly how your personal information is being used. You should carefully read our Privacy
       Policy, which provides details on how your personal information is collected, stored,
       protected, and used.

27.    CONFIDENTIALITY
27.1   You shall treat as strictly confidential and not use or disclose any information or documents
       which you receive (or have received) from us, whether before, during or after the term of
       the Terms, and whether communicated orally, in writing, in electronic form or otherwise,
       relating to our business, financial situation, products and services (including the Services),
       expectations, processes and methods, customers or employees, in each case which is
       designated as being "confidential" or which by its very nature should obviously be treated
       as secret and confidential (together "Confidential information").
27.2   You may use the Confidential Information solely to the extent necessary to receive the
       benefit of the Services in accordance with the Terms.
27.3   The obligation to maintain confidentiality under this Section 27 shall not apply to any
       Confidential Information to the extent that such information is:
       27.3.1   in the public domain through no breach of the Terms;
       27.3.2   known to you at the time of disclosure without restrictions on use, or
                independently developed by you, and in each case, there is appropriate
                documentation to demonstrate either condition; or
       27.3.3    required to be disclosed to a Regulatory Authority or by Applicable Laws.
27.4   If you are required under Applicable Laws or by any Regulatory Authority to disclose
       Confidential Information in the circumstances set out in Section 27.3.3 you shall give us
       such notice as is practical in the circumstances of such disclosure and shall provide all
       cooperation reasonably requested by us in relation to mitigating the effects of, or avoiding
       the requirements for, any such disclosure.
27.5   Any Confidential Information shall remain the property of FTX Trading and may be copied
       or reproduced only with our prior written consent.
27.6   Upon request, you shall return or destroy all materials containing our Confidential
       Information and, where such materials have been destroyed, confirm such destruction in
       writing. You shall be under no obligation to return or destroy such materials if and to the
       extent you are required to retain such materials under Applicable Laws, provided that you




                                                                                                      21
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 172 of 232
                                            A-1252




       shall notify us in writing of such requirement, giving details of the materials which have not
       been destroyed or returned, and this Section 27 shall continue to apply to such materials.
27.7   The parties agree and acknowledge that a breach of this Section 27 constitutes a matter of
       urgency for the purposes of section 12A(4) of Singapore's International Arbitration Act
       (Chapter 143A) both before, and after, the formation of the arbitral tribunal.
27.8   The availability of relief from an emergency arbitrator or the expedited formation of an
       arbitral tribunal under SIAC Rules (as defined in Section 38.121 below) shall not prejudice
       any party's right to apply to a state court or other judicial authority for any interim or
       conservatory measures before the formation of the arbitral tribunal and it shall not be
       treated as an alternative to or substitute for the exercise of such right. Where a party
       applies for relief from a state court or other judicial authority, the parties agree that failure
       to make an application for expedited appointment of the arbitral tribunal and/or for the
       appointment of an emergency arbitrator under the SIAC Rules shall not indicate, or be
       deemed to indicate, a lack of urgency. The parties also agree that any refusal by the
       President of the Court of Arbitration of SIAC to appoint an emergency arbitrator or allow the
       expedited formation of the arbitral tribunal shall not be determinative of the question of
       urgency.
27.9   The parties agree that an application to a state court or other judicial authority for interim or
       conservatory measures after the formation of the arbitral tribunal in respect of this Section
       27 shall be considered "exceptional circumstances" under Rule 30.3 of the SIAC Rules.
       The parties also agree that an application may be made for interim relief on a non-urgent
       basis under section 12A(5) of Singapore's International Arbitration Act and agree that this
       Section 27.9 constitutes agreement in writing for the purposes of section 12A(5) of
       Singapore's International Arbitration Act.

28.    COOKIES
       By accessing the Site, you agree to use cookies in agreement with FTX Trading's Privacy
       Policv. The Site uses cookies to enable us to retrieve User details for each visit, and to
       enable the functionality of certain areas of the Site to make it easier for Users visiting the
       Site to access and use the Services.

29.    INDEMNIFICATION; RELEASE
29.1   You shall and agree to defend, indemnify and hold harmless FTX Trading, its Affiliates and
       service providers and, in each case, their Personnel (collectively, "Indemnified Parties"
       and each an "indemnified Party") from and against any and all claims and liabilities,
       costs, expenses, damages and losses (including any direct, indirect or consequential
       losses, loss of profit, loss of reputation and all interest, penalties and legal and other
       reasonable professional costs and expenses) ("Losses" or "Loss") which any indemnified
       Party may suffer or incur, arising directly or indirectly out of or in connection with: (i) your
       use of your Account and/or the Services; (ii) your breach or anticipatory breach of the
       Terms, or (iii) your violation or anticipatory violation of any Applicable Laws.
29.2   You will cooperate as fully required by the Indemnified Parties in the defence of any such
       claims and Losses. The indemnified Parties retain the exclusive right to assume the
       exclusive defence and control of any claims and Losses. You will not settle any claims and
       Losses without FTX Trading's prior written consent.
29.3   You hereby agree to release each of the Indemnified Parties from any and all claims and
       demands (and waive any rights you may have against any of the Indemnified Parties in
       relation to any Losses you may suffer or incur), arising directly or indirectly out of or in
       connection with any dispute that you have with any other User or other third party in
       connection with the Services (including any Digital Asset transactions) or the subject matter
       of the Terms.

30.    LIMITATION OF LIABILITY; NO WARRANTY
30.1   NOTHING IN THE TERMS SHALL LIMIT OR EXCLUDE A PARTY'S LIABILITY:




                                                                                                        22
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 173 of 232
                                    A-1253




       30.1.1    FOR DEATH OR PERSONAL INJURY CAUSED BY ITS NEGLIGENCE,
       30.1.2    FOR FRAUD OR FRAUDULENT MISREPRESENTATION, OR
       30.1 .3   TO THE EXTENT SUCH LIABILITY CANNOT BE EXCLUDED BY APPLICABLE
                 LAWS.
30.2   SUBJECT TO SECTION 30.1, NEITHER FTX TRADING NOR ANY OF THE OTHER
       INDEMNIFIED PARTIES SHALL BE LIABLE TO YOU IN CONTRACT, TORT (INCLUDING
       NEGLIGENCE), EQUITY, STATUTE OR ANY OTHER CAUSE ARISING OUT OF OR IN
       CONNECTION WITH THE TERMS (OR ARISING OUT OF OR IN CONNECTION WITH:
       YOUR USE OR INABILITY TO USE THE SERVICES; THE COST OF PROCURING
       SUBSTITUTE GOODS AND SERVICES IN CIRCUMSTANCES WHERE YOU DO NOT
       OR ARE UNABLE TO USE THE SERVICES, ANY GOODS, DATA, INFORMATION, OR
       SERVICES PURCHASED OR OBTAINED OR MESSAGES RECEIVED OR
       TRANSACTIONS ENTERED INTO THROUGH OR FROM THE SERVICESQ
       UNAUTHORISED ACCESS TO OR ALTERATION OF YOUR TRANSMISSIONS OR
       DATA; OR ANY OTHER MATTER RELATING TO THE SERVICES) FOR:
       30.2.1    INCIDENTAL, PUNITIVE, EXEMPLARY OR OTHER SPECIAL LOSS OR
                 DAMAGE, OR LOSS OF PROFIT, LOSS OF REVENUE, LOSS OF GOODWILL,
                 LOSS OF USE, LOSS OF BUSINESS OR CONTRACT, LOST
                 OPPORTUNITIES, INCREASED COSTS OR EXPENSES (OR WASTED
                 EXPENDITURE INCLUDING PRE-CONTRACT EXPENDITURE), LOSS OF
                 SAVINGS, ANY LIABILITY VOLUNTARILY ASSUMED BY YOU, OR LOSS OF
                 OR DAMAGE TO DATA, IN EACH CASE REGARDLESS OF WHETHER SUCH
                 LOSS OR DAMAGE WAS DIRECT OR INDIRECT, FORESEEABLE OR
                 UNFORESEEABLE, OR WHETHER FTX TRADING OR ANY OF THE OTHER
                 INDEMNIFIED PARTIES HAD BEEN ADVISED OF THE POSSIBILITY OF
                 SUCH LOSS OR DAMAGE, OR
       30.2.2    INDIRECT OR CONSEQUENTIAL LOSS OR DAMAGE.
30.3   YOU ACKNOWLEDGE AND AGREE THAT FTX TRADING AND ITS AFFILIATES MAY
       RELY ON ONE OR MORE THIRD PARTY INTERMEDIARIES FOR THE PURPOSES OF
       PROVIDING THE SERVICES. THE THIRD PARTY INTERMEDIARIES ARE
       INDEPENDENT THIRD PARTIES AND ARE NOT FTX TRADING'S AGENTS OR
       SUBCONTRACTORS. SUBJECT TO SECTION 30.1, FTX TRADING SHALL NOT BE
       LIABLE FOR THE ACTS OR OMISSIONS OF ANY THIRD PARTY INTERMEDIARY, OR
       ANY LOSSES ARISING FROM THE FAULT OF ANY THIRD PARTY INTERMEDIARY,
       SUCH AS A FAILURE BY A THIRD PARTY INTERMEDIARY TO COMPLY WITH
       APPLICABLE LAWS OR ANY REASONABLE INSTRUCTIONS PROVIDED BY FTX
       TRADING.
30.4   YOU ACKNOWLEDGE AND AGREE THAT THE SERVICES ARE PROVIDED ON AN "As
       IS" BASIS, WITHOUT ANY WARRANTY OR REPRESENTATION OF ANY KIND AND, TO
       THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, EACH OF FTX TRADING
       AND THE OTHER INDEMNIFIED PARTIES EXPRESSLY DISCLAIM ANY WARRANTIES
       OR CONDITIONS, EXPRESS, IMPLIED, STATUTORY OR OTHERWISE, WITH
       RESPECT TO THE SERVICES, INCLUDING, WITHOUT LIMITATION, ANY IMPLIED
       WARRANTIES OF TITLE, MERCHANTABILITY, FITNESS FOR A PARTICULAR
       PURPOSE OR NON-INFRINGEMENT. NEITHER FTX TRADING NOR ANY OTHER
       INDEMNIFIED PARTY MAKES ANY WARRANTY THAT:
       30.4.1    THE SERVICES WILL MEET YOUR REQUIREMENTS,
       30.4.2    THE SERVICES WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR-
                 FREE, OR
       30.4.3    THE QUALITY OF ANY PRODUCTS, SERVICES, INFORMATION, OR OTHER
                 MATERIAL PURCHASED OR OBTAINED BY YOU WILL MEET YOUR
                 EXPECTATIONS.




                                                                             23
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 174 of 232
                                             A-1254




30.5   SUBJECT TO SECTION 30.1, NEITHER FTX TRADING NOR ANY OF THE OTHER
       INDEMNIFIED PARTIES WILL BE RESPONSIBLE OR LIABLE TO YOU FOR ANY LOSS
       AND TAKE NO RESPONSIBILITY FOR, AND WILL NOT BE LIABLE TO YOU FOR, ANY
       USE OF THE SERVICES, INCLUDING BUT NOT LIMITED TO ANY LOSSES, DAMAGES
       OR CLAIMS ARISING FROM: USER ERROR SUCH AS FORGOTTEN PASSWORDS,
       INCORRECTLY CONSTRUCTED TRANSACTIONS, OR MISTYPED WALLET
       ADDRESSES, SERVER FAILURE OR DATA Loss, CRYPTOCURRENCY WALLETS OR
       CORRUPT FILES, UNAUTHORISED ACCESS TO SERVICESQ OR ANY THIRD PARTY
       ACTIVITIES, INCLUDING WITHOUT LIMITATION THE USE OF VIRUSES, PHISHING,
       BRUTEFORCING OR OTHER MEANS OF ATTACK AGAINST YOUR COMPUTER OR
       ANY BLOCKCHAIN NETWORK UNDERLYING THE SERVICES.

31.    COUNTRY-SPECIFIC ADDENDA
       If you are a resident of Australia, Japan, or South Africa, additional terms and conditions
       will apply to your use of the Services as set forth in the Schedules attached hereto.

32.    COMMUNICATIONS IN ENGLISH
       The Terms are provided to you and concluded in English. We will communicate with you in
       English for all matters related to your use of our Services unless we elect, in our sole
       discretion, to provide support for other languages.

33.    FEEDBACK
       You acknowledge and agree that any materials, including without limitation questions,
       comments, feedback, suggestions, ideas, plans, notes, drawings, original or creative
       materials or other information or commentary you provide to us or one of our social media
       accounts, regarding the Services (collectively, "Feedback") that are provided by you,
       whether by email, posting to the Site or social channels, or otherwise, are non-confidential
       and will become the sole property of FTX Trading. FTX Trading will own exclusive rights,
       including all intellectual property rights, in and to such Feedback, and will be entitled to the
       unrestricted use and dissemination of such Feedback for any purpose, commercial or
       otherwise, without acknowledgment or compensation to you.

34.    QUESTIONS AND CONTACT INFORMATION
34.1   We often post notices and relevant Services information in our Telegram channel and on
       our Twitter account, so we advise You to check those channels before contacting support.
       Telegram: httDs://t.me/FTx_official
       Twitter: https://tvvitter.com/FTX_OfficiaI
       WeChat: ftexchange
       Blog: https://blog.ftx.com/
34.2   To contact us, please visit one of the links or channels above. For support with your
       Account, you may submit a support ticket at https://ftx.com/support. For legal and media
       inquiries, please contact legal@ftx.com and media@_ftx.com, respectively. Please provide
       all relevant information, including your Account username and transaction IDs of any
       related deposits. Although we make no representations or provide no warranties as to the
       speed of response, we will endeavour to get back to you as soon as possible.

35.    PROMOTIONS
       FTX Trading does not, as a general rule, participate in promotions without an official
       pronouncement, either on the Site or elsewhere. You shall obtain prior written approval
       prior to releasing any statements, written media releases, public announcements and
       public disclosures, including promotional or marketing materials, relating to the Platform.




                                                                                                      24
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 175 of 232
                                            A-1255




36.    FORCE MAJEURE AND RELIEF EVENTS
36.1   FTX Trading shall not be responsible (and shall have no liability) for any failure, interruption
       or delay in relation to the performance of the Services or its obligations under the Terms
       that results from any abnormal or unforeseeable circumstances outside our reasonable
       control, including without limitation:
       36.1.1     any Force Majeure Event; or
       36.1.2     any failure by you to comply with your obligations under the Terms or Applicable
                  Laws ("Relief Event").

37.    ASSIGNMENT AND SUBCONTRACTING
37.1   You may not assign, novate, or otherwise transfer, any of your rights or obligations under
       the Terms, or sub-contract the performance of any of your obligations under the Terms,
       without the prior written consent of FTX Trading. Any attempted assignment, novation,
       transfer or sub-contracting without our consent shall be void.
37.2   FTX Trading may assign, novate, or otherwise transfer any of its rights or obligations under
       the Terms to any other person, or sub-contract the performance of any of its obligations
       under the Terms (including the performance of the Services), at any time and without your
       consent, and you hereby consent to such assignment, novation, transfer or subcontracting,
       and agree to take all actions (including by way of executing documents) and other
       assistance required by FTX Trading to ensure that any such assignment, novation, transfer
       or subcontracting is effective and enforceable. If you object to such assignment, novation,
       transfer or sub-contracting you may stop using our Services and terminate the Terms by
       contacting us and requesting us to close your Account.

38.    GENERAL

38.1   Entire agreement
       38.1.1     You agree that the Terms constitute the entire agreement between you and FTX
                  Trading with respect to the use of the Services.
       38.1.2     You agree that in agreeing to and entering into the Terms you have not been
                  induced to do so by, and have not relied on, any statement, representation,
                  warranty, assurance, covenant, indemnity, undertaking or commitment
                  ("Representation") which is not expressly set out in the Terms.
       38.1.3     You agree that your only right of action in relation to any innocent or negligent
                  Representation set out in the Terms or given in connection with the Terms shall
                  be for breach of contract. All other rights and remedies in relation to any such
                  Representation (including those in tort or arising under statute) are excluded .

38.2   Survival
       Upon the later of the closure of your Account and the termination of your access to and use
       of the Services the Terms shall terminate. All rights and obligations of the parties that by
       their nature are continuing will survive the termination of the Terms.

38.3   Severability
       If any provision or part of the Terms is void or unenforceable due to any Applicable Laws, it
       shall be deemed to be deleted and the remaining provisions of the Terms shall continue in
       full force and effect. If any invalid, unenforceable or illegal provision of the Terms would be
       valid, enforceable and legal if some part of it were deleted, the provision shall apply with
       the minimum deletion necessary to make it valid, legal and enforceable.

38.4   Successors and assigns
       The Terms shall be binding on, and entire to the benefit of, the parties to the Terms and their
       respective personal representatives, successors and permitted assigns, and references to
       any party shall include that party's personal representatives, successors and permitted




                                                                                                      25
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 176 of 232
                                             A-1256




       assigns.

38.5   Variation and waiver
       38.5.1     Subject to Section 22, no variation of the Terms shall be effective unless it is in
                  writing (which for this purpose, does not include email) and signed by, or on
                  behalf of, each of the parties. The expression "variation" includes any variation,
                  supplement, deletion or replacement however effected.
       38.5.2     No waiver by FTX Trading of any right or remedy provided by the Terms or by law
                  shall be effective unless it is in writing (which for this purpose, does not include
                  email) and signed by, or on behalf of, FTX Trading. The failure by FTX Trading to
                  exercise, or delay in exercising, any right or remedy provided by the Terms or by
                  law does not: (i) constitute a waiver of that right or remedy; (ii) restrict any further
                  exercise of that right or remedy, or (iii) affect any other rights or remedies. A
                  single or partial exercise by FTX Trading of any right or remedy does not prevent
                  any further or other exercise of that right or remedy or the exercise of any other
                  right or remedy.

38.6   No partnership or agency
       Nothing in the Terms or in any matter or any arrangement contemplated by it is intended to
       constitute a partnership, association, joint venture, fiduciary relationship or other co-
       operative entity between the parties for any purpose whatsoever. Except as expressly
       provided in the Terms, neither party has any power or authority to bind the other party or
       impose any obligations on it and neither party shall purport to do so or hold itself out as
       capable of doing so. Each party confirms it is acting on its own behalf and not for the
       benefit of any other person.

38.7   Set off
       38.7.1     Notwithstanding that any amount is from time to time payable by FTX Trading to
                  you under or by virtue of the Terms or otherwise, you shall not set off such
                  amount against any amount payable by you to FTX Trading under the Terms.
       38.7.2     FTX Trading may set off any amounts which from time to time are payable by
                  FTX Trading to you under or by virtue of the Terms or otherwise against any
                  amounts payable by you to FTX Trading under the Terms.

38.8   Equitable remedies
       Without prejudice to any other rights or remedies that FTX Trading may have, you
       acknowledge and agree that damages alone may not be an adequate remedy for your
       breach of the Terms. The remedies of injunction and specific performance as well as any
       other equitable relief for any threatened or actual breach of such provisions of the Terms
       may be more appropriate remedies.

38.9   Third party rights
       Save as otherwise expressly provided in the Terms (such as in Sections 29, 30 and
       38.12.8):
       38.9.1     the Terms are not intended and shall not be construed to create any rights or
                  remedies in any parties other than you and FTX Trading and its Affiliates, which
                  each shall be a third party beneficiary of the Terms, and
       38.9.2     no other person shall assert any rights as a third party beneficiary hereunder
                  (notwithstanding any legislation to the contrary anywhere in the world).

38.10 Electronic signature
       The Terms may be entered into by electronic means.




                                                                                                        26
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 177 of 232
                                            A-1257




38.11 Governing law
       The Terms and any Dispute shall be governed by, and construed in accordance with,
       English law.

38.12 Arbitration
       38.124 Subject to Section 38.13 below, any Dispute shall be referred to and finally
              determined by arbitration administered by the Singapore International Arbitration
              Centre ("SIAC") in accordance with the Arbitration Rules of the SIAC ("SIAC
              Rules") for the time being in force.
       38.122 This arbitration agreement shall be governed by English law.
       38.12.3 The seat of the arbitration shall be Singapore.
       38.12.4 The language of the arbitration shall be English.
       38.12.5 The number of arbitrators shall be one.
       38.12.6 Each party agrees that:
                 (A)     any Dispute shall be referred to arbitration in accordance with this Clause
                         38.12 on an individual basis only and not as a claimant or class member
                         in a purported class or representative action,
                 (B)     combining or consolidating individual arbitrations into a single arbitration
                         is not permitted without the consent of all parties.
       38.12.7 This agreement to arbitrate shall:
                 (A)     be binding upon the parties, their successors and assigns;
               (B)      survive the termination of these Terms.
       38.12.8 Where a User alleges or claims that a Dispute has arisen between it and any of
               the Indemnified Parties who is not otherwise a party to these Terms, that
               indemnified Party may require that the Dispute be finally settled by arbitration in
               accordance with this Section 38.12 (without prejudice to that Indemnified Party's
               right to make a jurisdictional challenge), provided that such Indemnified Party
               exercises its right to arbitration under this Section 38.12 by notice in writing to all
               parties to the Terms within 7 days of being notified in writing of the Dispute. For
               the avoidance of doubt, the User provides express consent to the joinder of such
               Indemnified Party to an arbitration commenced pursuant to this Section 38.12.
38.13 Exception to arbitration
       If you are a resident of a jurisdiction where the law prohibits arbitration of Disputes, Section
       38.12 above will not apply to you. Instead, each party irrevocably agrees that the Courts of
       England and Wales located in London, England shall have exclusive jurisdiction in relation
       to any Dispute and each party irrevocably waives any right that it may have to object to an
       action being brought in those Courts, to claim that the action has been brought in an
       inconvenient forum, or to claim that those Courts do not have jurisdiction.




                                                                                                     27
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 178 of 232
                                           A-1258




                                          SCHEDULE 1

                            DEFINITIONS AND INTERPRETATION

1.    DEFINITIONS
1.1   As used throughout the Terms unless the context requires otherwise:
      "Affiliate" means, in relation to a party, any person that directly, or indirectly through one
      or more intermediaries, controls, is controlled by, or is under common control with, such
      party. A person shall be deemed to control another person if such person possesses,
      directly or indirectly, the power to direct, or cause the direction of, the management and
      policies of such other person, whether through the ownership of voting securities, by
      contract or otherwise.
      "Applicable Laws" means all laws, including rules of common law, principles of equity,
      statutes, regulations, directives, proclamations, ordinances, by-laws, rules, regulatory
      principles and requirements, mandatory codes of conduct, writs, orders, injunctions,
      judgments and any awards of other industrial instruments, which are applicable to the
      provision, receipt or use of the Services or any products or other deliverables provided,
      used or received in connection with the Services.
      "Assets" means the Digital Assets, fiat currency and E-Money held in your Account.
      "BTC" means the cryptocuregency Bitcoin.
      "DigitaI Assets" means BTC, ETH, FTT and any other digital asset, cryptocurrency, virtual
      currency, token, leveraged token, stablecoin, tokenised stock, volatility token, tokenised
      futures contract, tokenised option or other tokenised derivatives product that is supported
      by and made available from time to time to transact in using the Platform.
      "Dispute" means any dispute, claim, controversy or difference arising out of or in
      connection with the Terms, including any question regarding its existence, validity, subject
      matter, interpretation, negotiation, termination or enforceability, and any dispute, claim,
      controversy or difference regarding any non-contractual obligations arising out of or in
      connection with the Services.
      "ETH" means the cryptocurrency Ethereum.
      "Exchange" means the trading platform operated by FTX Trading or its Affiliates through
      which the Services may be offered to Users to transact in Digital Assets with other Users.
      "fiat currency" means any government issued national currency.
      "Force Majeure Event" means any circumstance not within a party's reasonable control
      including:
      (i)     acts of God, flood, drought, earthquake or other natural disaster;
      (ii)    epidemic or pandemic;
      (iii)   terrorist attack, civil war, civil commotion or riots, war, threat of or preparation for
              war, armed conflict, imposition of sanctions, embargo, or breaking off of diplomatic
              relations,
      (iV)    nuclear, chemical or biological contamination or sonic boom;
      (V)     any law or any action taken by a Regulatory Authority, including the imposition of
              an export or import restriction, quota or prohibition,
      (Vi)    collapse of buildings, fire, explosion or accident; and
      (vii)   any labour or trade dispute, strikes, industrial action or lockouts (other than in each
              case by the party (or its Affiliates) seeking to rely on this clause).
      "FTT" is the exchange token of the Exchange ecosystem and is not offered in the United
      States or to U.S. persons.




                                                                                                       28
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 179 of 232
                                           A-1259




      "Mobile Application" means any mobile application developed or provided by FTX
      Trading and/or any of its Affiliates through which Users can access the Platform.
      "Order" means each instruction placed by you on the Order Book to purchase or sell a
      specified quantity of a Digital Asset at a specified price in the Digital Asset in which trading
      is denominated on the Order Book, the second Digital Asset in a trading pair (e.g. USD in
      the BTC/USD trading pair).
      "Order Book" means the central limit order book operated by FTX Trading on the Platform.
      "parties" means the parties to the Terms, being you and FTX Trading (or, where applicable,
      the Service Provider responsible for providing a Specified Service to you as specified in a
      Service Schedule, insofar as that Specified Service is concerned), and "party" shall mean
      any one of the foregoing (as the context requires).
      "PersonneI" means the directors, officers, employees, agents, joint venturers, and
      contractors or subcontractors of a person.
      "Regulatory Authority" means any foreign, domestic, state, federal, cantonal, municipal
      or local governmental, executive, legislative, judicial, administrative, supervisory or
      regulatory authority, agency, quasi-governmental authority, court, commission, government
      organisation, self-regulatory organisation having regulatory authority, tribunal, arbitration
      tribunal or panel or supra-national organisation, or any division or instrumentality thereof,
      including any tax authority.
      "Service Provider" means the entity specified in a Service Schedule as responsible for
      providing the Specified Service referred to in that Service Schedule.
      "Service Schedule" means the Service Schedules set out in the Schedules (other than
      this Schedule 1) to the General Terms.
      "Specified Service" means any service specified in a Service Schedule.
      "transaction" or "trade" means each transaction or trade carried out (or to be carried out)
      via the Platform relating to buying, selling, exchanging, holding, staking, lending,
      borrowing, sending, receiving or otherwise transacting in a Digital Asset.
      "User" means a user of the Services, including you.

2.    INTERPRETATION

2.1   References to the Terms and other agreements
      In the Terms, except where the context otherwise requires:
      2.1.1     a reference to the Terms includes a reference to the Service Schedules and any
                other Schedules to it, each of which forms part of the Terms,
      2.1.2     a reference to a Section or Schedule (other than to a schedule to a statutory
                provision) is a reference to a Section or Schedule (as the case may be) of, or to,
                the Terms and reference to a paragraph is to a paragraph of the relevant
                Schedule,
      2.1.3     the headings are for convenience only and shall not affect the interpretation of the
                Terms;
      2.1.4     a reference to the Terms includes the Terms as amended or supplemented in
                accordance with its terms, and
      2.1.5     a reference to any agreement or other instrument (other than an enactment or
                statutory provision) is to that agreement or instrument as from time to time
                amended, varied, supplemented, substituted, novated or assigned otherwise than
                in breach of the Terms.

2.2   Singular, plural and gender
      Words in the singular include the plural and vice versa and a reference to one gender
      includes other genders.




                                                                                                    29
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 180 of 232
                                           A-1260




2.3   References to persons and companies
      In the Terms, except where the context otherwise requires:
      2.3.1     a reference to a person includes a reference to any individual, firm, company,
                government, state or agency of a state, local or municipal authority or
                government body or any joint venture, association or partnership (whether or not
                having separate legal personality);
      2.3.2     a reference to a company includes any company, corporation or other body
                corporate wherever and however incorporated or established, and
      2.3.3     a reference to an individual includes that individual's estate and personal
                representatives.

2.4   References to time periods
      In the Terms, except where the context otherwise requires, any reference to a date or time
      is a reference to that date or time in the principal financial centre of the country in which the
      registered office of FTX Trading (or the relevant Affiliate of FTX Trading) is located, unless
      otherwise agreed in writing. A reference to a day means a period of 24 hours ending at
      midnight. Any period of time shall be calculated exclusive of the day from which the time
      period is expressed to run or the day upon which the event occurs which causes the period
      to start running.

2.5   References to legislation and legal terms
      In the Terms, except where the context otherwise requires, a reference to an enactment or
      statutory provision shall include a reference to any subordinate legislation made under the
      relevant enactment or statutory provision, and is a reference to that enactment, statutory
      provision or subordinate legislation as from time to time amended, modified, incorporated
      or reproduced and to any enactment, statutory provision or subordinate legislation that
      from time to time (with or without modifications) re-enacts, replaces, consolidates,
      incorporates or reproduces it.

2.6   Includes and including
      In the Terms, except where the context otherwise requires:
      2.6.1     the words and phrases "includes", "including", "in particular" (or any terms of
                similar effect) shall not be construed as implying any limitation, and
      2.6.2     general words shall not be given a restrictive meaning because they are
                preceded or followed by particular examples.

2.7   To the extent that
      In the Terms, except where the context otherwise requires, the phrase "to the extent that"
      is used to indicate an element of degree and shall mean "to the extent that" and not solely
      "if", and similar expressions shall be construed in the same way.

2.8   Writing
      A reference to writing includes any modes of reproducing words in any legible form and,
      except where expressly stated otherwise, shall include email).




                                                                                                     30
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 181 of 232
                                         A-1261




                                        SCHEDULE 2
                                   SERVICE SCHEDULE



Specified Service    Spot Market


Specified Service    The Spot Market is a trading platform through which you can spot trade
description          certain Digital Assets with other Users in exchange for fiat currency
                     (depending on your location) or Digital Assets.


Service Provider     This Specified Service forms part of the Services and is provided by
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.


Specified Service    The Digital Assets that are available for spot trading on the Spot Market
specific terms (in   are listed on the Site. This list may be amended from time to time by the
addition to the      Service Provider at its sole discretion.
General Terms)
                     The Service Provider reserves the right to final interpretation of this
                     Specified Service.




                                                                                                 31
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 182 of 232
                                         A-1262




                                        SCHEDULE 3
                                   SERVICE SCHEDULE



Specified Service    Spot Margin Trading


Specified Service    Spot Margin Trading enables you to spot trade certain Digital Assets that
description          you do not have by posting collateral in the form of fiat currency
                     (depending on your location) or Digital Assets held in your Account and
                     borrowing the required Digital Assets from other Users. You can then spot
                     trade the borrowed Digital Assets through the Spot Market on the
                     Platform.
                     You may also lend your Digital Assets to other Users who need them to
                     spot trade.
                     Digital Asset borrowers pay a lending fee to Digital Asset lenders.

                     This Specified Service forms part of the Services and is provided by FTX
Service Provider
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.

Specified Service    IMPORTANT: Section 16 of the General Terms applies to this service.
specific terms (in
                     You may be asked to sign other documents in some cases in relation to
addition to the
                     Spot Margin Trading, including but not limited to the FTX Institutional
General Terms)
                     Customer Margin and Line of Credit Agreement.
                     The Service Provider and its Affiliates may, in its sole discretion, perform
                     measures to mitigate potential losses to you on your behalf, or to other
                     Users. Such measures include attempts by the Platform's risk engine to
                     liquidate any Users before they could get a negative net Account balance.
                     Using spot margin trading therefore opens you up to liquidation risk.
                     The Service Provider may impose margin position limits or decreasing
                     collateral on large positions of illiquid coins.
                     The Digital Assets that are available for borrowing/lending are listed on
                     the Site. This list may be amended from time to time by the Service
                     Provider at its sole discretion.
                     Digital Assets that are lent to other Users are effectively locked, and
                     cannot be withdrawn/sold/used as collateral/staked/etc. However, they
                     can be used as maintenance margin to prevent liquidations.
                     The Service Provider reserves the right to final interpretation of this
                     Specified Service.




                                                                                                 32
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 183 of 232
                                      A-1263




Risk disclosures   Margin trading may not be suitable for all Users and should only be used
                   by those who understand the risks. Also see Section 2.4 of the General
                   Terms.
                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR USE OF ANY MARGIN TRADING
                   SERVICES OFFERED ON THE PLATFORM OR YOUR FAILURE TO
                   UNDERSTAND THE RISKS ASSOCIATED WITH MARGIN TRADING.




                                                                                              33
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 184 of 232
                                         A-1264




                                        SCHEDULE 4
                                   SERVICE SCHEDULE



Specified Service    OTC / Off-exchange Portal (OEP Portal)


Specified Service    The OEP Portal enables you to connect with other Users to request
description          quotes for spot Digital Assets. In response to a request for a quote, other
                     Users will return prices offered by them in respect of the Digital Assets
                     and you may decide whether or not you wish to trade at the price offered
                     by the other User. Affiliates of FTX Trading may participate on the OEP
                     Portal as Users and execute trades (as principal) with other Users, on
                     terms no more favourable to such Affiliate than terms offered to other
                     similarly situated Users. If you agree, the trade is confirmed, and you will
                     trade directly with the other User. The Service Provider will carry out post-
                     trade clearing and settlement of the trade between you and the other
                     User.

                     This Specified Service forms part of the Services and is provided by FTX
Service Provider
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.

Specified Service    The Service Provider shall have no liability in relation to your use of the
specific terms (in   OEP Portal or for any trades that you enter into with other Users that you
addition to the      connect with through the OEP Portal.
General Terms)
                     The Service Provider reserves the right to final interpretation of this
                     Specified Service.




                                                                                                   34
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 185 of 232
                                         A-1265




                                        SCHEDULE 5
                                    SERVICE SCHEDULE



Specified Service    Futures Market


Specified Service    The Futures Market is a trading platform on which you can trade Quarterly
description          Futures Contracts and Perpetual Futures Contracts (collectively, Futures
                     Contracts) on certain Digital Assets and Digital Asset indexes with other
                     Users, with or without leverage.

                     This Specified Service forms part of the Services and is provided by
Service Provider
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.

Specified Service    Quarterly Futures Contracts represent obligations to buy or sell a Digital
specific terms (in   Asset at a specific price, on a specified future date. Quarterly Futures
addition to the      Contracts expire to a time-weighted average price ("TWAP") of their
General Terms)       associated index on the last Friday of every quarter between 2am and
                     3am UTC. If you hold an expiring position, you will be credited with USD
                     profit and loss equal to the expiration price shortly after.
                     Perpetual Futures Contracts represent obligations to buy or sell a Digital
                     Asset at a specific price, at any time while the contract remains open.
                     Perpetual Futures Contracts do not have an expiry date but instead,
                     continuously roll over, i.e. every hour, each perpetual futures contract has
                     a funding payment where longs pay shorts equal to 1 hour TWAP of
                     Premium / 24.
                     You can trade Futures Contracts on the Futures Market by posting
                     collateral in the form of fiat currency (depending on your jurisdiction) and
                     Digital Assets to cover initial and maintenance margin.
                     Instead of delivery of the underlying Digital Asset, your profit or loss is
                     settled in stablecoins.
                     IMPORTANT: Section 16 of the General Terms applies to this service.
                     Futures Contracts are Complex Products and the trading of Futures
                     Contracts is high risk. The market price of any Futures Contract may not
                     reflect the price of spot markets in the applicable underlying Digital Assets
                     and may fluctuate significantly in response to the value of the underlying
                     Digital Asset's(s') price, supply and demand, and other market factors.
                     In order to trade Futures Contracts on the Futures Market, you must post
                     collateral. Depending on market movements, your positions may be
                     liquidated, and you may sustain a total loss of the Assets in your Account.
                     This is because Futures Contract trading can be highly leveraged, with a
                     relatively small amount of funds used to establish a position in a Digital
                     Asset or index having a much greater value. For instance, a small price
                     decrease on a 20x leveraged Futures Contact's underlying Digital Asset
                     could result in 20x loss in your leveraged position in the Futures Contract.
                     Further, short positions will lose money when the price of the underlying




                                                                                                    35
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 186 of 232
                                       A-1266




                   Digital Asset rises, a result that is opposite from holding the underlying
                   Digital Asset.
                   YOU AGREE AND HEREBY AUTHORISE THE SERVICE PROVIDER
                   AND ITS AFFlLlATES TO TAKE ANY MEASURES IN THElR SOLE
                   DISCRETION, INCLUDING BUT NOT LIMITED To, FORCED POSITION
                   REDUCTION AND LIQUIDATION UNDER MARKET VOLATILITY,
                   ILLIQUIDITY AND OTHER CIRCUMSTANCES, FOR THE PURPOSES
                   OF MITIGATING POTENTIAL LOSSES TO YOU, OTHER USERS, AND
                   THE SERVICE PROVIDER AND ITS AFFILIATES.
                   By trading in Futures Contracts on the Futures Market on the Platform,
                   you acknowledge and agree that you have sufficient investment
                   knowledge, financial expertise, and experience and the capacity to take
                   on the increased risks arising from Futures Contract trading. You further
                   agree to independently assume all the risks arising from conducting
                   Futures Contract trading on your own account. If you are uncomfortable
                   with this level of risk, you should not trade Futures Contracts.
                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR TRADING FUTURES
                   CONTRACTS ON THE PLATFORM OR YOUR FAILURE TO
                   UNDERSTAND THE RISKS ASSOCIATED WITH FUTURES
                   CONTRACT TRADING.
                   The Service Provider reserves the right to final interpretation of this
                   Specified Service.


Risk disclosures   See Section 2 of the General Terms.




                                                                                                36
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 187 of 232
                                         A-1267




                                        SCHEDULE 6
                                   SERVICE SCHEDULE



Specified Service    Volatility Market (Options Contacts)


Specified Service    The Volatility Market is a trading platform on which you can trade Call
description          Options or Put Options (collectively, Options Contracts) on certain
                     Digital Assets with other Users, with or without leverage.

                     This Specified Service forms part of the Services and is provided by FTX
Service Provider
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.

Specified Service    Options Contracts give you the option (i.e. the right, but not the
specific terms (in   obligation), to either buy (Call Option) or sell (Put Option) Digital Assets
addition to the      for a specific price (the strike or exercise price) on a specified expiry date.
General Terms)
                     If, at the expiration of a Call Option, the market price of the underlying
                     Digital Asset is higher than the strike price, the Service Provider will
                     automatically exercise the option and credit your Account with the
                     difference between the market price and the strike price. If the market
                     price is lower, the option expires to USD 0.00. In the case of Put Options,
                     the reverse applies.
                     You can trade Options Contracts on the Volatility Market by posting
                     collateral in fiat currency (depending on your location) and Digital Assets,
                     to cover initial and maintenance margin.
                     Instead of delivery of the underlying Digital Asset on the specified expiry
                     date, your profit or loss is settled in stablecoins.
                     IMPORTANT: Section 16 of the General Terms applies to this service.
                     The Options Contracts on the Volatility Market are European style. This
                     means that you will not be able to exercise the option before the specified
                     expiry date.
                     The Options Contracts auto-expire, which means that the Service
                     Provider will automatically exercise all options "in the money" and no
                     options "out of the money".
                     The Options Contracts expire on their specified expiry date at 3:00:00AM
                     UTC. The expiration price of the underlying Digital Asset is based on a 1-
                     hour TWAP of the underlying index the hour before expiration.
                     Options Contracts are Complex Products and the trading of Options
                     Contracts is high risk. In order to trade Options Contracts on the Volatility
                     Market, you must post collateral. Depending on market movements, your
                     positions may be liquidated, and you may sustain a total loss of the
                     Assets in your Account. This is because Options Contract trading is highly
                     leveraged, with a relatively small amount of funds used to establish a
                     position in a Digital Asset having a much greater value.
                     If you are uncomfortable with this level of risk, you should not trade
                     Options Contracts.




                                                                                                    37
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 188 of 232
                                       A-1268




                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR TRADING OPTIONS
                   CONTRACTS ON THE PLATFORM OR YOUR FAILURE TO
                   UNDERSTAND THE RISKS ASSOCIATED WITH OPTIONS
                   CONTRACTS TRADING.
                   The Service Provider reserves the right to final interpretation of this
                   Specified Service.


Risk disclosures   See Section 2 of the General Terms.




                                                                                             38
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 189 of 232
                                        A-1269




                                       SCHEDULE 7
                                   SERVICE SCHEDULE



Specified Service    Volatility Market (MOVE Volatility Contracts)


Specified Service    The Volatility Market is a trading platform on which you can trade Daily
description          MOVE Volatility Contracts, Weekly MOVE Volatility Contracts and
                     Quarterly MOVE Volatility Contracts (collectively, MOVE Volatility
                     Contracts) with other Users, with or without leverage.

                     This Specified Service forms part of the Services and is provided by
Service Provider
                     Digital Markets Ltd, an International Business Company incorporated in
                     The Bahamas (company registration number 207269 B), to all eligible
                     Users other than persons who have their registered office or place of
                     residence in the United States of America or any Restricted Territory.

Specified Service    MOVE Volatility Contracts represent the absolute value of the amount a
specific terms (in   Digital Asset moves in a period of time, i.e. a day, week or quarter.
addition to the
                     MOVE Volatility Contracts expire to the absolute value of the difference
General Terms)
                     between the TWAP price of the underlying Digital Asset over the first hour
                     and the TWAP price of the underlying Digital Asset over the last hour of
                     their expiration time, measured in UTC.
                     1.    Daily MOVE Volatility Contracts expire to the movement of BTC
                           over a single day's period. Their ticker is [underlying]-MOVE-
                           [expiration date]; e.g. BTC-MOVE-1116 is the BTC-MOVE Volatility
                           Contract expiring at the end of 16 November UTC.
                     2.    Weekly MOVE Volatility Contracts expire to the movement of BTC
                           over a 7 day period. Their ticker is [underlying]-MOVE-WK-
                           [expiration date], e.g. BTC-MOVE-WK-1122 expires to the amount
                           that BTC moves between the start of 16 November and the end of
                           22 November.
                     3.    Quarterly MOVE Volatility Contracts expire to the move of BTC
                           over a roughly 3 month period. Their ticker is [underlying]-MOVE-
                           [expiration year]Q[quarter number]; e.g. BTC-MOVE-2020Q2
                           expires to the amount that BTC moves during Q2 2020, from 27
                           March 2020 to 25 June 2020.
                     You can trade Move Volatility Contracts on the Volatility Market by posting
                     collateral in the form of fiat currency (depending on your location) and
                     Digital Assets to cover initial and maintenance margin.
                     IMPORTANT: Section 16 of the General Terms applies to this service.
                     MOVE Volatility Contracts are Complex Products and the trading of
                     MOVE Volatility Contracts is high risk. In order to trade MOVE Volatility
                     Contracts on the Volatility Market, you must post collateral. Depending on
                     market movements, your positions may be liquidated, and you may
                     sustain a total loss of the Assets in your Account. This is because MOVE
                     Volatility Contract trading is highly leveraged, with a relatively small
                     amount of funds used to establish a position in a Digital Asset having a
                     much greater value.




                                                                                                39
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 190 of 232
                                       A-1270




                   If you are uncomfortable with this level of risk, you should not trade
                   MOVE Volatility Contracts.
                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR TRADING MOVE VOLATILITY
                   CONTRACTS ON THE PLATFORM OR YOUR FAILURE TO
                   UNDERSTAND THE RISKS ASSOCIATED WITH MOVE VOLATILITY
                   CONTRACTS TRADING.
                   The Service Provider reserves the right to final interpretation of this
                   Specific Service.


Risk disclosures   See Section 2 of the General Terms.




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        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 191 of 232
                                         A-1271




                                        SCHEDULE 8
                                   SERVICE SCHEDULE



Specified Service    Leveraged Tokens Spot Market


Specified Service    The Leveraged Tokens Market is a trading platform on which you can
description          spot trade Leveraged Tokens on certain Digital Assets with other Users.


Service Provider     This Specified Service forms part of the Services and is provided by FTX
                     Trading Ltd, a company incorporated and registered in Antigua and
                     Barbuda (company number 17180), to all eligible Users other than
                     persons who have their registered office or place of residence in the
                     United States of America or any Restricted Territory.


Specified Service    Leveraged Tokens are "ERC-20" digital tokens issued by LT Baskets Ltd,
specific terms (in   an Affiliate of FTX Trading. Each Leveraged Token has an associated
addition to the      account on the Platform that takes leveraged positions on Perpetual
General Terms)       Futures Contracts on an underlying Digital Asset or Digital Asset index
                     (collectively "Underlying") and can be created or redeemed for its share
                     of the Digital Assets of that account.
                     Leveraged Tokens seek (but under no circumstances guarantee) daily
                     results, before fees and expenses, that correspond to 300% or 3x
                     ("BULL"), -100% or -1 x ("HEDGE"), or -300% or -3x ("BEAR") of the daily
                     return of the Underlying (in U.S. Dollars) for a single day, not for any other
                     period. A Leveraged Token's returns for a period longer than a single day
                     will be the result of its return for each day, compounded over that period,
                     and could differ in amount and direction from the return of the Underlying
                     over the same period.
                     A Leveraged Token's returns may also deviate from expected returns in a
                     period shorter than a single day for reasons including, but not limited to,
                     scheduled or unscheduled rebalancing. Scheduled rebalancing occurs
                     once daily in order to maintain the Leveraged Token's intended exposure
                     to the market price of the Underlying. Unscheduled rebalancing may
                     occur, for example, if the market price of the Underlying moves more than
                     10% in either direction within a single day in order to maintain the
                     Leveraged Token's intended returns.
                     Leverage Tokens are Complex Products, and the trading of Leveraged
                     Tokens is high risk. The market price of any Leveraged Token may not
                     reflect the price of spot markets in the applicable Underlying and may
                     fluctuate significantly in response to the value of the Underlying's price,
                     supply and demand, and other market factors.
                     Leveraged Tokens reduce the risk of liquidation (as compared to Futures
                     Contracts for example) but it is still possible that liquidation may occur; if
                     markets instantaneously gap down 50%, there is nothing that can stop a
                     +3x leveraged position from getting liquidated.
                     YOU AGREE AND HEREBY AUTHORISE THE SERVICE PROVIDER
                     AND ITS AFFILIATES TO TAKE ANY MEASURES IN THEIR SOLE
                     DlSCRETlON, INCLUDING BUT NOT LIMITED To, FORCED POSITION
                     REDUCTION AND LIQUIDATION UNDER MARKET VOLATILITY,




                                                                                                      41
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 192 of 232
                                       A-1272




                   ILLIQUIDITY AND OTHER CIRCUMSTANCES, FOR THE PURPOSES
                   OF MITIGATING POTENTIAL LOSSES TO YOU, OTHER USERS, AND
                   THE PLATFORM.
                   By trading in Leveraged Tokens on the Platform, you acknowledge and
                   agree that you have sufficient investment knowledge, financial expertise,
                   and experience and the capacity to take on the increased risks arising
                   from Leveraged Tokens trading. You further agree to independently
                   assume all the risks arising from conducting Leveraged Tokens trading on
                   your own account.

                   If you are uncomfortable with this level of risk, you should not trade
                   Leveraged Tokens.

                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR TRADING LEVERAGED TOKENS
                   ON THE PLATFORM OR YOUR FAILURE TO UNDERSTAND THE
                   RISKS ASSOCIATED WITH LEVERAGED TOKEN TRADING.

                   The Service Provider reserves the right to final interpretation of this
                   Specific Service.

                   Leveraged Tokens do not require Users to trade on margin. However,
Risk disclosures
                   they remain subject to certain risks that you should understand before
                   trading Leveraged Tokens, including but not limited to:

                       Market price variance risk: Holders buy and sell Leveraged Tokens
                       in the secondary market at market prices, which may be different from
                       the value of the Underlying. The market price for a Leveraged Token
                       will fluctuate in response to changes in the value of the Leveraged
                       Token's holdings, supply and demand for the Leveraged Token and
                       other market factors.

                       Inverse correlation risk: Holders of Leveraged Tokens that target an
                       inverse return will lose money when the price of the Underlying rises,
                       a result that is opposite from holding the Underlying.

                       Portfolio turnover risk: Leveraged Tokens may incur high portfolio
                       turnover to manage the exposure to the Underlying. Additionally,
                       active market trading of a Leveraged Token's holding may cause
                       more frequent creation or redemption activities that could, in certain
                       circumstances, increase the number of portfolio transactions. High
                       levels of transactions increase transaction costs. Each of these
                       factors could have a negative impact on the performance of a
                       Leveraged Token.

                       Interest rates: Leveraged Tokens take positions in Perpetual Futures
                       Contracts to achieve their desired leverage. These Perpetual Futures
                       Contracts might trade at a premium or discount to spot markets in the
                       applicable Underlying as a reflection of prevailing interest rates in
                       cryptocurrency markets. Thus, a Leveraged Token could outperform
                       or underperform the Underlying's spot market returns due to a
                       divergence between the two markets.




                                                                                                42
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 193 of 232
                                          A-1273




                                         SCHEDULE g
                                    SERVICE SCHEDULE



Specified Service    Volatility Market (BVOL/iBVOL Tokens)


Specified Service    The Volatility Market is a trading platform on which you can trade BVOL
description          Tokens and iBVOL Tokens (collectively, BVOL/iBVOL Tokens) with
                     other Users, with or without leverage.


Service Provider     This Specified Service forms part of the Services and is provided by FTX
                     Trading Ltd, a company incorporated and registered in Antigua and
                     Barbuda (company number 17180), to all eligible Users other than
                     persons who have their registered office or place of residence in the
                     United States of America or any Restricted Territory.


Specified Service    BVOL/iBVOL Tokens are "ERC-20" digital tokens issued by LT Baskets
specific terms (in   Ltd, an Affiliate of FTX Trading. Each BVOL/iBVOL Token has an
addition to the      associated account on the Platform that holds MOVE Volatility Contracts
General Terms)       and Perpetual Futures Contracts on BTC (collectively, "Underlying"), in
                     an attempt to track the implied percent-based volatility of BTC. In
                     particular, BVOL Tokens attempt to track the daily returns of being 1x
                     long the implied volatility of BTC and iBVOL Tokens attempt to track the
                     daily returns of being 1x short the implied volatility of BTC.
                     In order to get their volatility exposure, BVOL Tokens trade MOVE
                     Volatility Contracts and Perpetual Futures on BTC. In particular, they aim
                     to hold 1/6th each of each MOVE Volatility Contract that has not yet had
                     its strike price determined as of each rebalance. That means 1/6th each
                     of:
                           .   Tomorrow's MOVE Volatility contract
                           •   Next weeks' MOVE contract, and the two weeks after that
                           •   Next Quarter's MOVE contract, and the quarter after that
                     and
                           .   -1 x BTC-PERP (Short)
                     IBVOL, conversely, aims to hold -1/6th each of those MOVE Volatility
                     contracts and 1x Perpetual Futures Contract on BTC (Long).
                     BVOL targets +1x leverage, and IBVOL targets -1 x leverage. As such,
                     BVOL should not need to significantly alter its leverage at rebalance time
                     (00:02:00 UTC every day): there may be small amounts of slippage but by
                     and large its leverage should always be 1. IBVOL, however, will need to.
                     If volatility is down, iBVOL will have gains and will reinvest them by selling
                     more MOVE contracts, if volatility is up, iBVOL will have losses and will
                     buy back MOVE contracts to reduce risk and attempt to avoid liquidation.
                     Because of this BVOL almost completely avoids liquidation risk, but
                     IBVOL is at risk if volatility doubles in a day. To mitigate this, iBVOL also
                     has daily rebalances. If market moves cause iBVOL's leverage to reach -
                     4/3, it will do an intraday rebalance to reduce risk.
                     YOU AGREE AND HEREBY AUTHORISE THE SERVICE PROVIDER
                     AND ITS AFFILIATES TO TAKE ANY MEASURES IN THEIR SOLE
                     DISCRETION, INCLUDING BUT NOT LIMITED To, FORCED POSITION




                                                                                                  43
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 194 of 232
                                       A-1274




                   REDUCTION AND LIQUIDATION UNDER MARKET VOLATILITY,
                   ILLIQUIDITY AND OTHER CIRCUMSTANCES, FOR THE PURPOSES
                   OF MITIGATING POTENTIAL LOSSES TO YOU, OTHER USERS, AND
                   THE PLATFORM.
                   BVOL/iBVOL Tokens are Complex Products and the trading of
                   BVOL/iBVOL Tokens is high risk. The market price of any BVOL/iBVOL
                   Token may not reflect the price of spot markets in BTC and may fluctuate
                   significantly in response to the value of BTC's price, supply and demand,
                   and other market factors.

                   By trading in BVOL/iBVOL Tokens on the Platform, you acknowledge and
                   agree that you have sufficient investment knowledge, financial expertise,
                   and experience and the capacity to take on the increased risks arising
                   from BVOL/iBVOL Tokens trading. You further agree to independently
                   assume all the risks arising from conducting BVOL/iBVOL Tokens trading
                   on your own account.

                   If you are uncomfortable with this level of risk, you should not trade
                   BVOL/iBVOL Tokens.

                   THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                   RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                   INCURRED AS A RESULT OF YOUR TRADING BVOL/iBVOL TOKENS
                   ON THE PLATFORM OR YOUR FAILURE TO UNDERSTAND THE
                   RISKS ASSOCIATED WITH BVOL/iBVOL TOKEN TRADING.

                   The Service Provider reserves the right to final interpretation of this
                   Specified Service.


Risk disclosures   BVOL/iBVOL Tokens do not require Users to trade on margin. However,
                   they remain subject to certain risks that you should understand before
                   trading BVOL/iBVOL Tokens, including but not limited to:

                       Market price variance risk: Holders buy and sell BVOL/iBVOL
                       Tokens in the secondary market at market prices, which may be
                       different from the value of BTC. The market price for a BVOL/iBVOL
                       Tokens will fluctuate in response to changes in the value of the
                       BVOL/iBVOL Tokens holdings, supply and demand for the
                       BVOL/iBVOL Tokens and other market factors.

                       Portfolio turnover risk: BVOL/iBVOL Tokens may incur high
                       portfolio turnover to manage the exposure to the Underlying.
                       Additionally, active market trading of a BVOL/iBVOL Token's holding
                       may cause more frequent creation or redemption activities that could,
                       in certain circumstances, increase the number of portfolio
                       transactions. High levels of transactions increase transaction costs.
                       Each of these factors could have a negative impact on the
                       performance of a BVOL/iBVOL Tokens.

                       Interest rates: BVOL/iBVOL Tokens take positions in MOVE Volatility
                       Contracts and Perpetual Futures Contracts to achieve their desired
                       implied volatility of BTC. These MOVE Volatility Contracts and
                       Perpetual Futures Contracts might trade at a premium or discount to
                       spot markets in BTC as a reflection of prevailing interest rates in
                       cryptocurrency markets. Thus, a BVOL/iBVOL Token could




                                                                                               44
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 195 of 232
                          A-1275




            outperform or underperform BTC's spot market returns due to a
            divergence between the two markets.




                                                                            45
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 196 of 232
                                         A-1276




                                       SCHEDULE 10
                                   SERVICE SCHEDULE



Specified Service    Issuing and redeeming Leveraged Tokens and BVOL/iBVOL Tokens


Specified Service    The issuance and redemption of Leveraged Tokens and BVOL/iBVOL
description          Tokens.


Service Provider     This Specified Service forms part of the Services and is provided by      4
                     Baskets Ltd, a company incorporated in Antigua and Barbuda (company
                     number 17336), to all eligible Users other than persons who have their
                     registered office or place of residence in the United States of America or
                     any Restricted Territory.


Specified Service    Leveraged Tokens and BVOL/iBVOL Tokens are "ERC-20" digital tokens
specific terms (in   issued by the Service Provider.
addition to the
                     Each Leveraged Token has an associated account on the Platform that
General Terms)
                     takes leveraged positions on Perpetual Futures Contracts on an
and risk
                     underlying Digital Asset or Digital Asset index.
disclosures
                     Each BVOL/iBVOL Token has an associated account on the Platform that
                     holds MOVE Volatility Contracts and Perpetual Futures Contracts on
                     BTC, in an attempt to track the implied percent-based volatility of BTC. In
                     particular, BVOL Tokens attempt to track the daily returns of being 1x
                     long the implied volatility of BTC and iBVOL Tokens attempt to track the
                     daily returns of being 1x short the implied volatility of BTC.
                     You may place orders with the Service Provider to issue new Leveraged
                     Tokens or BVOL/iBVOL Tokens by depositing stablecoins.
                     You can redeem an existing Leveraged Token for its share of the Digital
                     Assets of the Leveraged Token's associated account on the Platform.
                     You can redeem existing BVOL/iBVOL Contracts for an equivalent
                     amount of stablecoins.
                     Creating or redeeming Leveraged Tokens and BVOL/iBVOL Tokens will
                     have market impact and you won't know what price you ultimately get until
                     after you have created or redeemed the Leveraged Token or
                     BVOL/iBVOL Token (as applicable).

                     THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
                     RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
                     INCURRED AS A RESULT OF YOUR ORDERING OR REDEEMING
                     LEVERAGED TOKENS OR BVOL/iBVOL TOKENS ON THE PLATFORM
                     OR YOUR FAILURE TO UNDERSTAND THE RISKS ASSOCIATED
                     WITH LEVERAGED TOKENS AND BVOL/iBVOL TOKENS.

                     The Service Provider reserves the right to final interpretation of this
                     Specified Service.




                                                                                                   46
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 197 of 232
                                         A-1277




                                       SCHEDULE 11
                                   SERVICE SCHEDULE



Specified Service    NFT Market


Specified Service    The NFT Market is a trading platform on which you can trade non-fungible
description          tokens ("NFT") with other Users for fiat currency or Digital Assets and
                     offer to sell them by auction.


Service Provider     This Specified Service forms part of the Services and is provided by FTX
                     Trading Ltd, a company incorporated and registered in Antigua and
                     Barbuda (company number 17180), to all eligible Users other than
                     persons who have their registered office or place of residence in the
                     United States of America or any Restricted Territory.


Specified Service    NFTs are controllable electronic records recorded on the Ethereum and/or
specific terms (in   Solana blockchains, or any other blockchain(s) as determined by us in our
addition to the      sole discretion.
General Terms)
                     Unlike most cryptocurrencies, there may be very few or only one of an
and risk
                     NFT, and they might be indivisible, meaning it may not be fungible with
disclosures
                     any other tokens.
                     NFTs can take a number of forms. Sometimes, they can be redeemed for
                     a physical object. Sometimes the owner is entitled to an experience, like a
                     movie or a phone call. Sometimes they are associated with a digital
                     image. Sometimes they are associated with nothing at all.
                     NFTs do not necessarily have any intrinsic value. They might also be
                     illiquid. If you buy an NFT, you are not necessarily going to be able to sell
                     it for much later or gain any specific utility from it.
                     While the Service Provider may facilitate the ability to sell, re-sale, buy,
                     transfer, withdraw, or otherwise engage in transactions involving the
                     purchase, sale, or other transfer of a NFT through the NFT Market, this
                     functionality is provided without any guarantees of uptime, functionality, or
                     serviceability. The Service Provider reserves the right to remove or
                     otherwise limit any and all functionality, or to require additional conditions
                     of access, for all Users or any User or group of Users of the NFT Market,
                     as determined by the Service Provider in its sole discretion.
                     You are welcome to buy NFTs if it would make you happy to own them.
                     But there is no implied economic return associated with doing so.
                     There are no refunds for NFTS, and the Service Provider and its Affiliates
                     will not field customer complaints. You should only buy NFTs if you
                     understand that doing so does not necessarily give any direct economic
                     value.
                     NFTS ARE INTANGIBLE DIGITAL ASSETS. THEY EXIST ONLY BY
                     VIRTUE OF THE OWNERSHIP RECORD MAINTAINED IN THE
                     APPLICABLE BLOCKCHAIN NETWORK. ANY TRANSFER OF TITLE
                     THAT MIGHT OCCUR IN ANY UNIQUE DIGITAL ASSET OCCURS ON
                     THE DECENTRALISED LEDGER WITHIN SUCH BLOCKCHAIN
                     NETWORK, WHICH WE DO NOT CONTROL. THE SERVICE




                                                                                                     47
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 198 of 232
                        A-1278




          PROVIDER DOES NOT GUARANTEE THAT IT CAN EFFECT THE
          TRANSFER OF TITLE OR RIGHT IN ANY NFT.
          THE SERVICE PROVIDER AND ITS AFFILIATES DO NOT TAKE ANY
          RESPONSIBILITY WHATSOEVER FOR ANY LOSSES OR DAMAGE
          INCURRED AS A RESULT OF YOUR TRADING NFT ON THE
          PLATFORM OR YOUR FAILURE TO UNDERSTAND THE RISKS
          ASSOCIATED WITH NFT TRADING.




                                                                    48
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 199 of 232
                                         A-1279




                                       SCHEDULE 12
                                     SERVICE SCHEDULE



Specified Service    NFT Listing


Specified Service    Creating an NFT on the portal located at httt>s://ftx.com/nfts/list (the "NFT
description          Site") that, as of its genesis issuance, is linked to the artwork, digital
                     content or other collectible that is provided by you to the Service Provider
                     ("Artwork").


Service Provider     This Specified Service forms part of the Services and is provided by FTX
                     Trading Ltd, a company incorporated and registered in Antigua and
                     Barbuda (company number 17180), to all eligible Users other than
                     persons who have their registered office or place of residence in the
                     United States of America or any Restricted Territory.


Specified Service    By submitting a request and creating an NFT on the NFT Site, you
specific terms (in   acknowledge that you have carefully read and agree to the Terms.
addition to the
                     If there is a conflict between the General Terms and this Service
General Terms)
                     Schedule with respect to your use of the NFT Site or your NFTs, this
and risk
                     Service Schedule shall prevail.
disclosures
                     Your access to and use of the NFT Site is also governed by the terms in
                     the General Terms that apply to the Site and references in the General
                     Terms to "Site" should be read as including the NFT Site, unless the
                     context provides otherwise.
                     Intellectual property
                     You represent and warrant that you own and control all rights in and to
                     your Artwork and have the right to grant licenses to the Service Provider
                     and its Affiliates and respective licensees and successors. In submitting
                     any Artwork, you must not include any third party intellectual property
                     (such as copyrighted materials) unless you have explicit permission from
                     that party or are otherwise legally entitled to do so. You are legally
                     responsible for all Artwork submitted by you. The Service Provider
                     reserves the right to review and analyse your Artwork to help detect
                     infringement and abuse, such as spam, malware and illegal content.
                     By submitting any Artwork, you grant the Service Provider a worldwide,
                     non-exclusive, royalty-free, perpetual, sublicensable and transferable
                     license to use the Artwork for any purpose, including for the minting of the
                     NFT linked to your Artwork and hosting such Artwork for you and future
                     transferees of the NFT, as well as for the promotion of the Services
                     provided by the Service Provider and its Affiliates.
                     You also grant all other Users and future holders of your NFT a
                     worldwide, non-exclusive, perpetual, and royalty-free license to view and
                     access your Artwork.
                     Prohibited activities
                     You will not:




                                                                                                 49
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 200 of 232
                              A-1280




                  submit any Artwork that (a) violates or encourages any conduct
                  that would violate any Applicable Law or regulation or would give
                  rise to civil or criminal liabilities, (b) is fraudulent, false, misleading
                  or deceptive, (c) is defamatory, obscene, vulgar, pornography or
                  offensive; (d) promotes discrimination, bigotry, racism, hatred,
                  harassment or harm against any individual or group, (e) is violent
                  or threatening or promotes violence or actions that are
                  threatening to any person or entity, or (f) promotes illegal or
                  harmful activities or substantives,
                  attack, hack, DDOS, interfere with, or otherwise tamper with the
                  NFT or its underlying smart contract,
                  access, tamper with or attempt to access the Service Provider
                  and its Affiliates' computer systems or networks;
                  attempt to probe, scan or test the vulnerability of the Service
                  Provider and its Affiliates' system or network or breach any
                  security or authentication measures,
                  avoid, bypass, remove, deactivate, impair or otherwise
                  circumvent any technological measures,
                  interfere with, or attempt to interfere with, any other User or
                  network, including without limitation sending a virus, overloading,
                  flooding, spamming or mail-bombing,
                  impersonate or misrepresent your identity or affiliation;
                  use the NFT, the NFT Site or the Services, to conceal or transfer
                  any proceeds relating to illegal or criminal activity;
                  violate the Terms or any Applicable Law or regulation, or
              •   encourage or enable any third party to do any of the foregoing.
          No obligations
          The Service Provider and its Affiliates are not responsible for repairing,
          supporting, replacing or maintaining any website or network hosting your
          Artwork, nor do they have the obligation to maintain any connection or link
          between your NFT and the underlying Artwork. The Service Provider
          reserves the right to terminate, delete, take down or otherwise remove the
          Artwork and disconnect the link between the applicable NFT and the
          underlying Artwork at any time for any reason, including but not limited to
          if (a) you or any other NFT holder engage in any illegal or unlawful
          activity, (b) you or any other NFT holder are deemed to be in violation of
          the intellectual property rights of third parties, in each case as determined
          by the Service Provider in its sole discretion.
          While the Service Provider may facilitate the ability to sell, re-sale, buy,
          transfer, withdraw, or otherwise engage in transactions involving the
          purchase, sale, or other transfer of a NFT, this functionality is provided
          without any guarantees of uptime, functionality, or serviceability. The
          Service Provider reserves the right to remove or otherwise limit any and
          all functionality, or to require additional conditions of access, for all Users
          or any User or group of Users, as determined by the Service Provider in
          its sole discretion.
          Disclaimers and risk disclosures
          NFTS ARE INTANGIBLE DIGITAL ASSETS. THEY EXIST ONLY BY
          VIRTUE OF THE OWNERSHIP RECORD MAINTAINED IN THE




                                                                                            50
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 201 of 232
                              A-1281




          APPLICABLE BLOCKCHAIN NETWORK. ANY TRANSFER OF TITLE
          THAT MIGHT OCCUR IN ANY UNIQUE DIGITAL ASSET OCCURS ON
          THE DECENTRALISED LEDGER WITHIN SUCH BLOCKCHAIN
          NETWORK, WHICH WE DO NOT CONTROL. THE SERVICE
          PROVIDER DOES NOT GUARANTEE THAT IT CAN EFFECT THE
          TRANSFER OF TITLE OR RIGHT IN ANY NFT.
          ANY NFTS MINTED FOR YOU ARE PROVIDED "AS IS," WITHOUT
          WARRANTY OF ANY KIND. WITHOUT LIMITING THE FOREGOING,
          THE SERVICE PROVIDER EXPLICITLY DISCLAIMS ANY IMPLIED
          WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR
          PURPOSE, QUIET ENJOYMENT AND NON-INFRINGEMENT, AND
          ANY WARRANTIES ARISING OUT OF COURSE OF DEALING OR
          USAGE OF TRADE. THE SERVICE PROVIDER MAKES NO
          WARRANTY THAT THE NFTS WILL MEET YOUR REQUIREMENTS OR
          BE AVAILABLE ON AN UNINTERRUPTED, SECURE, OR ERROR-
          FREE BASIS. THE SERVICE PROVIDER MAKES NO WARRANTY
          REGARDING THE QUALITY, ACCURACY, TIMELINESS,
          TRUTHFULNESS, COMPLETENESS OR RELIABILITY OF ANY
          INFORMATION OR CONTENT ON THE NFT OR ITS UNDERLYING
          SMART CONTRACT OR BLOCKCHAIN NETWORK. SOME
          JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
          WARRANTIES IN CONTRACTS WITH CONSUMERS, SO THE ABOVE
          EXCLUSION MAY NOT APPLY TO YOU.
          THE SERVICE PROVIDER AND ITS AFFILIATES WILL NOT BE
          RESPONSIBLE OR LIABLE TO YOU FOR ANY LOSS AND TAKE NO
          RESPONSIBILITY FOR, AND WILL NOT BE LIABLE TO YOU FOR, ANY
          USE OF THE NFTS, INCLUDING BUT NOT LIMITED TO ANY LOSSES,
          DAMAGES OR CLAIMS ARISING FROM: (I) USER ERROR SUCH AS
          FORGOTTEN PASSWORDS, INCORRECTLY CONSTRUCTED
          TRANSACTIONS, OR MISTYPED WALLET ADDRESSES, (II) SERVER
          FAILURE OR DATA Loss; (III) CORRUPTED CRYPTOCURRENCY
          WALLET FILES; (IV) UNAUTHORISED ACCESS; OR (V) ANY
          UNAUTHORISED THIRD PARTY ACTIVITIES, INCLUDING WITHOUT
          LIMITATION THE USE OF VIRUSES, PHISHING, BRUTEFORCING OR
          OTHER MEANS OF ATTACK AGAINST BLOCKCHAIN NETWORK
          UNDERLYING THE NFTS.
          THE SERVICE PROVIDER AND ITS AFFILIATES ARE NOT
          RESPONSIBLE FOR ANY KIND OF FAILURE, ABNORMAL BEHAVIOR
          OF SOFTWARE (E.G., WALLET, SMART CONTRACT), BLOCKCHAINS
          OR ANY OTHER FEATURES OF THE NFTS.
          Indemnification, release
          You shall and agree to defend, indemnify and hold harmless the Service
          Provider, its Affiliates and service providers and, in each case, their
          Personnel (collectively, "NFT Indemnified Parties" and each an "NFT
          Indemnified Party") from and against any and all claims and liabilities,
          costs, expenses, damages and losses (including any direct, indirect or
          consequential losses, loss of profit, loss of reputation and all interest,
          penalties and legal and other reasonable professional costs and
          expenses) ("NFT Losses" or "NFT Loss") which any Indemnified Party
          may suffer or incur, arising directly or indirectly out of or in connection
          with: (a) your use of the NFT Site, including the minting and creation of
          your NFT, (b) your violation or anticipatory violation of any Applicable
          Laws in connection with your use of the NFT Site or the NFTs, (c) any
          actual or alleged infringement of the intellectual property rights of others




                                                                                         51
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 202 of 232
                              A-1282




          by you, and (d) any act of gross negligence, willful or intentional conduct
          by you.
          You will cooperate as fully required by the NFT indemnified Parties in the
          defence of any such claims and NFT Losses. The NFT indemnified
          Parties retain the exclusive right to assume the exclusive defence and
          control of any claims and NFT Losses. You will not settle any claims and
          NFT Losses without the Service Provider's prior written consent.
          You hereby agree to release each of the NFT Indemnified Parties from
          any and all claims and demands (and waive any rights you may have
          against any of the NFT Indemnified Parties in relation to any NFT Losses
          you may suffer or incur), arising directly or indirectly out of or in
          connection with any dispute that you have with any other User or other
          third party in connection with the NFT Site or the NFTs.
          Limitation of liability
          TO THE MAXIMUM EXTENT PERMITTED BY LAW, NEITHER THE
          SERVICE PROVIDER NOR ITS AFFILIATES OR SERVICE PROVIDERS
          INVOLVED IN CREATING, PRODUCING, OR DELIVERING THE NFTS
          WILL BE LIABLE FOR ANY INCIDENTAL, SPECIAL, EXEMPLARY OR
          CONSEQUENTIAL DAMAGES, OR DAMAGES FOR LOST PROFITS,
          LOST REVENUES, LOST SAVINGS, LOST BUSINESS OPPORTUNITY,
          LOSS OF DATA OR GOODWILL, SERVICE INTERRUPTION,
          COMPUTER DAMAGE OR SYSTEM FAILURE OR THE COST OF
          SUBSTITUTE PRODUCTS OR SERVICES OF ANY KIND ARISING OUT
          OF OR IN CONNECTION WITH THIS SERVICE SCHEDULE OR FROM
          THE USE OF OR INABILITY TO USE OR INTERACT WITH THE NFTS
          OR ACCESS THE ARTWORK, WHETHER BASED ON WARRANTY,
          CONTRACT, TORT (INCLUDING NEGLIGENCE), PRODUCT LIABILITY
          OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT THE
          SERVICE PROVIDER, ITS AFFILIATES, OR ITS SERVICE PROVIDERS
          HAS BEEN INFORMED OF THE POSSIBILITY OF SUCH DAMAGE,
          EVEN IF A LIMITED REMEDY SET FORTH HEREIN IS FOUND TO
          HAVE FAILED OF ITS ESSENTIAL PURPOSE.
          TO THE MAXIMUM EXTENT PERMITTED BY THE LAW OF THE
          APPLICABLE JURISDICTION, IN NO EVENT WILL THE SERVICE
          PROVIDER AND ITS AFFILIATES' TOTAL LIABILITY ARISING OUT OF
          OR IN CONNECTION WITH THIS SERVICE SCHEDULE, YOUR USE
          OF THE NFT SITE, OR YOUR USE OF OR INABILITY TO USE OR
          INTERACT WITH THE NFTS OR ACCESS THE ARTWORK EXCEED
          TEN U.S. DOLLARS (USD $10.00).
          THE EXCLUSIONS AND LIMITATIONS OF DAMAGES SET FORTH
          ABOVE ARE FUNDAMENTAL ELEMENTS OF THE BASIS OF THE
          BARGAIN BETWEEN THE SERVICE PROVIDER AND you.




                                                                                        52
         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 203 of 232
                                           A-1283




                                         SCHEDULE 13
                                     SERVICE SCHEDULE
                    TERMS APPLICABLE TO AUSTRALIAN USERS ONLY
                                 (Updated September 18, 2022)


 Appendix A will form part of the Terms and apply to you if you are using the Exchange to buy,
 sell, exchange hold or otherwise transact in Digital Assets that are being provided by FTX
 Australia.


1.     FIAT CURRENCY TO DIGITAL ASSET (AND VICE VERSA) CONVERSION SERVICES


        If you are depositing fiat currency, or instructing the conversion of Digital Assets to fiat
        currency, the conversion of:


           a)   your deposit of fiat currency to Digital Assets, and

           b)   your withdrawal of Digital Assets to fiat currency,

        will be processed by a third-party DCE provider. The name of the DCE provider is provided
        on the FTX Website at the time you enter into any transaction.


        You agree that you only place orders to convert fiat currency to Digital Assets (and vice
        versa) with the DCE provider. You do not place orders with FTX Trading or FTX Australia
        for the conversion of fiat currency to Digital Assets or vice-versa.


        If you send fiat currency to the DCE provider, the DCE provider shall convert your fiat
        currency to stablecoins automatically by default. FTX Trading does not hold client money
        or E-Money for clients of FTX Australia. Any account balances shown in fiat currency are
        provided for convenience only. All such balances are held by FTX Trading in stablecoins.


        You also agree to accept any additional terms and conditions of the DCE provider relevant
        to the conversion services it is providing and disclosed to you at the time any


2.     FINANCIAL SERVICES OR FINANCIAL PRODUCTS PROVIDED BY FTXAUSTRALIA

        Only FTX Australia will, or may, provide you with financial services or financial products
        under its Australian Financial Services Licence.


        Neither FTX Trading or the DCE provider will, or may, provide you with financial services
        or financial products.




                                                                                                     53
      Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 204 of 232
                                        A-1284




3.   STANDING AUTHORISATION PROVIDED TO FTX AUSTRALIA


      As a pre-condition to you acquiring any service or product from FTX Australia, you
      acknowledge that you will provide FTX Australia with a 'Standing Authorisation' as set out
      in the FTX Australia Terms and Conditions ("FTX Australia Terms") to issue sell order(s)
      on your behalf to the DCE, which orders will impact the Digital Assets held in your FTX
      Digital Wallet.


4.   YOUR DIGITAL ASSETS ARE ONLY HELD BY FTX TRADING


      Please note that you never provide Digital Assets to FTX Australia, and FTX Australia
      does not hold any client property as defined in Part 7.8, Division 3 of the
      Corporations Act 2001 (Cth).

      For the avoidance of doubt, you only provide Digital Assets to FTX Trading and it is only
      FTX Trading that will ever hold your Digital Assets.

      FTX Australia only maintains a Standing Authorisation in relation your Digital Assets (as
      set out in the FTX Australia Terms).


5.   DATA SHARING


      Both FTX Trading and FTX Australia will share your personal data with each other and with
      the DCE for the purposes of providing you with 'Services' set out in the FTX Terms, and
      DCE Terms and the FTX Australia Terms.


      For the avoidance of doubt, FTX Trading will only collect, maintain, use and disclose
      personal information provided to us strictly in accordance with the Australian Privacy
      Principles in the Privacy Act 1988 (Cth) and our Privacy Policy. You should carefully read
      the FTX Australia Privacy Policy, which provides details on how your personal information
      is collected, stored, protected and used by FTX Australia and any corresponding Privacy
      Policy provided by the DCE.




                                                                                                  54
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 205 of 232
                                          A-1285




                                        SCHEDULE 14
                                    SERVICE SCHEDULE
                 TERMSAPPLICABLETO SOUTH AFRICAN USERS ONLY




You acknowledge that any marketing, promotional, sales or similar activities contemplated in
these Terms (South African activities) which take place in the Republic of South Africa are
pursuant to FTX Trading being appointed as the juristic representative of Ovex FSP (Pty) Ltd
(authorized FSP 50776) (Ovex) in terms of section 13(1)(b)(i)(aa) of the Financial Advisory and
Intermediary Services Act, 2002 (FAIS) and that any such South African activities will not be
performed by FTX Trading as principal.


Where you are domiciled in South Africa, you confirm that you have voluntarily elected, pursuant
to any South African activities performed by FTX Trading as the juristic representative of and in
the name of Ovex, to open an Account with, use the Services and trade on the Exchange of FTX
Trading pursuant to these Terms. You acknowledge that any client support in relation to your
Account, the Services and the Exchange which occur within South Africa will be effected by FTX
Trading as the juristic representative of and in the name of Ovex.


You undertake to comply with any applicable exchange control regulations or any other applicable
laws or regulations which may, from time to time, become applicable pursuant to you opening an
Account, using the Services and the Exchange.




                                                                                                55
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 206 of 232
                                            A-1286




                                          SCHEDULE 15
                                       SERVICE SCHEDULE
                         TERMS APPLICABLE TO JAPAN USERS ONLY
                                  (Updated September 19, 2022)

The following terms will form part of the Terms and will apply to you if you are a resident of Japan
who is using FTX Earn or has enabled Peer-to-Peer Crypto Borrowing and Lending ("P2P Crypto
Loans") provided by FTX Trading.


FTX Trading provides and operates a peer-to-peer crypto asset borrowing and lending platform for
matching Borrowers and Lenders of P2P Crypto Loans to users of FTX Japan Corporation
(Cryptocurrency Exchange Business Kanto Finance Bureau Director No. 00002 and Type 1 Financial
Instruments Business registrant) ("FTX Japan"). P2P Crypto Loans are available both via the Site
as well as via the FTX Earn program on the Mobile Application.

By enabling and agreeing to borrow or lend P2P Crypto Loans (either via the Site or the FTX Earn
program), you hereby acknowledge and agree that:

    .   you are an authorized and verified user of FTX Japan,

        P2P Crypto Loans are not provided by FTX Japan and all P2P Crypto Loan services are
        provided solely by FTX Trading;

    •   you have read and understood, and agree to the Terms of Service and FTX's Privacy Policy,
        each as amended from time to time,

    •   you authorize FTX Japan to share any information collected from you with FTX Trading as
        may be required under anti-money laundering laws or otherwise in compliance with
        applicable financial regulatory and other laws,

        if you're participating in the FTX Earn program, you are lending your crypto assets to third
        party borrowers in return for rewards which are variable for each crypto asset and changes
        hourly;

    .   you hereby authorize FTX Trading to instruct FTX Japan to borrow from and lend assets to
        Lenders and Borrowers, respectively, and to take all such actions as may be required to
        complete such P2P Crypto Loans on your behalf,

    •   you will only participate in P2P Crypto Loans for your own account and not for the account
        of others;

    .   you will not use P2P Crypto Loans for any illegal activities, unlawful conduct or other
        restricted purposes as set forth in the Terms;

        FTX Trading does not act as borrower or lender of any P2P Crypto Loans, and


Only FTX Japan users are eligible to participate in P2P Crypto Loans, either as a borrower or as a
lender.




                                                                                                       56
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 207 of 232
                                             A-1287




Lending

To become a P2P Crypto Loan lender ("Lender"), you must have first deposited assets with FTX
Japan into your FTX Japan account ("Account"). As a Lender, you can select "LEND" on the P2P
Crypto Loans website or participate in the FTX Earn program on the Mobile Application, and specify
the amount, minimum rate and type of crypto asset that you wish to lend out in order to become
eligible to lend out your crypto assets. Your lending offer will then be submitted to FTX Trading's P2P
Crypto Loan order book and automatically matched with borrowers, if any.

The amount of funds borrowed, funding rates and estimated funding rates are based solely on
historical data, are not guaranteed and are subject to frequent change on an hourly basis. There is
no assurance that you will be able to lend out your crypto assets, that there will be any borrowers
available to you, that there will be any demand for crypto borrowing, or that any of the displayed
lending rates are accurate. FTX Trading reserves the right, in its sole discretion, to determine the
ordering and matching of Lenders and Borrowers. You further agree to pay any platform charges or
fees that FTX Trading may provide from time to time.

You are not required to lend out any assets at any time. To stop lending out your assets, (a) go to
the P2P Crypto Loans website and click on "STOP LENDING" at any time, or (b) if you are
participating in the FTX Earn program on the Mobile Application, click on "Disable" in "Profile" 9
"Earn rewards on assets".

All loans of crypto assets via the P2P Crypto Loans website are non-recourse loans. You agree that
your sole recourse in the event of default of a Borrower's P2P Crypto Loan is the seizure and/or
liquidation of assets held in the Borrower's Account. You agree, and shall cause all of your agents,
representatives and affiliates to agree, not to seek recourse or recompense against any funds, assets
or properties owned by a Borrower outside of the Borrower's Account at any time.

LENDING CRYPTO ASSETS VIA P2P CRYPTO LOANS IS VERY HIGH RISK AND ARE NOT
INSURED IN ANY WAY BY FTX TRADING, ANY GOVERNMENTAL AGENCY, OR ANY THIRD
PARTY. AS A LENDER, YOU MAY SUSTAIN A TOTAL LOSS OF YOUR LENT CRYPTO ASSETS
IF THE BORROWER DEFAULTS ON A P2P CRYPTO LOAN AND SEIZURE AND/OR
LIQUIDATION OF THE BORROWER'S ACCOUNT FAIL TO REPAY SUFFICIENT CRYPTO
ASSETS TO COVER THE BORROWER'S DEBT TO YOU OR OTHER LENDERS.

Borrowing

To become a P2P Crypto Loan borrower ("Borrower"), you must have first deposited crypto assets
with FTX Japan into your Account as collateral. As a borrower, you can select "Enable Peer to Peer
borrowing" on the P2P Crypto Loans website to enable borrowing of crypto assets from other FTX
Japan users. The amount of crypto assets that you are entitled to borrow from time to time is
determined based on a number of factors, including the amount of crypto assets made available by
lenders for borrowing, the amount of crypto assets available in your Account as collateral, crypto
asset market liquidity and volatility conditions, national, regional and global economic conditions,
legal and regulatory requirements, as well as other factors that FTX Trading may consider from time
to time.

All borrowed crypto assets using the P2P Crypto Loans website are non-recourse with respect to
any assets held by the Borrower in the Borrower's Account. In other words, in the event of default,
neither FTX Trading, any Lenders, nor any of their affiliates, agents or representatives may seek
recourse or recompense against any funds, assets or properties owned by a Borrower outside of the
Borrower's Account. In the event of default of a Borrower's P2P Crypto Loan, the sole recourse of
any Lender is the seizure and/or liquidation of assets held in the Borrower's Account.




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          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 208 of 232
                                            A-1288




You agree to pay (a) any interest charges that may accrue on your P2P Crypto Loan, which you may
view on the P2P Crypto Loans website, and (b) any platform charges or fees that FTX Trading may
provide from time to time, which will be viewable on the P2P Crypto Loans website as well.

You are not required to borrow any crypto assets at any time. By enabling P2P Crypto Loan
borrowing, you agree to do so at your own risk. You acknowledge and agree that any crypto assets
borrowed from a Lender via a P2P Crypto Loan may be used for any purposes on the FTX Japan
trading platform, including for trading, collateral and withdrawals, provided however, that you agree
that FTX Trading may instruct FTX Japan to limit withdrawals of crypto assets borrowed under P2P
Crypto Loans in the event that there is insufficient assets in your Account.

BORROWING P2P CRYPTO LOANS ON FTX TRADING IS VERY HIGH RISK. AS A BORROWER,
YOU MAY SUSTAIN A TOTAL LOSS OF CRYPTO ASSETS IN YOUR ACCOUNT. THE HIGH
VOLATILITY AND SUBSTANTIAL RISK OF ILLIQUIDITY IN THE MARKETS MEANS THAT YOU
MAY NOT BE ABLE TO LIOUIDATE YOUR ACCOUNT ASSETS IN TIME, OR AT ALL. IF THE
VALUE OF THE ASSETS HELD IN YOUR ACCOUNT FALLS BELOW THE MINIMUM BALANCE
REQUIREMENT OR FTX TRADING DETERMINES IN ITS SOLE DISCRETION THAT YOUR
ACCOUNT APPEARS TO BE IN DANGER OF DEFAULTING ON A P2P CRYPTO LOAN, FTX
TRADING OR THE APPLICABLE LENDER(S) MAY, DIRECTLY OR INDIRECTLY, SEIZE AND
LIQUIDATE ANY OR ALL OF YOUR POSITIONS AND ASSETS IN YOUR ACCOUNT TO REPAY
YOUR BORROWED CRYPTO ASSETS.




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         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 209 of 232
                                            A-1289




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         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 211 of 232
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         Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 212 of 232
                                         A-1292




                                        SCHEDULE 16
                                    SERVICE SCHEDULE
                          TERMS APPLICABLE TO UK USERS ONLY
                                (Updated September 29, 2022)




Products and services related to a specified investment for the purposes of the UK Financial
Services and Markets Act 2000 (Regulated Activities) Order 2001 may not be promoted or
offered to residents of the United Kingdom, unless they fall within the certain exemptions from
the UK financial promotions regime under article 12 (Overseas Recipients), article 19
(Investment Professionals), article 48 (High Net Worth Individuals), article 49 (High Net Worth
Companies, Unincorporated Associations), article 50 (Sophisticated Investors) and article 50A
(Self-certified Sophisticated Investors) of the Financial Services and Markets Act 2000
(Financial Promotion) Order 2005, or they have otherwise be lawfully communicated in
accordance with the Financial Services and Markets Act 2000 and the Financial Services and
Markets Act 2000 (Financial Promotion) Order 2005.




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Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 213 of 232
                       A-1293
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 214 of 232
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                     Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 215 of 232
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The Wayback Machine - https://web.archive.org/web/20201028121600/httpsr//blog.ftx.com/blog/our-Iiquidation-engine/

                                                   >$ Cd /fix-research 10
                                                                                                            Blog
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                              Also available in   Go                                                        Market Recap
                              Our Liquidation Engine - how we                                               Monthly Digest

                              significantly reduced the                                                     Videos

                              likelihood of clawbacks from ever
                              occurring




                              Note! since this article was published, OKEx has significantly
                              revamped their liquidation engine, bringing it more in line with
                              industry norms. As of May 2®2®, FTX has in fact never had a
                              clawback.

                              It's first worth making explicit: the thing that causes socialized
                              losses, and claw backs, and auto-delevering, is when an account
                              goes beyond bankrupt. If a user has a leveraged futures position
                              on and markets move against their account enough that their net
                              asset value is negative, then someone has to pay for that loss,
                              and in crypto you can't reposses assets from the bankrupt
                              account's owner from outside the system, so you're stuck with
                              other users - the users who aren't getting liquidated - footing
                              the bill.

                              Like most liquidation engines, the one FTX uses starts by
                              detecting when a user has dropped below maintenance margin.
                              Unlike many other platforms it chooses intelligent, efficient
                              values for these - some other platforms, like OKEx, are fucked
                              by the time a liquidation star ts because their maintenance margin
                              was too low and there is no way for them to liquidate such a large
                              position so quickly.

                              We send reasonable, volume-limited liquidation orders to close
                              down positions that drop below maintenance margin (which
                              star ts at 4.5% and increases with position size). We don't sell so        DEFENDANT'S
                              quickly that the liquidation orders themselves will crash the                EXHIBIT
                              market, that would be dooming the entire process. We also don't                964
                                                                                                         $6 22 Cf, 673 (LAK\
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 221 of 232
                               A-1301

    give up if the price looks 'bad' - it might only get worse from
    there and you have to do the best you can liquidating an account
    rather than hoping things magically reverse (as OKEx does).

    Usually this is enough. But if there's a large liquidation - say a
    long position (position B) that needs to get sold off - and
    markets are moving down too quickly, it might become clear that
    the normal liquidation orders in FTX's orderbooks are unlikely to
    successfully close down position B before the account goes
    bankrupt.

    In that case, the backstop liquidity provider system kicks in. In
    this situation, liquidity providers who have opted in to the system
    will internalize position B, taking over the whole obligation and
    collateral. They'll do this before the account actually goes
    bankrupt so they have a chance to successfully manage the
    position. They will then go hedge their books on other venues.
    This effectively allows the backstop liquidity providers to
    instantly inject liquidity from other exchanges into FTX in an
    emergency, removing the dangerous account's position from
    FTX's books and preventing a likely bankruptcy.

    It's worth noting here the difference between the role that an
    insurance fund plays from the role that a liquidity provider plays.
    If someone has a long
    200mBTCpo5itionthatfsbankruptyoucantrytopayforit'5netlo5sesoutofaninsurancefund. Butifthaz sally
    zoom position - and so if markets keep moving the insurance
    fund will just keep losing more and more and more. The way to
    actually end a liquidation is for someone to take that position of
    the client's hands - that is someone to actually take on the long
    $2lDlDm of BTC exposure. In this way the backstop liquidity
    provider program solves a problem that no insurance fund can
    solve, no matter how large.

    Hopefully, the backstop liquidity provider program will be enough
    to prevent any claw backs from occurring. In our testing, even
    market moves of 40% in a 20 minute period were not enough to
    cause claw backs, the combination of on-exchange liquidity and
    backstop liquidity providers were able to provide to all of the
    nearly bankrupt accounts before they went under. In fact the
    insurance fund actually gained about $1m in most of these
    scenarios.

    But there needs to be a worst case scenario. And if all else fails,
    FTX will do what other exchanges do - it will auto-delever an
    account's position against accounts that have the opposite
    position on, and attempt to cover any losses out of the insurance
    fund, and if the insurance fund runs dry then there will be
    claw backs.

    But FTX really does see claw backs as a worst case scenario that
    we hope never happens. We designed a system that we think will
    withstand huge market moves and huge volume without leading
    to any claw backs. And if there's ever a claw back on FTX, we
    fucked up, We will apologize, write a detailed post explaining the
    mistakes we made to get the market to the point that claw backs
    were necessary, and issue IOUs against future insurance fund
    increases for any shortfall.

    Because that's what should happen if an exchange loses
    customers' money, even if it's far from the norm right now.
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 222 of 232
                                A-1302

    Anyway - that's the FTX manifesto on liquidations. How are our
    competitors doing?

    We'd like to star t by explicitly saying that all things considered
    BitMEX has done a good job at preventing claw backs. There are
    occasional auto-deleveragings and socialized losses on the
    illiquid alt coin contracts but they're rare and the BTC perpetual
    swaps - the one really liquid product on BitMEX - virtually
    never sees them.

    But OKEx is in a pretty bad state. There was a well-publicized
    $9m claw back on July 31 st 2018. Quoting from OKEx's official
      Q. post on the incident

    1. OKEX saw this as business as usuals "OKEX has adopted the
       societal loss risk management mechanism since launched and
       it has been working orderly as intended.
    2. OKEx's attempt to address the situation "Our risk management
       team immediately contacted the client, requesting the client
       several times to par sally close the positions to reduce the
       overall market risks. However, the client refused to
       cooperate..."
    3. If OKEx was not going to be able to handle the order why did
       they let the client place it? OKEx's risk systems are woefully
       inadequate.
    4. "Shortly after this preemptive action, unfortunately, the BTC
       price tumbled, causing the liquidation of the account."
    5. OKEX seems not to be fully aware of why the BTC price
       tumbled. "Unfortunate" is one way of putting it, "in response to
       OKEX manually placing a $4@®m liquidation offer and hoping
       against hope someone would trade against it - but instead
       seeing the market update on the expected impact of the order"
       is another. OKEx caused the move that caused the claw back.
    6. "We will implement a series of risk management enhancements,
       which are in line with our futures roadmap released on July 17,
       2018, to prevent any similar cases from occurring again." So
       how has this new framework done?
    7. On 2018-1 1-23 OKEx clawed back 50% of profit from ETC
       futures, or over $1m.
    8. On 2018-09-07, OKEx clawed back 18% of profit from EOS
       futures, or over $3m.
    9. OKEx's BSV futures went through a 6 week stretch from 2018-
       12-28 to 2019-02-01 where the average claw back was 42%.
   10. The now-delisted OKEX BTG futures went through periods of
       having over 80% claw backs each week - meaning that nearly
       the entire trading in the futures was someone going bankrupt!
   11. And, infamously, a few days before the BCH fork OKEx
       emergency settled their futures early - without notice - to a
       marked to market price in a down limit future trading against
       the wrong index, leading to roughly $20m of losses.
   12. Huobi's product, HBDM, has not yet had claw backs - to their
       credit. But their product is only a month old, and given that the
       product was copy-pasted from OKEx's, it should not be
       expected to withstand the test of time.

    You can see the specs on FTX. You can also see a flowchart of
    the liquidation process in our previous article.

    Note! since this article was published, OKEx has significantly
    revamped their liquidation engine, bringing it more in line with
Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 223 of 232
                              A-1303

    industry norms by borrowing elements seen in lots of other
    platforms, including FTX. As of May 2®2®, FTX has in fact never
    had a claw back.


    Sam Bandsman-Fried
     Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 224 of 232
                            A-1304
Case 1:22-cr-00673-LAK Document 407-34 Filed 02/27/24 Page 1 of 45




                         EXHIBIT E
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 225 of 232
                                            A-1305
   Case 1:22-cr-00673-LAK Document 407-34 Filed 02/27/24 Page 30 of 45

SULLIVAN & CROMWEL]. LLP
          TELEPHONE: 1-21 2-558-4000
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           FACSIMILE: 1-2 1 2-558-3588
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                       FOIA CONFIDENTIAL TREATMENT REQUESTED
                                       BY FTX


                                                                  November 15, 2022

    Via Email and Secure File Transfer

    Nicolas Roos,
    Danielle Sassoon,
    Assistant United States Attorney,
    United States Attorney's Office,
    Southern District of New York,
    One Saint Andrew's Plaza,
    New York, NY 10007.

                      Re:        November 9, 2022 Voluntary Document Request

    Dear Counsel:

                   On behalf of the FTX Debtors in In re FTX Trading Ltd., et al., Case No.
    22-11068 (JTD),' I write in response to your November 9, 2022 Voluntary Document
    Request (the "Requests").2

                   In partial response to the Requests, I am sending, via a secure file transfer,
    a production file containing non-privileged documents (bearing production numbers
    FTx _000000001 - FTX_000001226)3 as described in further detail below. For
    reference, we have included below the text of the Requests to which we are responding.
    Unless specified otherwise, the enclosed documents and information set forth in this
    letter were obtained from FTX's internal records. FTX continues to gather information
    1
           Sullivan & Cromwell LLP is proposed counsel to the FTX Debtors.
    2
            FTX is procuring and producing the information in this letter and the enclosed
    materials voluntarily, and by making available documents, data and information
    maintained outside the United States, FTX does not waive and expressly reserves all
    arguments and/or legal defenses as to itself and its data, including with respect to
    jurisdiction.
    3
           The documents referred to in this letter include the documents sent with this letter
    and the documents that were sent to you yesterday.


                             FOIA Confidential Treatment Requested By FTX
       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 226 of 232
                                    A-1306
Case 1:22-cr-00673-LAK Document 407-34 Filed 02/27/24 Page 31 of 45




and documents responsive to the Requests and will produce such information and
documents on a rolling basis.

Request No. 1: All of FTX's and Alameda's balance sheets, profit and loss
statements, general ledgers, and bank account statements.

               In partial response to Request No. l, I enclose responsive, non-privileged
documents (bearing production numbers FTX_000000001 - FTX_00000l 157)
containing financial statements, general ledgers and bank account statements for certain
FTX and Alameda entities.

Request No. 12: Standard FTX customer agreements, terms of service, and other
forms and agreements provided to customers.

                In partial response to Request No. 12, I enclose a responsive, non-
privileged document (bearing production numbers FTX_00000l 158 FTx_000001219),
which reflects the FTX Terms of Service for FTX Trading Ltd.

Request No. 18: A list of all current and former employees of FTX and Alameda to
include known phone numbers, email addresses, and application usernames or
handles.

               In partial response to Request No. 18, I enclose responsive, non-privileged
spreadsheets (bearing production numbers FTX_00000l 220 - FTX_000001224)
containing employee contact information for certain FTX entities, West Realm Shires
Services Inc. and Alameda Research LLC.

 Request No. 19: Organizational charts for FTX and Alameda.

               In partial response to Request No. 19, I enclose responsive, non-privileged
documents (bearing production numbers FTX_000001225 - FTX_000001226)
containing organizational charts for FTX US and LedgerX LLC.4
                                     *      *       *




4
       LedgerX LLC does business as FTX US Derivatives.
                                           _2_


                   FOIA Confidential Treatment Requested By FTX
        Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 227 of 232
                                      A-1307
Case 1:22-cr-00673-LAK Document 407-34 Filed 02/27/24 Page 32 of 45




                 The information set forth in this letter and the enclosed materials contains
 confidential and proprietary commercial information concerning FTX and its affiliates
 that FTX actually and customarily treats as private. Further, any disclosure of this letter
 or its enclosures may not only violate proprietary rights of FTX and its affiliates, but also
 may grant competitors an unfair competitive advantage or compromise competi five
 advantages possessed by FTX and its affiliates. FTX thus respectfully requests, for
 reasons of business confidentiality and personal privacy, that this letter and the enclosed
 materials be afforded confidential treatment pursuant to Department regula sons
 promulgated at 28 C.F.R. Part 16, and that this letter and the enclosed materials not be
 disclosed in response to any request under the Freedom of Information Act, 5 U.S.C. §
 552. FTX is providing this information on the understanding that the Department, as
 provided in 28 C.F.R. §§ l6.7(c)-(g), will hold it in confidence to the maximum extent
 permitted by law, subject to any express waivers by FTX.

                 If this letter or any of the enclosed materials become the subject of a
 Freedom of Information Act request, in accordance with the notice and disclosure
 requirements of the Justice Manual § 1-7.000 and 28 C.F.R. § 16.7, please contact me at
 (212) 558-4636, and we will provide further information in support of FTX's request for
 confidential treatment.
                                       *       *       *

                Please call me at (212) 558-4636 if you have any questions.

                                                       Sincerely,


                                                       Is/James M McDonald
                                                       James M. McDonald
 (Enclosure)

 cc:    Steven R. Peikin (Sullivan & Cromwell)
        Stephanie G. Wheeler (Sullivan & Cromwell)
        Jacob M. Croke (Sullivan & Cromwell)




                                              _3_


                     FOIA Confidential Treatment Requested By FTX
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 228 of 232
                                 A-1308
     O3SCbaDl CORRECTED                                               1


 1   UNITED STATES DTSTRTCT COURT
     SOUTHERN DTSTRTCT OF NEW YORK
 2                                      X

 3   UNITED STATES OF AMERICA,

 4              V                                   22 CR 673 (LAW)

 5   SAMUEL BANDSMAN-FRIED,

 6                   Defendant                      Sentence
                                        X
 7
                                                    New York, N.Y.
 8                                                  March 28, 2024
                                                    9:30 a.m.
 9

10   Before

II
                              HON. LEWIS A. KAPLAN,
12
                                                    District Judge
13
                                   APPEARANCES
14
     DAMIAN WILLIAMS
15        United States Attorney for the
          Southern District of New York
16   BY   DANIELLE R. SASSOON
          NICOLAS ROOS
17        DANIELLE KUDLA
          SAMUEL RAYMOND
18        THANE REHN
          Assistant United States Attorneys
19
     MUKASEY YOUNG LLP
20        Attorneys for Defendant
     BY   MARC L. MUKASEY
21        TORREY K. YOUNG
          THOMAS E. THORNHILL
22
     Also Present:
23   Luke Booth, FBI
     Kristin Attain, FBI
24

25

                     SOUTHERN DISTRICT REPORTERS, P C
                                 (212) 805-0300
          Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 229 of 232
                                     A-1309
     O3SCban3                                                                  55

 1   had him, even after his arrest, pitching his story to a huge

 2   number of media people - and he had every right to do that, we

3    had a big discussion of that in the bail context - demonstrates

 4   that he knows how to do it and the will is there               The mistakes

 5   were made, other people are to blame, the bankruptcy people

 6   screwed up, this lawyer had a conflict of interest, that lawyer

 7   the other thing           It doesn't take much of an imagination to see

 8   the outlines of the campaign            I certainly am not prescient, I

 9   make no such claim.         But there is a risk that this man will be

10   in a position to do something very bad in the future, and it's

II   not negligible risk, not a negligible risk at all.               So, in

12   par t, my sentence will be for the purpose of disabling him, to

13   the extent that can appropriately be done, for a significant

14   period of time

15                  We had some talk about general deterrence

16   Mr. Mukasey is a very fine defense lawyer              I think it is fair

17   to say I ve seen him on both sides of the bar for his entire
                1




18   career, and I ve heard these arguments about general deterrence
                        1




19   probably deployed by him against and in f aver of defendants,

20   but I can't swear to that           I 1 ve   certainly heard a lot of good

21   lawyers deploy those arguments both ways              But the argument

22   just isn't all that persuasive               I appreciate that part of the

23   premise of substantial punishment for the purpose of general

24   deterrence makes assumptions about the mental processes by

25   which people decide to commit crimes that are, for many crimes

                            SOUTHERN DISTRICT REPORTERS, P C
                                     (212) 805-0300
           Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 230 of 232
                                  A-1310
     O3SCban3                                                              59

 1              You thereafter shall serve a term of three years on
 2   supervised release, and you shall pay the mandatory assessment
 3   of $700
 4              The term of supervised release shall be subject to the
 5   mandatory, the standard, and the special conditions set forth
 6   at pages 56 to 58 of the presentence report, which you
 7   indicated you have read
 8              Does any counsel want me to read the conditions
 9   verbatim')
10              Mr. Mukasey
II              MR. MUKASEY     No need, Judge
12              MR. ROOS    NO, your Honor
13              THE COURT     It is further adjudged, Mr. Bandsman-Fried,
14   that you forfeit to the United States the sum of
15   $11,020,000,000, including the specific property identified in
16   the preliminary order of forfeiture that I will be signing
17   today, all on the terms and conditions there set forth            I
18   decline to order restitution due to the complexity of the case
19   and the number of victims        I instead grant the government's
20   motion to authorize the United States to compensate victims
21   with finally forfeited assets through a recognition process as
22   restitution would be impractical in this case
23              I strongly recommend to the Bureau of Prisons that
24   defendant be designated initially to a medium security f acility
25   or any lower security institution the BOP considers

                      SOUTHERN DISTRICT REPORTERS, P C
                                  (212) 805-0300
                       Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 231 of 232
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                                                     United States District Court

                                          Southern                  District of New York                 1>A'NaF11QED= . II Q939TT'"

       Caption:
       United States                      v

                                                                                          Docket No. 1:22-cr-00873-LAK
       Samuel Bankman-Fried
                                                                                                    Lewis A. Kaplan
                                                                                                        ..(District courrTuage)

       Notice is hereby given that Samuel Bankman-Fried                          _   __      _ appears to the United States Court of

       Appeals for the Second Circuit from the judgment        J_ 1, other |
                                                                                                          (specify)
       entered in this action on April 1, 2024
                                        (date)



       This appeal concerns: Conviction only |           Sentence only |         | Conviction8=Sentencel/ Other [

       Defendant found guilty by plea l       I trial | »/ | N/Al      .

       Offense occurred after November 1, 1987? Yes          I / I No [              N/A I

       Date of sentence: March 28, 2024                             NlAI    .|


       BailIJail Disposition: Committed I »/ | Not committed |             I NlA l




       Appellant is represented by counsel? Y e s J ] No |             I If yes, provide the following information:


       Defendant's Counsel:       Alexandra A.E. Shapiro

       Counsel's Address:         Shapiro Arato Bach LLP
38
                                   1140 Avenue of the Americas, 17th Floor, New York, NY 10036
4:go
       Counsel's Phone:            (212) 257-4881
8
       Assistant U.S. Attorney:    Nicolas Roos                                                          __

       AUSA's Address:
                                   United States Attorney's Office, SDNY
3
Ln                                 One Saint Andrew's Plaza, New York, New York 10007
o
w                                  (212)637-2421
go      AUSA's Phone:



                                                                           /2947 <
3                                                                                                    Signature
                                  Case: 24-961, 09/13/2024, DktEntry: 34.1, Page 232 of 232
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                       Case 1:22-cr-00673-LAK                           Document 428                   Filed 04/11/24                Page 2 of 2
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                                                                 U.S. District Court

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 Rcpt. No: 28286                                                  Trans. Date: Apr II, 2024 1:41PM                                                      Cashier ID: #SS

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 Comments' 22CR00673 LAK



 Only when the bankclears the check, money order, or verifies credit of funds, is thefee or debt officially paid or discharged. A $53 fee                                       I
 will be charged for a returned check.
